Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 1 of 177 Page ID #:15




                            Exhibit B
               Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 2 of 177 Page ID #:16
Electronically FILED by SuMiior Court of California. County of Los Angeles on 05/03/2019 01:00 PM Sherri R, Carter. Executive Officer/Clerk of Court by R Perez Deoutv Clerk
                                                                                     19STCV15506
                                       Assigned for all purposes to; Stanley Mosk Courthouse. Judicial Officer; Mel Red Recana



                              Michael D. Resnick (SBN 245215)
                              e-mail: mresnick@clrattorney.com
                              Neil Gieleghem (SBN 107389)
                      2       e-mail: ng@clrattorney.com
                              Consumer Legal Remedies, APC
                      3       153 Vi North Arnaz Drive
                              Beverly Hills, CA 90211
                      4       Telephone: (310)213-1398
                              Facsimile: (213) 210-2196
                      5
                              Attorneys for Plaintiffs
                      6

                      7

                      8
                                                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                  COUNTY OF LOS ANGELES - UNLIMITED JURISDICTION
                     10
       o             11
       a-                    AARON ISKENDERIAN and PAT HURT, as                                       Case Nos.:           i 0STCV''i sso©
                             individuals; ADRIANNA ARANA, an
       S's           12      individual; ALAINA BIGGER, an individual;                                Hon.:
        Q --                 AMINA WESTBERG, an individual;
                     13                                                                               Dept.:
       Si                    AMMON RJORDAN and ANDREW
       wI                    RIORDAN, as individuals; AMY HOLBERG,
       as i          14      an individual; ANDREW BARBOSA, an                                        COMPLAINT FOR DAMAGES FOR:
                             individual; ANDREW HOLDBROOKS and
                     15      JESSICA HOLDBROOKS, as individuals;                                        1. BREACH OF EXPRESS WARRANTY
       ^ $                   ANDREW WHYNAUGHT, an individual;
       ^“ Ii         16                                                                                    (Cal. Com. Code §§ 2313 and 10210)
                             ANTHONY ELIAS JR., an individual;
                             ANTONIO VEGA, an individual; AUSTIN                                        2. BREACH OF IMPLIED WARRANTY
                     17      PETTY, an individual; BENJAMIN G.                                             OF MERCHANTABILITY (Cal. Com.
       ^4



       o                     MORANA, an individual; BILL LARGEY, an                                        Code§§ 2314 and 10212)
       cj            18      individual; BOBBY MCMICHAEL and                                            3. VIOLATIONS OF SONG-BEVERLY
                             KAREN MCMICHAEL, as individuals;                                              CONSUMER WARRANTY ACT FOR
                     19      BRANDON REITZ, an individual;                                                 BREACH OF EXPRESS
                             BRANDON TAMURA, an individual;                                                WARRANTIES (Cal. Civ. Code §§
                    20       BRENT LEBLANC, an individual; BRIAN
                             CARRILLO, an individual; BRIAN                                                1791.2 & 1793.2(d))
                    21       CORBETT and MUREL ANN CORBETT, as                                          4. VIOLATIONS OF SONG-BEVERLY
                             individuals; BRIAN CORWIN and SUSAN                                           CONSUMER WARRANTY ACT FOR
                    22       CORWIN, as individuals; BRIAN PERRY, an                                       BREACH OF IMPLIED WARRANTY
                             individual; CANDICE KOPCAK, an                                                OF MERCHANTABILITY (Cal. Civ.
                    23       individual; CARLOS LUGO and MARIA                                             Code§§ 1791.1 and 1792)
                             LUGO, as individuals; CARLOS ROJO                                          5. BREACH OF EXPRESS CALIFORNIA
                    24       LOPEZ and NORMA RUELAS, as
                             individuals; CHAD BRUMMELL and                                                EMISSIONS WARRANTIES (Cal. Civ.
                    25       CAROL BRUMMEL, as individuals; CHAD                                           Code § 1793.2, et seq.)
                             ELAM, an individual; CHARLES                                               6. FRAUD BY OMISSION
                    26       HUDDLESTON [1], an individual;                                             7. VIOLATIONOFBUS. &: PROF.
                             CHARLES HUDDLESTON [2], an                                                    CODE § 17000, et seq.
                    27       individual; CHARLES MCCARTNEY, an
                             individual; CHARLES WEDEL and MICKIE
                    28                                                                                INDIVIDUAL JURY TRIALS DEMANDED


                                                                                   COMPLAINT FOR DAMAGES
                                                                                                                                            Exhibit B, Page 11
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 3 of 177 Page ID #:17




               WEDEL, as individuals; CHARLEY EVANS,
          1   an individual; CHRIS CAMPION, an
              individual; CHRISTOPHER ALLEN
          2   POLHERT and CHRISTI MARIE
              POLHERT, as individuals; CHRISTOPHER
          3   DENOVELLIS, an individual;
              CHRISTOPHER EDGAR, an individual;
          4   CHRISTOPHER LEO FARRIS and
              MELISSA FARRIS, as individuals;
          5   CHRISTOPHER STANLEY and CHERYL
              STANLEY, as individuals; CLAUDIO
          6   VASQUEZ, an individual; CONRAD
              GONZALEZ and SHARA GONZALEZ, as
          7   individuals; COREY RINGER, an individual;
              CORNAN JOHN JOHNSON, an individual;
          8   DALE GILLETTE, an individual; DANIEL
              FOSTER, an individual; DANIEL
          9   ROCKETT, an individual; DANIEL
              RODEBACK, an individual; DANIEL
         10   SMITH, an individual; DARRELL
u             JOHNSON and LISA JOHNSON, as
(Ih      II   individuals; DAVE BALLARD and TERRY
              BALLARD, as individuals; DAVID C.
         12   ANDERSON and ELEANOR M.
Q ^           ANDERSON, as individuals; DAVID HALL,
         13   an individual; DAVID J. COLELLO JR. and
SI            ROSANNE COLELLO, as individuals;
X.i      14   DAVID MILLER, an individual; DAVID
              STURROCK, an individual; DAVID
         15   SZYMUSIAK, an individual; DAVID W.
              THOMAS, an individual; DELIA TORRES,
gi       16   an individual; DENNIS LONG and CINDY
              LONG, as individuals; DENNIS WHITE and
         17   REBEKAH DAWN LAWRENCE, as
o             individuals; DON DIGBY, an individual;
cj
         18   DON NELSON, an individual; DOUGLAS
              CRYER and JERl CRYER, as individuals;
         19   DOUGLAS KEELING and LISA KEELING,
              as individuals; DOUGLAS SEYMOUR, an
         20   individual,

         21
                           Plaintiffs,
         22
                vs.
         23
              FCA US LLC; and DOES 1 through 10,
         24   inclusive.

         25                Defendants.
         26
         27

         28

                                             COMPLAINT FOR DAMAGES
                                                                     Exhibit B, Page 12
           Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 4 of 177 Page ID #:18




               1            Plaintiffs, and each of them, allege as follows:

               2                                   PRELIMINARY STATEMENT

               3            1.     This action arises out of an international race to the bottom. Defendant FCA US

               4   LLC (“FCA”), a rival of automaker Volkswagen struggling to compete on the world stage,

               5   sought to grab a piece of the U.S. “clean” diesel market with 2014-2016 EcoDiesel® trucks

               6   marketed under the Jeep Grand Cherokee and Ram 1500 model names (the “Subject Vehicles”).

               7   But like Volkswagen, FCA fought dirty. That is, like Volkswagen did with its “clean diesels,”

               8   FCA concealed from regulators and consumers alike that the EcoDiesel® trucks were far from

               9   “Eco.”

              10            2.     Broadly stated, this lawsuit is a “Lemon Law’VFraudulent Omission case based
u             11   on defective emissions systems that FCA installed in the Subject Vehicles. Specifically,
A.
< =
 rs
in            12   unknown to the Plaintiffs to this action, at the time their vehicles were purchased, they were
Q i
W 5           13   equipped with an emissions system that turned off or limited their emissions reduction system
E 2
CO
Mi   ..1
              14   during normal driving conditions and emitted pollutants such as nitrogen oxide (“NOx”) at
< a.
gi            15   many multiples of emissions emitted from gasoline powered vehicles, at many times the level

Si            16   a reasonable consumer would expect from a “clean” diesel, and at many multiples of that
§S
m Z           17   allowed by federal law.
z: “
o
u             18            3.     Indeed, as the Environmental Protection Agency (“EPA”) has since discovered,

              19   FCA concealed emission treatment software features in the Subject Vehicle engine’s diesel

              20   controls on applications for EPA Certificates of Conformity (“COCs”) and California Air

              21   Resources Board (“CARB”) Executive Orders (“EOs”). This hidden software, designed and

              22   implemented by Bosch GmbH and Bosch LLC, allowed the Subject Vehicles to “pass” emission

              23   testing and obtain COCs and EOs so that FCA could import and sell the SubjecTyehjcl^ln_the

              24   U.S. and California, respectively. Once on America’s roads, however, the emission controls are

              25   de-activated or severely restricted such that the Subject Vehicles spew much higher amounts of

              26   polluting nitrogen oxides (“NOx”) than permitted by law.

              27            4.     On January 12, 2017, the EPA issued a Notice of Violation (“NOV”) against Fiat

              28   and FCA for failing “to disclose [eight] Auxiliary Emission Control Devices (AECDs)” in the

                                                                      I
                                                       COMPLAINT FOR DAMAGES              Exhibit B, Page 13
        Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 5 of 177 Page ID #:19




                2014-2016 FCA Ram 1500s and Jeep Grand Cherokees.' In the NOV, the ERA explained that,

            2   despite having the opportunity to do so. Fiat and FCA failed to refute that the “principal effect

            3   of one or more of these AECDs was to bypass, defeat, or render inoperative one or more

            4   elements of design installed to comply with emissions standards under the [Clean Air Act].”

            5               5.   The same day, CARB publicly announced that it, too, had notified Fiat and FCA

            6   of its violations after detecting the AECDs in their 2014, 2015, and 2016 Jeep Grand Cherokee

            7   and Ram 1500 EcoDiesel® vehicles. CARB also said Fiat and FCA failed to disclose the

            8   devices, which can significantly increase NOx emissions when activated. “Once again,”

            9   observed CARB Chair Mary D. Nichols, “a major automaker made the business decision to skirt

           10   the rules and got caught. »2
o          11               6.   The U.S. has since sued FCA, Fiat, VM Italy, and VM America for violating the
    =
cnS’       12   Clean Air Act (“CAA”) and applicable regulations, seeking injunctive relief and civil penalties.^
S3
5 5
    I      13   As the U.S. has found, “one or more of these undisclosed software features, alone or in
a ^
           14   combination with one or more of the others, bypass, defeat and/or render inoperative the
-J i
<&
O N        15   [Subject] Vehicles’ emission control system, causing the vehicles to emit substantially higher
-I
           16   levels of NOx during certain normal real world driving conditions than during federal emission
is
c/5 Z      17   tests.”**
TL ~
O
O          18               7.   American consumers were caught in the middle of FCA’s scheme. Consumers

           19   have been wary of diesel engines as a relic of the past: noisy and spewing thick, toxic smoke.

           20   This was an understandable concern. A byproduct of diesel combustion is NOx, a pollutant

           21   linked with serious health dangers and climate change. Seeking to expand the diesel market in

           22   the U.S., large automakers in the late 2000’s sought to reimagine diesel for regulators and

           23   consumers alike. For its part, FCA touted its “EcoDiesel” technology as the best of both worlds:

           24   a “green” alternative to gasoline with reduced emissions coupled with diesel’s benefits of

           25
                I
                    ERA’S January 12, 2017 Notice of Violation to Fiat Chrysler Automobiles,
           26   https://www.epa.gov/sites/production/files/2017-01/documents/fca-caa-nov-2017-01-12.pdf
                ^ ERA News Release, ERA Notifies Fiat Chrysler of Clean Air Act Violations (Jan. 12, 2017),
           27   https://www.epa.gov/newsreleases/epa-notifies-fial-chrysler-clean-air-act-violations.
                ^ United States v. Fiat US LLC, et a!., No. 2:17-cv-l 1633-JCO-EAS (E.D. Mich, filed May 23,
           28   2017) (Dkt.No. 1).
                ** Id. at 112.
                                                                 2
                                                    COMPLAINT FOR DAMAGES                Exhibit B, Page 14
        Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 6 of 177 Page ID #:20




            1   greater torque, power, and fuel efficiency. FCA extracted a premium for these “EcoDiesel”
            2   trucks, selling them for thousands of dollars more than the cost of otherwise-comparable
            3   gasoline trucks.
            4          8.      Contrary to its public representations, and concealed from consumers and
            5   regulators alike, FCA secretly programmed its EcoDiesel® vehicles with hidden software
            6   features that significantly reduced the effectiveness of the NOx reduction technology during
            7   real-world driving conditions. As a result, the Subject Vehicles emitted harmful pollutants at
            8   levels that were illegally high and far in excess of what a reasonable consumer would expect
            9   from an “Eco” vehicle. Plaintiffs confirmed that the Subject Vehicles produced NOx emissions
           10   at an average of 222 mg/mile in city driving (four times the Federal Test Procedure (“FTP”)
o          II   standard of 50 mg/mile) and 353 mg/mile in highway driving (five times higher than the U.S.
C=
           12   highway standard of 70 mg/mile). In many instances, NOx values were in excess of 1,600
S3
Q ^
U3 f       13   mg/mile—more than 20 times governmental standards.
    i      14          9.      Compounding this problem is the interplay between performance and emissions

    ^      15   in diesel engines. FCA could not achieve the fuel economy and performance that it promises
K s        16   for the Subject Vehicles without cheating on emissions—a fact that it concealed from consumers
if         17   around the country.
z. ~
o
o          18          10.     FCA did not act alone. At the heart of the diesel scandal is Robert Bosch GmbH
           19   and Robert Bosch, LLC (collectively “Bosch”). Bosch, along with its CEO Volkmar Denner
           20   (“Denner”), were active and knowing participants in the scheme. Bosch designed, created, and
           21   tested the electronic diesel control (“EDC”) units that allowed FCA to “pass” emission tests for
           22   its COC and EO applications. Bosch went so far as to boast that the “2014 Jeep Grand Cherokee
           23   features a Bosch emission system compliant with the most stringent emission regulations^in the_
           24   world. From fuel tank to tailpipe, Bosch is pleased to equip this vehicle with top technologies
           25   to give consumers a great driving experience requiring fewer stops at the pump.” Bosch has
           26   since, however, acknowledged its role in the creation of defeat devices in certain FCA diesel
           27   vehicles sold in the European Union (“EU”).
           28          11.     Moreover, several auto parts manufacturers owned by FCA’s parent corporation,

                                                                 3
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 15
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 7 of 177 Page ID #:21




          1   Fiat Chrysler Automobiles N.V. (“Fiat"), namely, VM Motori S.p.A. (“VM Italy”) and VM

          2   North America, Inc. (”VM America”), also knowingly participated in the scheme by designing,

          3   manufacturing, and calibrating the “EcoDiesel” engines in the Subject Vehicles.

          4           12.    FCA’s unfair, unlawful, and deceptive conduct in designing, manufacturing,

          5   marketing, selling, and leasing the Subject Vehicles without proper emission controls has

          6   caused Plaintiffs out-of-pocket losses in the form of overpayment at the time of purchase/lease,

          7   and/or diminished value of their vehicles. FCA knew about, or recklessly disregarded, the

          8   inadequate emission controls during normal driving conditions, but did not disclose such facts

          9   or their effects to Plaintiffs, so Plaintiffs purchased their vehicles on the reasonable but mistaken

         10   belief that their vehicles were “clean” diesels and/or “low emission” diesels, complied with U.S.
u        |]   emissions standards, were properly EPA-certified, and would retain all of their promised fuel
a-
         12   economy and performance throughout their useful life. Each of the Plaintiffs selected and
p ^
U X      13   ultimately purchased/leased their vehicles, in part, because of the diesel system, as represented
S 2
         14   through advertisements and representations made by FCA, such as those representations made
J t
<&
         15   on FCA’s website, and representations from FCA’s authorized dealers touting the efficiency,

gi       16   fuel economy, and power and performance of the Subject Vehicle’s engine. Had FCA disclosed
gl       17   this design or the fact that the Subject Vehicles actually emitted unlawfully high levels of
o
         18   pollutants, Plaintiffs would not have purchased/leased their vehicles or would have paid

         19   substantially less for them.

         20           13.    Each of the Plaintiffs have suffered an ascertainable loss as a result of FCA’s

         21   omissions and/or misrepresentations associated with the Super Duty diesel engine system,

         22   including but not limited to a high premium for the Super Duty diesel engine compared to what

         23   they would have paid for a gasoline-powered engine, out-of-pocket losses by overpaying for the

         24   vehicles at the time of purchase/lease, and future attempted repairs, future additional fuel costs,

         25   decreased performance of the vehicles, and diminished value of the vehicles. Neither FCA nor

         26   any of its agents, dealers, or other representatives ever informed Plaintiffs of the existence of

         27   the unlawfully high emissions and/or defective nature of the Super Duty diesel engine system

         28   of the Subject Vehicles prior to purchase/lease.

                                                                 4
                                                  COMPLAINT FOR DAMAGES                   Exhibit B, Page 16
         Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 8 of 177 Page ID #:22




             i           14.       Due to the defects in the Subject Vehicle's emissions systems, FCA's failure to

             2   remedy those problems, and FCA's fraud on consumers, including Plaintiffs, Plaintiffs have

             3   been forced to join the ranks of tens of thousands of consumers who have sued FCA in

             4   California and other courts nationwide.

             5                                                PARTIES

             6                                               Defendants

             7           15.       Defendant FCA US, LLC is a Delaware limited liability company with its

             8   headquarters and principal place of business in the state of Michigan. Defendant does business

             9   in the state of California. At all times relevant herein. Defendant was engaged in the business

            10   of designing, manufacturing, constructing, assembling, marketing, distributing, and selling
u           II   automobiles and other motor vehicles and motor vehicle components in Los Angeles County.
CL
<3 z
c/3D S      12           16.       Plaintiffs are ignorant of the true names and capacities of the Defendants sued
M 5
5 3
W i         13   under the fictitious names DOES 1 to 10, and said DOES are sued pursuant to Code of Civil
Cil ^
Oh S        14   Procedure section 474. When Plaintiffs become aware of the true names and capacities of the
J t
<&
o           15   Defendants sued as DOES 1 to 10, Plaintiffs will amend this Complaint to state their true names
   •:

            16   and capacities.

            17           17.       As used in this Complaint (“Complaint”), the word “Defendant” shall refer to all
o
o           18   Defendants named in this Complaint.

            19           18.       All acts of corporate employees as alleged were authorized or ratified by an

            20   officer, director or managing agent of the corporate employer.

            21           19.       Each Defendant whether actually or fictitiously named herein, was the principal,

            22   agent, (actual or ostensible), or employee of each other Defendant and in acting as such principal

            23   or within the course and scope of such employment or agency, took some p^t_]n the acts and

            24   omissions hereinafter set forth by reason of which each Defendant is liable to Plaintiffs for the

            25   relief prayed for herein.

            26                                                Plaintiffs

            27          20.        Plaintiffs AARON ISKENDERIAN and PAT HURT (for the purpose of this

            28   paragraph only, “Plaintiffs”) are residents of Lake County, Illinois. On or about August 17,

                                                                    5
                                                       COMPLAINT FOR DAMAGES                Exhibit B, Page 17
           Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 9 of 177 Page ID #:23




                   2015, Plaintiffs purchased a 2015 Jeep Grand Cherokee EcoDiesel, Vehicle Identification

               2   Number IC4RJFBM5FC853458 (for the purpose of this paragraph only, the “Vehicle”), which

               3   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

               4   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

               5   performance of the Vehicle or provide compensation if there was a failure in such utility or

               6   performance. The Vehicle was purchased or used primarily for personal, family, or household

               7   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

               8   the warranty and developed other serious defects and nonconformities to the warranty including,

               9   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

              10   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
o             11   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles
cu
c/5 S         12   were represented as environmentally friendly, having low emissions and good fuel economy.
w5
Q i
W X           13   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs
5
a 5s
     •.t      14   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
< &S
o
w 5           15   including its fuel economy and performance. These representations, along with the advertised

WI            16   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

c/5 5         17   purchase. Plaintiffs did not know that the Vehicle could perform as advertised only by emitting
r: "
o
o             18   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

              19   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

              20   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

              21   have purchased the Vehicle, or would have paid substantially less for it, had they known that it

              22   did not comply with emission standards; that its emission treatment system was designed to de­

              23   activate during real-world driving conditions; and that it could not achieve the advertised,towing,

              24   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

              25   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

              26   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

              27   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

              28   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

                                                                     6
                                                      COMPLAINT FOR DAMAGES                  Exhibit B, Page 18
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 10 of 177 Page ID #:24




              3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

          2   before April 15, 2019.

          3          21.     Plaintiff ADRIANNA ARANA (for the purpose of this paragraph only,

          4   “Plaintiff’) is a resident of San Bernardino County, California. On or about March 1, 2017,

          5   Plaintiff purchased a 2015 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number

          6   IC4RJEBM5FC749823 (for the purpose of this paragraph only, the “Vehicle”), which was

          7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          9   performance of the Vehicle or provide compensation if there was a failure in such utility or

         10   performance. The Vehicle was purchased or used primarily for personal, family, or household
cj
CM       11   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
tf) »
w5
         12   the warranty and developed other serious defects and nonconformities to the warranty including,
Q 3
         13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
S 2
W 0
PC S     14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
j i
<E
O y
W 2      15   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         16   were represented as environmentally friendly, having low emissions and good fuel economy.

c/5 a    17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
2: "
o
u        18   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         19   including its fuel economy and performance. These representations, along with the advertised

        20    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

        21    purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

        22    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

        23    that her Vehicle was equipped with undisclosed and unauthorized emission cpntroj d_evices_

        24    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

        25    have purchased the Vehicle, or would have paid substantially less for it, had she known that it

        26    did not comply with emission standards; that its emission treatment system was designed to de­

        27    activate during real-world driving conditions; and that it could not achieve the advertised towing

        28    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                                7
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 19
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 11 of 177 Page ID #:25




               a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          2    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          3    unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

          4    Dodge-Jeep EcoDiesel Marketing, Soles Practices, and Products Liability Litigation, Case No.

          5    3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or

          6    before April 15, 2019.

          7           22.     Plaintiff ALAINA BIGGER (for the purpose of this paragraph only, “Plaintiff’)

          8    is a resident of Los Angeles County, California. On or about July 21, 2015, Plaintiff purchased

          9    a 2015 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number IC4RJEBM9FC920I67

         10    (for the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or

Ph       ] I   distributed by Defendant FCA. Express warranties accompanied the sale of the Vehicle to

         12    Plaintiff by which FCA undertook to preserve or maintain the utility or performance of the
w5
Q ^
W X      13    Vehicle or provide compensation if there was a failure in such utility or performance. The
^ 5
Ph i     14    Vehicle was purchased or used primarily for personal, family, or household purposes. The

3^
W 2      .5    Vehicle was delivered to Plaintiff with serious defects and nonconformities to the warranty and
hJ i
i|       16    developed other serious defects and nonconformities to the warranty including, but not limited
32
         17    to, a defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s
o
         18    representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

         19    Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

        20     represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

        21     also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

        22     purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including

        23     its fuel economy and performance. These representations, along with the advertised fuel

        24     economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,

        25     Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

        26     levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that her

        27     Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

        28     cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

                                                            8
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 20
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 12 of 177 Page ID #:26




              purchased the Vehicle, or would have paid substantially less for it, had she known that it did

          2   not comply with emission standards; that its emission treatment system was designed to de­

          3   activate during real-world driving conditions; and that it could not achieve the advertised towing

          4   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

          5   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          6   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          7   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

          8   Oodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

          9   3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or

         10   before April 15, 2019.
o        11          23.       Plaintiff AMINA WESTBERG (for the purpose of this paragraph only,
a.
< =
         12   “Plaintiff’) is a resident of Calaveras County, California. On or about June 17, 2016, Plaintiff
5^
S?       13   purchased    a    2015   Dodge   Ram     1500   EcoDiesel,    Vehicle    Identification   Number
Si
CC i     14   IC6RR6PM7FS623404 (for the purpose of this paragraph only, the “Vehicle”), which was

O y      15   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
W 2
cc 5     16   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

c/5 Z    17   performance of the Vehicle or provide compensation if there was a failure in such utility or
Z “
o
o        18   performance. The Vehicle was purchased or used primarily for personal, family, or household

         19   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         20   the warranty and developed other serious defects and nonconformities to the warranty including,

         21   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         22   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         23   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles ...

         24   were represented as environmentally friendly, having low emissions and good fuel economy.

         25   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         26   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         27   including its fuel economy and performance. These representations, along with the advertised

         28   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

                                                                9
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 21
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 13 of 177 Page ID #:27




              purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          2   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          3   that her Vehicle was equipped with undisclosed and unauthorized emission control devices

          4   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

          5   have purchased the Vehicle, or would have paid substantially less for it, had she known that it

          6   did not comply with emission standards; that its emission treatment system was designed to de­

          7   activate during real-world driving conditions; and that it could not achieve the advertised towing

          8   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

          9   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         10   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
o             unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-
Cl

         12   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
5 i
a I      13   3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or
S 5
         14   before April 15, 2019.
o I
a 9.     15          24.     Plaintiffs AMMON RIORDAN and ANDREW RIORDAN (for the purpose of
j i
§i       16   this paragraph only, “Plaintiffs”) are residents of Placer County, California. On or about August
gs
c/5 S    17   13, 2018, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification
.q
o        18   Number 1C6RR7VMXFS694640 (for the purpose of this paragraph only, the “Vehicle”), which

         19   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

        20    sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

        21    performance of the Vehicle or provide compensation if there was a failure in such utility or

        22    performance. The Vehicle was purchased or used primarily for personal, family, or household

        23    purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to_

        24    the warranty and developed other serious defects and nonconformities to the warranty including,

        25    but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

        26    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        27    fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

        28    were represented as environmentally friendly, having low emissions and good fuel economy.

                                                               10
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 22
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 14 of 177 Page ID #:28




           I   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

           2   went to purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes,
           2
               including its fuel economy and performance. These representations, along with the advertised

           4   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

           5   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

           6   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

           7   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

           8   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

           9   have purchased the Vehicle, or would have paid substantially less for it, had they known that it

          10   did not comply with emission standards; that its emission treatment system was designed to de­
o              activate during real-world driving conditions; and that it could not achieve the advertised towing
<=
M5        12   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have
S A
          13   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not
S     I
Cfi   i   14   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed
-J    i
<     E
          15   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-
Si
          16   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

-2        17   3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or
o
o         18   before April 15, 2019.

          19          25.     Plaintiff AMY HOLBERG (for the purpose of this paragraph only, “Plaintiff)

          20   is a resident of Humboldt County, California. On or about June 28, 2016, Plaintiff purchased a

          21   2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number IC6RR7KM2FS660079 (for

          22   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

          23   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plamtiff by

          24   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

          25   provide compensation if there was a failure in such utility or performance. The Vehicle was

          26   purchased or used primarily for personal, family, or household purposes. The Vehicle was

          27   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed

          28   other serious defects and nonconformities to the warranty including, but not limited to, a

                                                                11
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 23
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 15 of 177 Page ID #:29




               defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA's

           2   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

           3   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

           4   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

           5   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

           6   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including

           7   its fuel economy and performance. These representations, along with the advertised fuel

           8   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,

           9   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

          10   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that her
cj*
a.        II   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
*^•1      12   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have
D -■

“I        13   purchased the Vehicle, or would have paid substantially less for it, had she known that it did
« i       14   not comply with emission standards; that its emission treatment system was designed to de­
^t
<6
          15   activate during real-world driving conditions; and that it could not achieve the advertised towing
CC 5      16   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
w i

          17   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
o
u         18   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          19   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

         20    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         21    3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or

         22    before April 15, 2019.

         23           26.     Plaintiff ANDREW BARBOSA (for the purpose of this paragraph only,

         24    “Plaintiff’) is a resident of Imperial County, California. On or about September 30, 2016,

         25    Plaintiff purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number

         26    IC6RR7NM0GS365981 (for the purpose of this paragraph only, the “Vehicle”), which was

         27    manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

         28    of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

                                                                12
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 24
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 16 of 177 Page ID #:30




          1    performance of the Vehicle or provide compensation if there was a failure in such utility or

          2    performance. The Vehicle was purchased or used primarily for personal, family, or household

          3    purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

          4    the warranty and developed other serious defects and nonconformities to the warranty including,

          5    but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

          6    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          7    fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

          8    were represented as environmentally friendly, having low emissions and good fuel economy.

          9    Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         10    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

2-       11-   including its fuel economy and performance. These representations, along with the advertised

g1
Q 2
         12    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
M 5
s b
         13    purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting
w ?
s: 2     14    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
-) i
a 9.     15    that his Vehicle was equipped with undisclosed and unauthorized emission control devices
hJ   i
         16    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         17    have purchased the Vehicle, or would have paid substantially less for it, had he known that it
o
o        18    did not comply with emission standards; that its emission treatment system was designed to de­

         19    activate during real-world driving conditions; and that it could not achieve the advertised towing

         20    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         21    a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         22    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

         23    unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

         24    Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         25    3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         26    before April 15, 2019.

         27           27.     Plaintiffs ANDREW HOLDBROOKS and JESSICA HOLDBROOKS (for the

         28    purpose of this paragraph only, “Plaintiffs”) are residents of Tulare County, California. On or

                                                                13
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 25
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 17 of 177 Page ID #:31




             about May 21, 2016, Plaintiffs purchased a 2016 Dodge Rarn 1500 EcoDiesel, Vehicle

         2   Identification Number 1C6RR7LM5GS338262 (for the purpose of this paragraph only, the

         3   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties

         4   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

         5   maintain the utility or performance of the Vehicle or provide compensation if there was a failure

         6   in such utility or performance. The Vehicle was purchased or used primarily for personal,

         7   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and

         8   nonconformities to the warranty and developed other serious defects and nonconformities to the

         9   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

        10   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle

        II   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

        12   which the Subject Vehicles were represented as environmentally friendly, having low emissions
£
        13   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

        14   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s

O .N    15   EcoDiesel® attributes, including its fuel economy and performance. These representations,

g|      16   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

        17   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as
o
u       18   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

        19   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

       20    emission control devices designed to cheat emission tests and to deceive consumers and

       21    regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

       22    less for it, had they known that it did not comply with emission standards; that its emission

       23    treatment system was designed to de-activate during real-world driving conditions; and that it _

       24    could not achieve the advertised towing power, performance, and/or fuel economy without

       25    cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

       26    result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

       27    substantially less for it, had FCA not concealed the unauthorized emission control devices.

       28    Plaintiffs opted out of the Class in In Re ChrysJer-Dodge-Jeep EcoDiesel Marketing, Sales

                                                              14
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 26
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 18 of 177 Page ID #:32




              Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

          2   opt out form to the Class claims administrator on or before April 15, 2019.

          3          28.       Plaintiff ANDREW WHYNAUGHT (for the purpose of this paragraph only,

          4   “Plaintiff’) is a resident of Tulare County, California. On or about November I, 2017, Plaintiff

          5   purchased    a    2016   Dodge    Ram    1500    EcoDiesel,   Vehicle    Identification   Number

          6   1C6RR7LM5GS174558 (for the purpose of this paragraph only, the “Vehicle”), which was

          7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          9   performance of the Vehicle or provide compensation if there was a failure in such utility or

         10   performance. The Vehicle was purchased or used primarily for personal, family, or household
u        II   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
CL
< =
[d'      12   the warranty and developed other serious defects and nonconformities to the warranty including,
§i       13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
si
C? i     14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         15   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles
-I ^
         16   were represented as environmentally friendly, having low emissions and good fuel economy.
§1
         17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o
u        18   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         19   including its fuel economy and performance. These representations, along with the advertised

         20   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

         2!   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

         22   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         23   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

         24   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         25   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

         26   did not comply with emission standards; that its emission treatment system was designed to de­

         27   activate during real-world driving conditions; and that it could not achieve the advertised towing

         28   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                               15
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 27
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 19 of 177 Page ID #:33




             a concrete injury as a direct and proximate result of FCA's misconduct, and would not have

         2   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

         3   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

         4   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         5   3:l7-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         6   before April 15, 2019.

         7          29.       Plaintiff ANTHONY ELIAS JR. (for the purpose of this paragraph only,

         8   “Plaintiff’) is a resident of Los Angeles County, California. On or about July 26, 2017, Plaintiff

         9   purchased    a    2014   Dodge   Ram     1500   EcoDiesel,    Vehicle   Identification   Number

        10   1C6RR6JM8ES382508 (for the purpose of this paragraph only, the “Vehicle”), which was
o       II   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
< =
c/Tl’   12   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
a 3
Q ^
a I     13   performance of the Vehicle or provide compensation if there was a failure in such utility or
a ?
        14   performance. The Vehicle was purchased or used primarily for personal, family, or household
a i
<&
O N
a 2     15   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
cc e    16   the warranty and developed other serious defects and nonconformities to the warranty including,
aI
3?
in 5    17   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
Z. ~
o
o       18   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        19   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

        20   were represented as environmentally friendly, having low emissions and good fuel economy.

        2!   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

        22   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

        23   including its fuel economy and performance. These representations, along with the advertised

        24   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

        25   purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

        26   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

        27   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

        28   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

                                                              16
                                                COMPLAINT FOR DAMAGES                 Exhibit B, Page 28
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 20 of 177 Page ID #:34




              have purchased the Vehicle, or would have paid substantially less for it, had he known that it

          2   did not comply with emission standards; that its emission treatment system was designed to de­

          3   activate during real-world driving conditions; and that it could not achieve the advertised towing

          4   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

          5   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          6   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          7   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

          8   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

          9   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         10   before April 15, 2019.
cj
Oh       II          30.       Plaintiff ANTONIO VEGA (for the purpose of this paragraph only, “Plaintiff’)
C/D s    12   is a resident of San Bernardino County, California. On or about May 14, 2018, Plaintiff
S3
Q ^
W X      13   purchased    a    2014   Dodge   Ram     1500   EcoDiesel,    Vehicle    Identification   Number
S 5
a ?
K a      14   1C6RR7PM9ES363608 (for the purpose of this paragraph only, the “Vehicle”), which was
-1 ^
     &
O N
w ^X     15   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

li       16   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

         17   performance of the Vehicle or provide compensation if there was a failure in such utility or
o
cj            performance. The Vehicle was purchased or used primarily for personal, family, or household
         18

         19   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         20   the warranty and developed other serious defects and nonconformities to the warranty including,

         21   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         22   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         23   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         24   were represented as environmentally friendly, having low emissions and good fuel economy.

         25   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         26   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         27   including its fuel economy and performance. These representations, along with the advertised

         28   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

                                                               17
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 29
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 21 of 177 Page ID #:35




             purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

         2   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         3   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

         4   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         5   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

         6   did not comply with emission standards; that its emission treatment system was designed to de­

         7   activate during real-world driving conditions; and that it could not achieve the advertised towing

         8   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         9   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        10   purchased the Vehicle, or would have paid substantially less for It, had FCA not concealed the
o       II   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-
<-
        12   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
S3
5i
a I     13   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
^I
pH ^    14   before April 15, 2019.
a i
< &^
o
a 2     15          31.     Plaintiff AUSTIN PETTY (for the purpose of this paragraph only, “Plaintiff’) is
Ji
        16   a resident of Placer County, California. On or about October 27, 2015, Plaintiff purchased a
si
c/3 R   17   2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7PM4FS751525 (for
z-
O
o       18   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

        19   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by

        20   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

        21   provide compensation if there was a failure in such utility or performance. The Vehicle was

        22   purchased or used primarily for personal, family, or household purposes. The Vehicle was

        23   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed,

        24   other serious defects and nonconformities to the warranty including, but not limited to, a

        25   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

        26   representations that it was an “EcoDiesel” vehicle (I.e., reduced emissions and fuel efficient).

        27   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

        28   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

                                                              18
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 30
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 22 of 177 Page ID #:36




               also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

           2   purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes, including

           3   its fuel economy and performance. These representations, along with the advertised fuel

           4   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase.

           5   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

           6   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

           7   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

           8   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

           9   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

          10   comply with emission standards; that its emission treatment system was designed to de-activate
u         11   during real-world driving conditions; and that it could not achieve the advertised towing power,

si        12   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
Q 5
U I       13   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
S 5
a a
«S        14   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

O y
a -       15   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

ii             Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
gs        17   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
o
u         18   before April 15, 2019.

          19          32.    Plaintiff BENJAMIN G. MORANA (for the purpose of this paragraph only,

          20   “Plaintiff’) is a resident of San Bernardino County, California. On or about August 15, 2017,

          21   Plaintiff purchased a 2014 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number

          22   1C4RJFCM6EC580575 (for the purpose of this paragraph only, the “Vehicle”), which was

          23   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          24   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          25   performance of the Vehicle or provide compensation if there was a failure in such utility or

          26   performance. The Vehicle was purchased or used primarily for personal, family, or household

          27   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

          28   the warranty and developed other serious defects and nonconformities to the warranty including.

                                                                19
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 31
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 23 of 177 Page ID #:37




         1   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         2   in part on FCA's representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         3   fuel efficient). Plaintiff recalls visiting the JEEP/R.AM website, on which the Subject Vehicles

         4   were represented as environmentally friendly, having low emissions and good fuel economy.

         5   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         6   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® allribules,

         7   including its fuel economy and performance. These representations, along with the advertised

         8   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

         9   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

        10   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
o       11   that his Vehicle was equipped with undisclosed and unauthorized emission control devices
IX
C=
        12   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
S3
Q ^
W X     13   have purchased the Vehicle, or would have paid substantially less for it, had he known that it
S 5
M $
P? i    14   did not comply with emission standards; that its emission treatment system was designed to de­

        15   activate during real-world driving conditions; and that it could not achieve the advertised towing
    i
c £     16   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
Hi I
^ Cl
D r
    Z   17   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
Z ■
o
o       18   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        19   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

        20   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

        21   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

        22   before April 15, 2019.

        23          33.     Plaintiff BILL LARGEY (for the purpose of this paragraph only, “Plaintiff’) is

        24   a resident of Maricopa County, Arizona. On or about December 24, 2015, Plaintiff purchased a

        25   2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7NM5GS184990 (for

        26   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

        27   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by

        28   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

                                                              20
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 32
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 24 of 177 Page ID #:38




               provide compensation if there was a failure in such utility or performance. The Vehicle was

           2   purchased or used primarily for personal, family, or household purposes. The Vehicle was

           3   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed

           4   other serious defects and nonconformities to the warranty including, but not limited to, a

           5   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

           6   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

           7   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

           8   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

           9   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

          10   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including
u         11   its fuel economy and performance. These representations, along with the advertised fuel
Oh
C =
          12   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase.
w5
Q ^
W X
>!H   >
          13   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at
WC,   J


Ks        14   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his
j i
<i
               Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
      i
Si        16   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have
g|
IT)       17   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not
Z "
o
          18   comply with emission standards; that its emission treatment system was designed to de-activate

          19   during real-world driving conditions; and that it could not achieve the advertised towing power,

          20   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

          21   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          22   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          23   unauthorized emission control devices.    Plaintiff opted out of the Class in In Re Chrysler-

          24   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

          25   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

          26   before April 15, 2019.

          27          34.    Plaintiffs BOBBY MCMICHAEL and KAREN MCMICHAEL (for the purpose

          28   of this paragraph only, “Plaintiffs”) are residents of Tehama County, California. On or about

                                                               21
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 33
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 25 of 177 Page ID #:39




             December 30, 2016, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle

         2   Identification Number 1C6RR7LM2GS339448 (for the purpose of this paragraph only, the

         3   “Vehicle"), which was manufactured and/or distributed by Defendant FCA. Express warranties

         4   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

         5   maintain the utility or performance of the Vehicle or provide compensation if there was a failure

         6   in such utility or performance. The Vehicle was purchased or used primarily for personal,

         7   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and

         8   nonconformities to the warranty and developed other serious defects and nonconformities to the

         9   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

        10   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
u       II   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on
(/} ?
u -3    12   which the Subject Vehicles were represented as environmentally friendly, having low emissions
5i
w I     13   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject
u ^
        14   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s
    i
<&
        15   EcoDiesel® attributes, including its fuel economy and performance. These representations,
J i
W .0    16   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

        17   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as
2; “
o
o       18   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

        19   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

        20   emission control devices designed to cheat emission tests and to deceive consumers and

        21   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

        22   less for it, had they known that it did not comply with emission standards; that its emission

        23   treatment system was designed to de-activate during real-world driving conditions; and tha_l it

        24   could not achieve the advertised towing power, performance, and/or fuel economy without

        25   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

        26   result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

        27   substantially less for it, had FCA not concealed the unauthorized emission control devices.

        28   Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

                                                          22
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 34
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 26 of 177 Page ID #:40




              Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

          2   opt out form to the Class claims administrator on or before April 15, 2019.

          3          35.       Plaintiff BRANDON REITZ (for the purpose of this paragraph only, “Plaintiff’)

          4   is a resident of Sacramento County, California. On or about November 16, 2016, Plaintiff

          5   purchased    a    2016   Dodge    Ram    1500   EcoDiesel,    Vehicle    Identification   Number

          6   1C6RR7GM5GS372I80 (for the purpose of this paragraph only, the “Vehicle”), which was

          7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          9   performance of the Vehicle or provide compensation if there was a failure in such utility or

         10   performance. The Vehicle was purchased or used primarily for personal, family, or household
u        II   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconfonnities to
Oh
-<5
CO S     12   the warranty and developed other serious defects and nonconformities to the warranty including,
Q i
W I      13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
a 3
Xi       14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
-1 i
<^
O y      15   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles
U i

         16   were represented as environmentally friendly, having low emissions and good fuel economy.
si
si       17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o
CJ            went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
         18

         19   including its fuel economy and performance. These representations, along with the advertised

        20    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

        21    purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

        22    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

        23    that his Vehicle was equipped with undisclosed and unauthorized emission control device.s

        24    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

        25    have purchased the Vehicle, or would have paid substantially less for it, had he known that it

        26    did not comply with emission standards; that its emission treatment system was designed to de­

        27    activate during real-world driving conditions; and that it could not achieve the advertised towing

        28    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                           23
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 35
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 27 of 177 Page ID #:41




               a concrete injury as a direct and proximate result of FCA's misconduct, and would not have

           2   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

           3   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

           4   Docige-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

           5   3:l7-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           6   before April 15, 2019.

           7          36.       Plaintiff BRANDON TAMURA (for the purpose of this paragraph only,
           8   “Plaintiff’) is a resident of Fresno County, California. On or about December 31,2015, Plaintiff

           9   purchased    a    2016   Dodge   Ram    1500   EcoDiesel,    Vehicle    Identification   Number

          10   IC6RR7NM5GSI66862 (for the purpose of this paragraph only, the “Vehicle"), which was
cj
A .       II   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

^3        12   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
a^
W I       13   performance of the Vehicle or provide compensation if there was a failure in such utility or
S 5
Ch 2..1   14   performance. The Vehicle was purchased or used primarily for personal, family, or household
-j £

O N
W 2       15   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
Ji
g|        16   the warranty and developed other serious defects and nonconformities to the warranty including,
C/) 5     17   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
2; "
o
o         18   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          19   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

          20   were represented as environmentally friendly, having low emissions and good fuel economy.

          21   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

          22   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          23   including its fuel economy and performance. These representations, along with the advertised

          24   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

          25   purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          26   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          27   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          28   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

                                                               24
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 36
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 28 of 177 Page ID #:42




              have purchased the Vehicle, or would have paid substantially less for it, had he known that it
          2   did not comply with emission standards; that its emission treatment system was designed to de­
          3   activate during real-world driving conditions; and that it could not achieve the advertised towing
          4   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
          5   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
          6   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
          7   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-
          8   DoJge-Jecfj EcoDiescl Marketing, Sales Practices, and Products Liability Litigation, Case No.
          9   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
         10   before April 15, 2019.
cj
         11          37.     Plaintiff BRENT LEBLANC (for the purpose of this paragraph only, “Plaintiff’)

id 3
         12   is a resident of Riverside County, California. On or about December 21, 2015, Plaintiff
O 3
         13   purchased a 2016         Dodge Ram       1500   EcoDiesel,    Vehicle    Identification   Number
SI
Cd I
cc a     14   1C6RR7TM9GS186874 (for the purpose of this paragraph only, the “Vehicle”), which was
j i
<i
         15   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

g|       16   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
         17   performance of the Vehicle or provide compensation if there, was a failure in such utility or
o
         18   performance. The Vehicle was purchased or used primarily for personal, family, or household
         19   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
         20   the warranty and developed other serious defects and nonconformities to the warranty including,
        21    but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
        22    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
        23    fuel efficient). Plaintiff recalls, visiting the JEEP/RAM website^ on which the Subject Vehicles
        24    were represented as environmentally friendly, having low emissions and good fuel economy.
        25    Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
        26    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
        27    including its fuel economy and performance. These representations, along with the advertised
        28    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

                                                           25
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 37
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 29 of 177 Page ID #:43




               purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

           2   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

           3   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

           4   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

           5   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

           6   did not comply with emission standards; that its emission treatment system was designed to de­

           7   activate during real-world driving conditions; and that it could not achieve the advertised towing

           8   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

           9   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          10   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
o
P-.       11   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

          12   Dodgc Jecp EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
—5
ii        13   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
s\
cc a      14   before April 15, 2019.
O N
Cs^ 2     15          38.     Plaintiff BRIAN CARRILLO (for the purpose of this paragraph only, “Plaintiff’)
^ 3

ii
3§
               is a resident of Livermore County, California. On or about October 31,2015, Plaintiff purchased

C/7       17   a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7NM8FS724170
Z. ~
O
O         18   (for the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or

          19   distributed by Defendant FCA. Express warranties accompanied the sale of the Vehicle to

         20    Plaintiff by which FCA undertook to preserve or maintain the utility or performance of the

         21    Vehicle or provide compensation if there was a failure in such utility or performance. The

         22    Vehicle was purchased or used primarily for personal, family, or household purposes. The

         23    Vehicle was delivered to Plaintiff with serious defects and nonconformities to the warranty.and

         24    developed other serious defects and nonconformities to the warranty including, but not limited

         25    to, a defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

         26    representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

         27    Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

         28    represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

                                                            26
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 38
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 30 of 177 Page ID #:44




               also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

           2   purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes, including

           3   its fuel economy and performance. These representations, along with the advertised fuel

           4   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,

           5   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

           6   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

           7   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

           8   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

           9   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

          10   comply with emission standards; that its emission treatment system was designed to de-activate
o         11   during real-world driving conditions; and that it could not achieve the advertised towing power,
q-

          12   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

          13   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
Sia       14   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
J S

      ^   15   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-
31
gi        16   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

c/5       17   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
fc -
O
O         18   before April 15, 2019.

          19          39.    Plaintiffs BRIAN CORBETT and MUREL ANN CORBETT (for the purpose of

          20   this paragraph only, “Plaintiffs”) are residents of Orange County, California. On or about March

          21   21, 2016, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification

          22   Number IC6RR7NM6GS154140 (for the purpose of this paragraph only, the “Vehicle”), which

          23   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied_the

          24   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

          25   performance of the Vehicle or provide compensation if there was a failure in such utility or

          26   performance. The Vehicle was purchased or used primarily for personal, family, or household

          27   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

          28   the warranty and developed other serious defects and nonconformities to the warranty including,

                                                               27
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 39
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 31 of 177 Page ID #:45




           I   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

           2   in part on FCA’s representations that it was an “EcoDiesef vehicle (i.e., reduced emissions and

           3   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

           4   were represented as environmentally friendly, having low emissions and good fuel economy.

           5   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

           6   went to purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes,

           7   including its fuel economy and performance. These representations, along with the advertised

           8   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

           9   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

          10   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware
c_>
A .       11   that their Vehicle was equipped with undisclosed and unauthorized emission control devices
<3 =
cn-l’     12   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not
w5
Q ^
Si        13   have purchased the Vehicle, or would have paid substantially less for it, had they known that it
Si
05 5-     14   did not comply with emission standards; that its emission treatment system was designed to de­
-) i
21             activate during real-world driving conditions; and that it could not achieve the advertised towing
J i
          16   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

CO Z      17   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not
7C. “
O
O         18   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

          19   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

         20    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         21    3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

         22    before April i 5, 2019.

         23           40.     Plaintiffs BRIAN CORWIN and SUSAN CORWIN (for the purpose of this

         24    paragraph only, “Plaintiffs”) are residents of San Bernardino County, California. On or about

         25    February 24, 2018, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle

         26    Identification Number IC6RR7LM3FS531699 (for the purpose of this paragraph only, the

         27    “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties

         28    accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

                                                                28
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 40
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 32 of 177 Page ID #:46




              maintain the utility or performance of the Vehicle or provide compensation if there was a failure

          2   in such utility or performance. The Vehicle was purchased or used primarily for personal,

          3   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and

          4   nonconformities to the warranty and developed other serious defects and nonconformities to the

          5   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

          6   purchase the Vehicle based in part on FCA's representations that it was an “EcoDiesel” vehicle

          7   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

          8   which the Subject Vehicles were represented as environmentally friendly, having low emissions

          9   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

         10   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s
o        II   EcoDiesel® attributes, including its fuel economy and performance. These representations,
0^


s1
5^
         12   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

aI       13   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as
li
0? &     I4   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

         15   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

a .=5    16   emission control devices designed to cheat emission tests and to deceive consumers and
SI
         17   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially
z ■
o
o        18   less for it, had they known that it did not comply with emission standards; that its emission

         19   treatment system was designed to de-aclivate during real-world driving conditions; and that it

        20    could not achieve the advertised towing power, performance, and/or fuel economy without

        2l    cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

        22    result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

        23    substantially less for it, had FCA not concealed the unauthorized emission control devices..

        24    Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

        25    Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

        26    opt out form to the Class claims administrator on or before April 15, 2019.

        27           41.     Plaintiff BRIAN PERRY (for the purpose of this paragraph only, “Plaintiff’) is

        28    a resident of Tulare County, California. On or about September 6, 2015, Plaintiff purchased a

                                                               29
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 41
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 33 of 177 Page ID #:47




          I   2015 Dodge Ram 1500 EcoDiesel, Vehicle Idenlincation Number 1C6RR7VM6FS689032 (for

          2   the purpose of this paragraph only, the '‘Vehicle"), which was manufactured and/or distributed

          3   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by

          4   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

          5   provide compensation if there was a failure in such utility or performance. The Vehicle was

          6   purchased or used primarily for personal, family, or household purposes. The Vehicle was

          7   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed

          8   other serious defects and nonconformities to the warranty including, but not limited to, a

          9   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

         10   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
cj
cu       i1   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

cS 3     12   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

11
3 i-
Sg
         13   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

         14   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including
< Ii
R 2?
U        15   its fuel economy and performance. These representations, along with the advertised fuel
hj i

li       16   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,

(/) 5    17   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at
z: “
o
CJ            levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his
         18

         19   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

        20    cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

        21    purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

        22    comply with emission standards; that its emission treatment system was designed to de-activate

        23    during real-world driving conditions; and that it could not achieve the advertised towing power,

        24    performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

        25    concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        26    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        27    unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

        28    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

                                                               30
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 42
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 34 of 177 Page ID #:48




          1   3;17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

          2   before April 15, 2019.

          3          42.       Plaintiff CANDICE KOPCAK (for the purpose of this paragraph only,

          4   “Plaintiff’) is a resident of Riverside County, California. On or about April 10, 2016, Plaintiff

          5   purchased    a    2016   Dodge    Ram    1500    EcoDiesel,    Vehicle   Identification   Number

          6   IC6RR6KM6GSi65122 (for the purpose of this paragraph only, the “Vehicle”), which was

          7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          9   performance of the Vehicle or provide compensation if there was a failure in such utility or

         10   performance. The Vehicle was purchased or used primarily for personal, family, or household
cj
fu       11   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         12   the warranty and developed other serious defects and nonconformities to the warranty including,
Q ^
W X      13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
S    5
K    a   14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
J    i
<    g
              fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

li       16   were represented as environmentally friendly, having low emissions and good fuel economy.

         17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o
o        18   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         19   including its fuel economy and performance. These representations, along with the advertised

         20   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

         21   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

         22   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         23   that her Vehicle was equipped with undisclosed and unauthorized emission control devices

         24   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         25   have purchased the Vehicle, or would have paid substantially less for it, had she known that it

         26   did not comply with emission standards; that its emission treatment system was designed to de­

         27   activate during real-world driving conditions; and that it could not achieve the advertised towing

         28   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                               31
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 43
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 35 of 177 Page ID #:49




          I   a concrete injury as a direct and proximate result of FCA's misconduct, and would not have

          2   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          3   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

          4   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

          5   3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or

          6   before April 15, 2019.

          7          43.     Plaintiffs CARLOS LUGO and MARIA LUGO (for the purpose of this

          8   paragraph only, “Plaintiffs”) are residents of San Joaquin County, California. On or about

          9   January 30, 2015, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle

         10   Identification Number 1C6RR7VM1FS532105 (for the purpose of this paragraph only, the
u        11   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties
Oh
<3 =
C/5-S    12   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or
S3
Q 3
W X
«« >     13   maintain the utility or performance of the Vehicle or provide compensation if there was a failure
« ?
Oh 2     14   in such utility or performance. The Vehicle was purchased or used primarily for personal,
J i
O y      15   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and
a i
h-i i
aI       16   nonconformities to the warranty and developed other serious defects and nonconformities to the

«2       17   warranty including, but not limited to, a defective emission system. Plaintiffs decided to
o
u        18   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle

         19   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

        20    which the Subject Vehicles were represented as environmentally friendly, having low emissions

        21    and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

        22    Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s

        23    EcoDiesel® attributes, including its fuel economy and performance. These representations,

        24    along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

        25    Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as

        26    advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

        27    Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

        28    emission control devices designed to cheat emission tests and to deceive consumers and

                                                               32
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 44
       Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 36 of 177 Page ID #:50




                regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

            2   less for it, had they known that it did not comply with emission standards; that its emission

            3   treatment system was designed to de-activate during real-world driving conditions; and that it

            4   could not achieve the advertised towing power, performance, and/or fuel economy without

            5   cheating emission tests. Plaintiffs have suffered a concrete injury^ as a direct and proximate

            6   result of FCA's misconduct, and would not have purchased the Vehicle, or would have paid

            7   substantially less for it, had FCA not concealed the unauthorized emission control devices.

            8   Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

            9   Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

           10   opt out form to the Class claims administrator on or before April 15, 2019.
u          II          44.     Plaintiffs CARLOS ROJO LOPEZ and NORMA RUELAS (for the purpose of
CLh

           12   this paragraph only, “Plaintiffs”) are residents of Imperial County, California. On or about June
Q ^
Id X       13   17, 2015, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification
a a
           14   Number 1C6RR7PM4FS665289 (for the purpose of this paragraph only, the “Vehicle”), which
      i
w •:       15   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the
h4

11         16   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

CO 5       17   performance of the Vehicle or provide compensation if there was a failure in such utility or
2 “
O
           18   performance. The Vehicle was purchased or used primarily for personal, family, or household

           19   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

          20    the warranty and developed other serious defects and nonconformities to the warranty including,

          21    but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

          22    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          23    fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which tjie Subject Vehicles

          24    were represented as environmentally friendly, having low emissions and good fuel economy.

          25    Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

          26    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          27    including its fuel economy and performance. These representations, along with the advertised

          28    fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

                                                                 33
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 45
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 37 of 177 Page ID #:51




              purchase. Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

          2   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

          3   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

          4   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

          5   have purchased the Vehicle, or would have paid substantially less for it, had they known that it

          6   did not comply with emission standards; that its emission treatment system was designed to de­

          7   activate during real-world driving conditions; and that it could not achieve the advertised towing

          8   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

          9   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

         10   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

CL       11   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-
     z

u3       12   Dodge-Jeep EcoDiesel Marketing, Sales Practices^ and Products Liability Litigation, Case NO;
5 ^
a X      13   3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or
S j
a $
Ki       14   before April 15, 2019.
a i
i&
O N      15          45.     Plaintiffs CHAD BRUMMELL and CAROL BRUMMEL (for the purpose of this
a 2
hJ i
         16   paragraph only, “Plaintiffs”) are residents of Orange County, California. On or about December
« §
         17   I, 2015, Plaintiffs purchased a 2014 Dodge Ram 1500 EcoDiesel, Vehicle Identification
o
o        18   Number 1C6RR6NM1ES403970 (for the purpose of this paragraph only, the “Vehicle”), which

         19   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

         20   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

         21   performance of the Vehicle or provide compensation if there was a failure in such utility or

         22   performance. The Vehicle was purchased or used primarily for personal, family, or household

         23   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

         24   the warranty and developed other serious defects and nonconformities to the warranty including,

         25   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

         26   in part on FCA's representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         27   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

         28   were represented as environmentally friendly, having low emissions and good fuel economy.

                                                               34
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 46
       Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 38 of 177 Page ID #:52




                 Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

            2    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

            3    including its fuel economy and performance. These representations, along with the advertised

            4    fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

            5    purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

            6    NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

            7    that their Vehicle was equipped with undisclosed and unauthorized emission control devices

            8    designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

            9    have purchased the Vehicle, or would have paid substantially less for it, had they known that it

           10    did not comply with emission standards; that its emission treatment system was designed to de­
o          II    activate during real-world driving conditions; and that it could not achieve the advertised towing
<=
c/5 S      12    power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have
3 ^
W I        13    suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not
« 2
     •.I   14    have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed
-J £
<5
o .sN
CJ
           15    the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-
cc S       16   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
Ul 5
§3
c/5 5;     17    3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or
Z. ~
O
CJ
           18    before April 15, 2019.

           19           46.     Plaintiff CHAD ELAM (for the purpose of this paragraph only, “Plaintiff’) is a

           20   resident of Los Angeles County, California. On or about March 24, 2016, Plaintiff purchased a

           21   2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number IC6RR7KM0GS145079 (for

           22   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

           23   ^by_Defendant FCA. Express^warranties accompanied the sale of the Vehicle,to^Plalntiff^by^

           24   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

           25   provide compensation if there was a failure in such utility or performance. The Vehicle was

           26   purchased or used primarily for personal, family, or household purposes. The Vehicle was

           27   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed

           28   other serious defects and nonconformities to the warranty including, but not limited to, a

                                                                  35
                                                    COMPLAINT FOR DAMAGES                  Exhibit B, Page 47
          Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 39 of 177 Page ID #:53




                   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA's

               2   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

               3   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

               4   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

               5   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

               6   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including

               7   its fuel economy and performance. These representations, along with the advertised fuel

               8   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase.

               9   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

              10   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his
o             11   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
a:
<=
cn-?          12   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have
w5
5^                 purchased the Vehicle, or would have paid substantially less for it, had he known that it did not
s?            13

    =
    ..1
              14   comply with emission standards; that its emission treatment system was designed to de-activate
<5
O N                during real-world driving conditions; and that it could not achieve the advertised towing power,

M 5           16   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a
11
£/) S         17   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
o
o             18   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

              19   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chry:sler-

             20    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

             21    3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

             22    before April 15, 2019.
             23           47.       Plaintiff CHARLES HUDDLESTON [I] (for the purpose of this paragraph only,

             24    “Plaintiff’) is a resident of San Diego County, California. On or about July 2, 2016, Plaintiff

             25    purchased    a    2016   Dodge   Ram     1500   EcoDiesel,    Vehicle   Identification   Number

             26    IC6RR7LM3GS174557 (for the purpose of this paragraph only, the “Vehicle”), which was

             27    manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

             28    of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

                                                                36
                                                      COMPLAINT FOR DAMAGES                 Exhibit B, Page 48
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 40 of 177 Page ID #:54




              performance of the Vehicle or provide compensation if there was a failure in such utility or

          2   performance. The Vehicle was purchased or used primarily for personal, family, or household

          3   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

          4   the warranty and developed other serious defects and nonconformities to the warranty including,

          5   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

          6   in part on FCA's representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          7   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

          8   were represented as environmentally friendly, having low emissions and good fuel economy.

          9   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         10   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
cj
2-       11   including its fuel economy and performance. These representations, along with the advertised

t/5 9
a        12   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

Si       13   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
Si
CC s     14   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         15   that his Vehicle was equipped with undisclosed and unauthorized emission control devices
SI
gi       16   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         17   have purchased the Vehicle, or would have paid substantially less for it, had he known that it
o
cj            did not comply with emission standards; that its emission treatment system was designed to de­
         18

         19   activate during real-world driving conditions; and that it could not achieve the advertised towing

         20   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         21   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         22   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

         23   unauthorized emission control devices.     Plaintiff opted out of the Class \n_ln Re Chrysler-

         24   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         25   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         26   before April 15, 2019.
         27          48.     Plaintiff CHARLES HUDDLESTON [2] (for the purpose of this paragraph only,

         28   “Plaintiff’) is a resident of San Diego County, California. On or about April 27, 2015, Plaintiff

                                                               37
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 49
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 41 of 177 Page ID #:55




          1   purchased    a   2015   Dodge     Ram    1500    EcoDiesel,    Vehicle   Identification   Number

          2   IC6RR6PM9FS530528 (for the purpose of this paragraph only, the “Vehicle”), which was

          3   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          4   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

          5   performance of the Vehicle or provide compensation if there was a failure in such utility or

          6   performance. The Vehicle was purchased or used primarily for personal, family, or household

          7   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

          8   the warranty and developed other serious defects and nonconformities to the warranty including,

          9   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         10   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

cu       11   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

S3       12   were represented as environmentally friendly, having low emissions and good fuel economy.

M        13   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

X 2      14   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

SP       15   including its fuel economy and performance. These representations, along with the advertised

gi       16   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
Si
g.       17   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
o
u        18   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         19   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

        20    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

        21    have purchased the Vehicle, or would have paid substantially less for it, had he known that it

        22    did not comply with emission standards; that its emission treatment system was designed to de­

        23    activate during real-world driving conditions; and that it could not achieve the advertised towing ^

        24    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

        25    a concrete injury as a direct and proximate result of FGA’s misconduct, and would not have

        26    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        27    unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

        28    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

                                                               38
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 50
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 42 of 177 Page ID #:56




               3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           2   before April 15, 2019.

           3          49.       Plaintiff CHARLES MCCARTNEY (for the purpose of this paragraph only,

           4   “Plaintiff’) is a resident of Solano County, California. On or about May 25, 2016, Plaintiff

           5   purchased    a    2016   Dodge    Ram    1500    EcoDiesel,   Vehicle    Identification   Number

           6   1C6RR7LMXGS1729I8 (for the purpose of this paragraph only, the “Vehicle”), which was

           7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

           8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

           9   performance of the Vehicle or provide compensation if there was a failure in such utility or

          10   performance. The Vehicle was purchased or used primarily for personal, family, or household
o         11   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
CL,

in f      12   the warranty and developed other serious defects and nonconformities to the warranty including,

ii        13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
§I
cc a      14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          15   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles
sl
11        16   were represented as environmentally friendly, having low emissions and good fuel economy.

          17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o
u         18   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          19   including its fuel economy and performance. These representations, along with the advertised

         20    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

         21    purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

         22    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         23    that his Vehicle was equipped with undisclosed and unauthorized emission control devices

         24    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

         25    have purchased the Vehicle, or would have paid substantially less for it, had he known that it

         26    did not comply with emission standards; that its emission treatment system was designed to de­

         27    activate during real-world driving conditions; and that it could not achieve the advertised towing

         28    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                            39
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 51
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 43 of 177 Page ID #:57




               a concrete injury as a direct and proximate result of FCA's misconduct, and would not have

           2   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

           3   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

           4   Dodge-Jeep EcoDiesei Marketing, Sales Practices, and Products Liability Litigation, Case No.

           5   3:l7-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           6   before April 15, 2019.

           7          50.     Plaintiffs CHARLES WEDEL and MICKIE WEDEL (for the purpose of this

           8   paragraph only, “Plaintiffs”) are residents of Kern County, California. On or about April 27,

           9   2015, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number

          10   IC6RR7PM4FS668421 (for the purpose of this paragraph only, the “Vehicle”), which was

a-        II   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
<=
          12   of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or
O -i
s;        13   performance of the Vehicle or provide compensation if there was a failure in such utility or
3I
CC a      14   performance. The Vehicle was purchased or used primarily for personal, family, or household
j i
< 5
at        15   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

11
is
          16   the warranty and developed other serious defects and nonconformities to the warranty including,

          17   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based
o
<J>       18   In part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          19   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

          20   were represented as environmentally friendly, having low emissions and good fuel economy.

          21   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

          22   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          23   including its fuel economy and performance. These representations, along with the advertised

          24   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

          25   purchase. Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

          26   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

          27   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

          28   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

                                                                40
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 52
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 44 of 177 Page ID #:58




              have purchased the Vehicle, or would have paid substantially less for it, had they known that it

          2   did not comply with emission standards; that its emission treatment system was designed to de­

          3   activate during real-world driving conditions; and that it could not achieve the advertised towing

          4   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

          5   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

          6   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

          7   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

          8   Dodge Jcep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

          9   3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

         10   before April 15, 2019.
cj
a-       11          51.     Plaintiff CHARLEY EVANS (for the purpose of this paragraph only, “Plaintiff’)

         12   is a resident of Madera County, California. On or about March 23, 2016, Plaintiff purchased a
u -3
Q 3
U X      13   2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7KMIGS153899 (for
     5
ca 2     14   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed
<I
O N
a i      15   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by

g|       16   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or
si       17   provide compensation if there was a failure in such utility or performance. The Vehicle was
o
u        18   purchased or used primarily for personal, family, or household purposes. The Vehicle was

         19   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed

         20   other serious defects and nonconformities to the warranty including, but not limited to, a

         21   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

         22   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

         23   Plaintiff recalls visiting the JEEP/RAM websjte, on which the Subject Vehicles were

         24   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

         25   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

         26   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including

         27   its fuel economy and performance. These representations, along with the advertised fuel

         28   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,

                                                               41
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 53
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 45 of 177 Page ID #:59




              Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

          2   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

          3   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

          4   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

          5   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

          6   comply with emission standards; that its emission treatment system was designed to de-activate

          7   during real-world driving conditions; and that it could not achieve the advertised towing power,

          8   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

          9   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         10   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
o        11   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-
< -
ifw I5   12   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
5  i
Ui X     13   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
S 5
05 S     14   before April 15, 2019.
J t
<&
         15          52.       Plaintiff CHRIS CAMPION (for the purpose of this paragraph only, “Plaintiff’)
j i
§ .i     16   is a resident of San Diego County, California. On or about November 20, 2017, Plaintiff

c/5 Z    17   purchased    a    2015   Dodge    Ram    1500   EcoDiesel,   Vehicle    Identification   Number
z. ~
o
o        18   1C6RR7LM1FS728001 (for the purpose of this paragraph only, the “Vehicle”), which was

         19   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

         20   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

         21   performance of the Vehicle or provide compensation if there was a failure in such utility or

         22   performance. The Vehicle was purchased or used primarily for personal, family, or household

         23   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformit[es to

         24   the warranty and developed other serious defects and nonconformities to the warranty including,

         25   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         26   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         27   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         28   were represented as environmentally friendly, having low emissions and good fuel economy.

                                                              42
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 54
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 46 of 177 Page ID #:60




              Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

          2   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          3   including its fuel economy and performance. These representations, along with the advertised

          4   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

          5   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          6   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          7   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          8   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

          9   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

         10   did not comply with emission standards; that its emission treatment system was designed to de­
cj
Ch       II   activate during real-world driving conditions; and that it could not achieve the advertised towing

CO S     12   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
M 3
Q ^
W i      13   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
S 5
w §
K 2      14   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
j t

wI       15   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-
Ji
w|       16   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         17   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
o
         18   before April 15, 2019.

         19          53.     Plaintiffs   CHRISTOPHER       ALLEN      POLHERT       and   CHRISTI     MARIE

         20   POLHERT (for the purpose of this paragraph only, “Plaintiffs”) are residents of Kern County,

         21   California. On or about November 7, 2015, Plaintiffs leased a 2015 Jeep Grand Cherokee

         22   EcoDiesel, Vehicle Identification Number 1C4RJFBM9FC944085 (for the purpose of this

         23   paragraph only, the “Vehicle”), which was manufactured and/or distributed by Defendant FCA.

         24   Express warranties accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook

         25   to preserve or maintain the utility or performance of the Vehicle or provide compensation if

         26   there was a failure in such utility or performance. The Vehicle was leased or used primarily for

         27   personal, family, or household purposes. The Vehicle was delivered to Plaintiffs with serious

         28   defects and nonconformities to the warranty and developed other serious defects and

                                                               43
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 55
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 47 of 177 Page ID #:61




                 nonconformities to the warranty including, but not limited to, a defective emission system.

             2   Plaintiffs decided to lease the Vehicle based in part on FCA’s representations that it was an

             3   “EcoDiesel" vehicle (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the

          4      JEEP/RAM website, on which the Subject Vehicles were represented as environmentally

             5   friendly, having low emissions and good fuel economy. Plaintiffs also recall seeing television

             6   commercials about the Subject Vehicles. When Plaintiffs went to lease the Vehicle, the sales

             7   associate touted the Vehicle’s EcoDiesel® attributes, including its fuel economy and

             8   performance. These representations, along with the advertised fuel economy, were among the

          9      primary reasons Plaintiffs chose the Vehicle. At the time of lease. Plaintiffs did not know that

         10      the Vehicle could perform as advertised only by emitting NOx at levels that are greater than
cj
CM       11      advertised and above legal limits. Nor were Plaintiffs aware that their Vehicle was equipped
1.5
(T} S    12      with undisclosed and unauthorized emission control devices designed to cheat emission tests
^ 3
Q ^
W I      13      and to deceive consumers and regulators. Plaintiffs would not have leased the Vehicle, or would
S 5
w^
«a      14       have paid substantially less for it, had they known that it did not comply with emission
Jt
< £^
o       15       standards; that its emission treatment system was designed to de-activate during real-world



I!
c/5 5
2 “
         16

         17
                 driving conditions; and that it could not achieve the advertised towing power, performance,

                 and/or fuel economy without cheating emission tests. Plaintiffs have suffered a concrete injury
O
O
         18      as a direct and proximate result of FCA’s misconduct, and would not have leased the Vehicle,

         19      or would have paid substantially less for it, had FCA not concealed the unauthorized emission

         20      control devices.   Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel

         21      Marketing, Sales Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by

         22      timely submitting their opt out form to the Class claims administrator on or before April 15,

         23      2019.

         24              54.   Plaintiff CHRISTOPHER DENOVELLIS (for the purpose of this paragraph

         25      only, “Plaintiff’) is a resident of Santa Clara County, California. On or about December 12,

         26      2013, Plaintiff purchased a 2014 Jeep Grand Cherokee EcoDiesel, Vehicle Identification

         27      Number IC4RJFCM7EC305605 (for the purpose of this paragraph only, the “Vehicle”), which

         28      was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

                                                                 44
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 56
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 48 of 177 Page ID #:62




             sale of the Vehicle lo Plaintiff by which FCA undertook to preserve dr maintain the utility or

         2   performance of the Vehicle or provide compensation if there was a failure in such utility or

         3   performance. The Vehicle was purchased or used primarily for personal, family, or household

         4   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         5   the warranty and developed other serious defects and nonconformities to the warranty including,

         6   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         7   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         8   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         9   were represented as environmentally friendly, having low emissions and good fuel economy.

        10   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o       II   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
< z
        12   including its fuel economy and performance. These representations, along with the advertised
Q ^
w
^ f>    13   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
w ?
p; 'a   14   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
-4 t
wI      15   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

CC 5    16   that his Vehicle was equipped with undisclosed and unauthorized emission control devices
W -I
to Z    17   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
■z. -
o
u       18   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

        19   did not comply with emission standards; that its emission treatment system was designed to de­

        20   activate during real-world driving conditions; and that it could not achieve the advertised towing

        21   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

        22   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        23   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        24   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

        25   Oofige-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

        26   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

        27   before April 15, 2019.

        28          55.     Plaintiff CHRISTOPHER EDGAR (for the purpose of this paragraph only.

                                                              45
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 57
       Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 49 of 177 Page ID #:63




                ‘■PlaintifT’) is a resident of Los Angeles County, California. On or about September I, 2014,

            2   Plaintiff purchased a 2014 Dodge Ram 1500 EcoDiesel, Vehicle IdenliHcaiion Number

            3   1C6RR7LM9ES440919 (for the purpose of this paragraph only, the “Vehicle”), which was

            4   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

            5   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

            6   performance of the Vehicle or provide compensation if there was a failure in such utility or

            7   performance. The Vehicle was purchased or used primarily for personal, family, or household

            8   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

            9   the warranty and developed other serious defects and nonconformities to the warranty including,

           10   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
cj
           11   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

           12   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles
a3
aW i^      13   were represented as environmentally friendly, having low emissions and good fuel economy.
S 5
W (5
0? ^       14   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
a i
w •.       15   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

           16   including its fuel economy and performance. These representations, along with the advertised
11
c/5 5      17   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
o
o          18   purchase. Plaintiff did not know that the Vehicle could perform as advertised only by emitting

           19   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

           20   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

           21   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

           22   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

           23   did not comply with emission standards; that its emission treatment system was designed to de­

           24   activate during real-world driving conditions; and that it could not achieve the advertised towing

           25   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered ■

           26   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

           27   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

           28   unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

                                                                 46
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 58
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 50 of 177 Page ID #:64




           1   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

           2   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           3   before April 15, 2019.

           4          56.     Plaintiffs CHRISTOPHER LEO FARRIS and MELISSA FARRIS (for the

           5   purpose of this paragraph only, “Plaintiffs”) are residents of Solano County, California. On or

           6   about July 30, 2014, Plaintiffs purchased a 2014 Dodge Ram 1500 EcoDiesel, Vehicle

           7   Identification Number 1C6RR7NM3ES428777 (for the purpose of this paragraph only, the

           8   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties

           9   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

          10   maintain the utility or performance of the Vehicle or provide compensation if there was a failure
u         11   in such utility or performance. The Vehicle was purchased or used primarily for personal,
CL

          12   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and
5i
W X
W    >
          13   nonconformities to the warranty and developed other serious defects and nonconformities to the
     ri
uI
«s        14   warranty including, but not limited to, a defective emission system. Plaintiffs decided to
j i
5^.
w ?2      ‘5   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle

§1        16   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

g.        17   which the Subject Vehicles were represented as environmentally friendly, having low emissions
o
u         18   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

          19   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s

          20   EcoDiesel® attributes, including its fuel economy and performance. These representations,

          21   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

          22   Vehicle. At the time of purchase. Plaintiffs did not know that the Vehicle could perform as

          23   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

          24   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

          25   emission control devices designed to cheat emission tests and to deceive consumers and

          26   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

          27   less for it, had they known that it did not comply with emission standards; that its emission

          28   treatment system was designed to de-activate during real-world driving conditions; and that it

                                                                47
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 59
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 51 of 177 Page ID #:65




              could not achieve the advertised towing power, performance, and/or fuel economy without

          2   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

          3   result of FCA'S misconduct, and would not have purchased the Vehicle, or would have paid

          4   substantially less for it, had FCA not concealed the unauthorized emission control devices.

          5   Plaintiffs opted out of the Class in In Re Chrysler-Doclge-Jeep EcoDiesel Marketing, Sales

          6   Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

          7   opt out form to the Class claims administrator on or before April 15, 2019.

          8          57.     Plaintiffs CHRISTOPHER STANLEY and CHERYL STANLEY (for the

          9   purpose of this paragraph only, “Plaintiffs”) are residents of San Diego County, California. On

         10   or about July 27, 2015, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle
cj
         11   Identification Number 1C6RR6LIVI9FS729939 (for the purpose of this paragraph only, the

(/) s    12   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties
w5
Q ^
W X      13   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or
S S
P? £     14   maintain the utility or performance of the Vehicle or provide compensation if there was a failure
 <g
oS       15   in such utility or performance. The Vehicle was purchased or used primarily for personal,
a 2
hJ I
ai       16   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and

         17   nonconformities to the warranty and developed other serious defects and nonconformities to the
o
u        18   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

         19   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle

        20    (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

        21    which the Subject Vehicles were represented as environmentally friendly, having low emissions

        22    and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

        23    Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s

        24    EcoDiesel® attributes, including its fuel economy and performance. These representations,

        25    along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

        26    Vehicle. At the time of purchase. Plaintiffs did not know that the Vehicle could perform as

        27    advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

        28    Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

                                                           48
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 60
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 52 of 177 Page ID #:66




              emission control devices designed to cheat emission tests and to deceive consumers and

          2   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

          3   less for it, had they known that it did not comply with emission standards; that its emission

          4   treatment system was designed to de-activate during real-world driving conditions; and that it

          5   could not achieve the advertised towing power, performance, and/or fuel economy without

          6   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

          7   result of FCA's misconduct, and would not have purchased the Vehicle, or would have paid

          8   substantially less for it, had FCA not concealed the unauthorized emission control devices.

          9   Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

         10   Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their
u        11   opt out form to the Class claims administrator on or before April 15, 2019.
£L
     =
to'S     12          58.       Plaintiff CLAUDIO VASQUEZ (for the purpose of this paragraph only,
W5
Q ^
W X      13   “Plaintiff’) is a resident of Kern County, California. On or about September 25, 2017, Plaintiff
^I
K    a   14   purchased    a    2015   Dodge   Ram    1500   EcoDiesel,    Vehicle   Identification   Number
J    t
<    S
o    %   15   1C6RR7GM6FS665133 (for the purpose of this paragraph only, the “Vehicle”), which was
w    %

w i      16   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
gi
CO       17   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
2; "
o
u        18   performance of the Vehicle or provide compensation if there was a failure in such utility or

         19   performance. The Vehicle was purchased or used primarily for personal, family, or household

         20   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         21   the warranty and developed other serious defects and nonconformities to the warranty including,

         22   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         23   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         24   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         25   were represented as environmentally friendly, having low emissions and good fuel economy.

         26   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         27   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         28   including its fuel economy and performance. These representations, along with the advertised

                                                          49
                                                COMPLAINT FOR DAMAGES                 Exhibit B, Page 61
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 53 of 177 Page ID #:67




              fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
         2    purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
         3    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
         4    that his Vehicle was equipped with undisclosed and unauthorized emission control devices
         5    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
         6    have purchased the Vehicle, or would have paid substantially less for it, had he known that it
         7    did not comply with emission standards; that its emission treatment system was designed to de­
         8    activate during real-world driving conditions; and that it could not achieve the advertised towing
         9    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
        10    a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have
o       i1    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

    I   12    unauthorized emission control devices. Plaintiff opted out of the Class in Jn Re Chrysler-
li      13    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
ii
        14    3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
        15    before April 15, 2019.
        16           59.     Plaintiffs CONRAD GONZALEZ and SHARA GONZALEZ (for the purpose of

«3      17    this paragraph only, “Plaintiffs”) are residents of Lassen County, California. On or about July
o
o       18    15, 2017, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification
        19    Number 1C6RR7PM5FS555366 (for the purpose of this paragraph only, the “Vehicle”), which
        20    was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the
        21    sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or
        22    performance of the Vehicle or provide compensation if there was a failure in such utility or
        23.   performance. The Vehicle was purchased or used primarily for personal, family, or household
        24    purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to
        25    the warranty and developed other serious defects and nonconformities to the warranty including,
        26    but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based
        27    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
        28    fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

                                                               50
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 62
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 54 of 177 Page ID #:68




              were represented as environmentally friendly, having low emissions and good fuel economy.

          2   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

          3   went to purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes,

          4   including its fuel economy and performance. These representations, along with the advertised

          5   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

          6   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

          7   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

          8   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

          9   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

         10   have purchased the Vehicle, or would have paid substantially less for it, had they known that it
cj
         i1   did not comply with emission standards; that its emission treatment system was designed to de­

M5       12   activate during real-world driving conditions; and that it could not achieve the advertised towing

         13   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have
si
cc a     14   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not
j i
<5
         15   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed
J 5
         16   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

-0       17   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
o
CJ            3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or
         18

         19   before April 15, 2019.

         20          60.     Plaintiff COREY RINGER (for the purpose of this paragraph only, “Plaintiff’)

         21   is a resident of Placer County, California. On or about June 24, 2016, Plaintiff purchased a 2016

         22   Dodge Ram 1500 EcoDiesel, Vehicle Identification Number IC6RR7NM4GS337505 (for the

         23   purpose of this paragraph only, the “Vehjc|e”), which was manufactured and/or distributed by

         24   Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by which

         25   FCA undertook to preserve or maintain the utility or performance of the Vehicle or provide

         26   compensation if there was a failure in such utility or performance. The Vehicle was purchased

         27   or used primarily for personal, family, or household purposes. The Vehicle was delivered to

         28   Plaintiff with serious defects and nonconformities to the warranty and developed other serious

                                                               51
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 63
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 55 of 177 Page ID #:69




             defects and nonconformities to the warranty including, but not limited to, a defective emission

         2   system. Plaintiff decided to purchase the Vehicle based in part on FCA's representations that it

         3   was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff recalls visiting

         4   the JEEP/RAM website, on which the Subject Vehicles were represented as environmentally

         5   friendly, having low emissions and good fuel economy. Plaintiff also recalls seeing television

         6   commercials about the Subject Vehicles. When Plaintiff went to purchase the Vehicle, the sales

         7   associate touted the Vehicle’s EcoDiesel® attributes, including its fuel economy and

         8   performance. These representations, along with the advertised fuel economy, were among the

         9   primary reasons Plaintiff chose the Vehicle. At the time of purchase, Plaintiff did not know that

        10   the Vehicle could perform as advertised only by emitting NOx at levels that are greater than
o       11   advertised and above legal limits. Nor was Plaintiff aware that his Vehicle was equipped with
(X
< =
        12   undisclosed and unauthorized emission control devices designed to cheat emission tests and to
«3
a f     13   deceive consumers and regulators. Plaintiff would not have purchased the Vehicle, or would

cc i    14   have paid substantially less for it, had he known that it did not comply with emission standards;
^i
<s
        15   that its emission treatment system was designed to de-activate during real-world driving
si
        16   conditions; and that it could not achieve the advertised towing power, performance, and/or fuel

        17   economy without cheating emission tests. Plaintiff has suffered a concrete injury as a direct and
o
o       18   proximate result of FCA’s misconduct, and would not have purchased the Vehicle, or would

        19   have paid substantially less for it, had FCA not concealed the unauthorized emission control

        20   devices. Plaintiff opted out of the Class in In Re Chrysler-Doclge-Jeep EcoDiesel Marketing,

        21   Sales Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely

        22   submitting his opt out form to the Class claims administrator on or before April 15, 2019.

        23          61.     Plaintiff CORNAN JOHN JOHNSON (for the purpose of this paragraph only,

        24   “Plaintiff’) is a resident of Riverside County, California. On or about December 31, 2016,

        25   Plaintiff purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number

        26   1C6RR6LMOGS20I370 (for the purpose of this paragraph only, the “Vehicle”), which was

        27   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

        28   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

                                                              52
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 64
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 56 of 177 Page ID #:70




               performance of the Vehicle or provide compensation if there was a failure in such utility or

           2   performance. The Vehicle was purchased or used primarily for personal, family, or household

           3   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

           4   the warranty and developed other serious defects and nonconformities to the warranty including,

           5   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

           6   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

           7   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

           8   were represented as environmentally friendly, having low emissions and good fuel economy.

           9   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

          10   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
C_J
CU        II   including its fuel economy and performance. These representations, along with the advertised

          12   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
5 2
UJ I      13   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
S 5
“ ai
W         14   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
<I
O y
W 2       15   that his Vehicle was equipped with undisclosed and unauthorized emission control devices
J 5
sl        16   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
gi        17   have purchased the Vehicle, or would have paid substantially less for it, had he known that it
2; "
o
CJi            did not comply with emission standards; that its emission treatment system was designed to de­
          18

          19   activate during real-world driving conditions; and that it could not achieve the advertised towing

         20    power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         21    a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         22    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

         23    unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-

         24    Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         25    3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         26    before April 15, 2019.

         27           62.     Plaintiff DALE GILLETTE (for the purpose of this paragraph only, “Plaintiff’)

         28    is a resident of San Bernardino County, California. On or about June 14, 2014, Plaintiff

                                                                53
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 65
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 57 of 177 Page ID #:71




             purchased a 2014 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number

         2   1C4RJEBM5EC396434 (for the purpose of this paragraph only, the “Vehicle’'), which was

         3   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

         4   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

         5   perfonnance of the Vehicle or provide compensation if there was a failure in such utility or

         6   performance. The Vehicle was purchased or used primarily for personal, family, or household

         7   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         8   the warranty and developed other serious defects and nonconformities to the warranty including,

         9   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

        10   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        11   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

    I   12   were represented as environmentally friendly, having low emissions and good fuel economy.
Q ^
        13   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
a $
K 2     14   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
J E
O N
a0      15   including its fuel economy and performance. These representations, along with the advertised


i|      16   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

h
o
        17   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
u       18   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

        19   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

        20   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

        21   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

        22   did not comply with emission standards; that its emission treatment system was designed to de­

        23   activate during real-world driving conditions; and that it could not achieve the advertised towing

        24   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

        25   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        26   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        27   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

        28   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

                                                          54
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 66
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 58 of 177 Page ID #:72




               3:I7-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           2   before April 15, 2019.

           3          63.     Plaintiff DANIEL FOSTER (for the purpose of this paragraph only, “Plaintiff)

           4   is a resident of Humboldt County, California. On or about September I, 2017, Plaintiff

           5   purchased a 2014 Jeep        Grand    Cherokee    EcoDiesel,   Vehicle    Identification Number

           6   IC4RJFBM3EC302380 (for the purpose of this paragraph only, the “Vehicle”), which was

           7   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

           8   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

           9   performance of the Vehicle or provide compensation if there was a failure in such utility or

          10   performance. The Vehicle was purchased or used primarily for personal, family, or household
cj>
Sh        II   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

          12   the warranty and developed other serious defects and nonconformities to the warranty including,
u 3<
sId X^    13   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
S 5
LH &
Ph ^      14   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

3^        15   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles
kJ    i

li        16   were represented as environmentally friendly, having low emissions and good fuel economy.

          17   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o
          18   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          19   including its fuel economy and performance. These representations, along with the advertised

          20   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

          21   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          22   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          23   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          24   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

          25   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

          26   did not comply with emission standards; that its emission treatment system was designed to de­

          27   activate during real-world driving conditions; and that it could not achieve the advertised towing

          28   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

                                                                55
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 67
       Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 59 of 177 Page ID #:73




                a concrete injury as a direct and proximate result of FCA's misconduct, and would not have

            2   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

            3   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

            4   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

            5   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

            6   before April 15, 2019.

            7          64.       Plaintiff DANIEL ROCKETT (for the purpose of this paragraph only,

            8   “Plaintiff’) is a resident of Sacramento County, California. On or about May 23, 2016, Plaintiff

            9   purchased    a    2016   Dodge   Ram    1500    EcoDiesel,   Vehicle    Identification   Number

           10   1C6RR7KM8GS134928 (for the purpose of this paragraph only, the “Vehicle”), which was
o          II   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
Pm
<=
           12   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
Q ^
wf
M   >
           13   performance of the Vehicle or provide compensation if there was a failure in such utility or
W $
           14   performance. The Vehicle was purchased or used primarily for personal, family, or household
-j i
i 2«
o
ai         15   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to
ca i       16   the warranty and developed other serious defects and nonconformities to the warranty including,

S5         17   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based
z-
o
o          18   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

           19   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

          20    were represented as environmentally friendly, having low emissions and good fuel economy.

          21    Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

          22    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

          23    including its fuel economy and performance. These representations, along with the advertised _

          24    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

          25    purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          26    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          27    that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          28    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

                                                             56
                                                   COMPLAINT FOR DAMAGES                Exhibit B, Page 68
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 60 of 177 Page ID #:74




              have purchased the Vehicle, or would have paid substantially less for it, had he known that it

          2   did not comply with emission standards; that its emission treatment system was designed to de­

          3   activate during real-world driving conditions; and that it could not achieve the advertised towing

          4   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

          5   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          6   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          7   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

          8   Dodge-^Jeep EcoDiesel Marketing, Salas Practices^ and Products Liability Litigation, Case No.

          9   3:l7-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         10   before April 15, 2019.
cj
CM       11          65.       Plaintiff DANIEL RODEBACK (for the purpose of this paragraph only,
CO 8     12   “Plaintiff’) is a resident of Los Angeles County, California. On or about June 6, 2014, Plaintiff
23
Q 3
Cd X     13   purchased    a    2014   Dodge   Ram     1500   EcoDiesel,    Vehicle    Identification   Number
S 5
Cd §
   a     14   IC6RR7FM4ES363663 (for the purpose of this paragraph only, the “Vehicle”), which was
O N      15   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

Cd .8    16   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or
S
C/J ”    17   performance of the Vehicle or provide compensation if there was a failure in such utility or
TC -
O
u        18   performance. The Vehicle was purchased or used primarily for personal, family, or household

         19   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconfonnities to

        20    the warranty and developed other serious defects and nonconformities to the warranty including,

        21    but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

        22    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        23    fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subje^ V^iejes

        24    were represented as environmentally friendly, having low emissions and good fuel economy.

        25    Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

        26    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

        27    including its fuel economy and performance. These representations, along with the advertised

        28    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

                                                               57
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 69
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 61 of 177 Page ID #:75




              purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          2   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          3   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          4   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

          5   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

          6   did not comply with emission standards; that its emission treatment system was designed to de­

          7   activate during real-world driving conditions; and that it could not achieve the advertised towing

          8   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

          9   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         10   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
o        II   unauthorized emission control devices.      Plaintiff opted out of the Class in In Re Chrysler-
Cu
1.^
ir\ S    12   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
W 3
Q t
W I      13   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or
Cs3 g
         14   before April 15, 2019.
J t
<&
o N
W 2
         15          66.     Plaintiff DANIEL SMITH (for the purpose of this paragraph only, “Plaintiff’) is
hJi
K I      16   a resident of Placer County, California. On or about March 24, 2016, Plaintiff purchased a 2016
Sl
         17   Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7KM3GSI15221 (for the
Z. “
o
o        18   purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed by

         19   Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by which

        20    FCA undertook to preserve or maintain the utility or performance of the Vehicle or provide

        21    compensation if there was a failure in such utility or performance. The Vehicle was purchased

        22    or used primarily for personal, family, or household purposes. The Vehicle was delivered to

        23    Plaintiff with serious defects and nonconformities to the warranty and developed other serious

        24    defects and nonconformities to the warranty including, but not limited to, a defective emission

        25    system. Plaintiff decided to purchase the Vehicle based in part on FCA’s representations that it

        26    was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff recalls visiting

        27    the JEEP/RAM website, on which the Subject Vehicles were represented as environmentally

        28    friendly, having low emissions and good fuel economy. Plaintiff also recalls seeing television

                                                            58
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 70
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 62 of 177 Page ID #:76




                commercials about the Subject Vehicles. When Plaintiff went to purchase the Vehicle, the sales

            2   associate touted the Vehicle's EcoDiesel® attributes, including its fuel economy and

            3   performance. These representations, along with the advertised fuel economy, were among the

            4   primary reasons Plaintiff chose the Vehicle. At the time of purchase, Plaintiff did not know that

            5   the Vehicle could perform as advertised only by emitting NOx at levels that are greater than

            6   advertised and above legal limits. Nor was Plaintiff aware that his Vehicle was equipped with

            7   undisclosed and unauthorized emission control devices designed to cheat emission tests and to

            8   deceive consumers and regulators. Plaintiff would not have purchased the Vehicle, or would

            9   have paid substantially less for it, had he known that it did not comply with emission standards;

           10   that its emission treatment system was designed to de-activate during real-world driving
o          11   conditions; and that it could not achieve the advertised towing power, performance, and/or fuel
     z
           12   economy without cheating emission tests. Plaintiff has suffered a concrete injury as a direct and
S-S
5 i
W X        13   proximate result of FCA’s misconduct, and would not have purchased the Vehicle, or would
w ?
Ph   s
     •.I
           14   have paid substantially less for it, had FCA not concealed the unauthorized emission control
-J s
<^
 O N       15   devices. Plaintiff opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing,
 U3 2
kJ i

si         16   Sales Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely
si
c/5 S      17   submitting his opt out form to the Class claims administrator on or before April 15, 2019.
7C. ~
O
           18          67.     Plaintiffs DARRELL JOHNSON and LISA JOHNSON (for the purpose of this

           19   paragraph only, “Plaintiffs”) are residents of Fresno County, California. On or about October 1,

           20   2015, Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number

           21   1C6RR7FMXFS662303 (for the purpose of this paragraph only, the “Vehicle”), which was

           22   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

           23   of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

           24   performance of the Vehicle or provide compensation if there was a failure in such utility or

           25   performance. The Vehicle was purchased or used primarily for personal, family, or household

           26   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

           27   the warranty and developed other serious defects and nonconformities to the warranty including,

           28   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

                                                             59
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 71
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 63 of 177 Page ID #:77




                 in part on FCA's representations that it was an “EcoDiesel" vehicle (i.e., reduced emissions and

            2    fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

            3    were represented as environmentally friendly, having low emissions and good fuel economy.

            4    Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

            5    went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

            6    including its fuel economy and performance. These representations, along with the advertised

            7    fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

            8    purchase. Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

            9    NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

           10    that their Vehicle was equipped with undisclosed and unauthorized emission control devices
o          11    designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not
p-
< z
in i       12    have purchased the Vehicle, or would have paid substantially less for it, had they known that it
S5
5te3 i^    13    did not comply with emission standards; that its emission treatment system was designed to de-.
 ^i
Mi         14    activate during real-world driving conditions; and that it could not achieve the advertised towing
J t
O N
W 5        15    power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

SI         16    suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

-2         17    have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed
o
o          18    the unauthorized emission control devices. Plaintiffs opted out of the Class in }n Re Chrysler-

          . 19   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

           20    3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

           21    before April 15, 2019.
           22            68.    Plaintiffs DAVE BALLARD and TERRY BALLARD (for the purpose of this

           23., ..paragraph on ly, “Plaintiffs”)- are residents of San.Lujs Obispo County, California. On_or abo_ul

           24    April 12, 2018, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification

           25    Number IC6RR7TM8GS118467 (for the purpose of this paragraph only, the “Vehicle”), which

           26    was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

           27    sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

           28    performance of the Vehicle or provide compensation if there was a failure in such utility or

                                                                   60
                                                     COMPLAINT FOR DAMAGES                 Exhibit B, Page 72
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 64 of 177 Page ID #:78




              performance. The Vehicle was purchased or used primarily for personal, family, or household

          2   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

          3   the warranty and developed other serious defects and nonconformities to the warranty including,

          4   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

          5   in part on FCA's representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

          6   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

          7   were represented as environmentally friendly, having low emissions and good fuel economy.

          8   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

          9   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         10   including its fuel economy and performance. These representations, along with the advertised
u        It   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of
£L
< =
col’     12   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting
S3
Q 3
         13   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

         14   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

         15   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not
31
aI       16   have purchased the Vehicle, or would have paid substantially less for it, had they known that it

         17   did not comply with emission standards; that its emission treatment system was designed to de­
o
o        18   activate during real-world driving conditions; and that it could not achieve the advertised towing

         19   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

        20    suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

        21    have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

        22    the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

        23    Dod^e-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

        24    3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

        25    before April 15, 2019.

        26           69.     Plaintiffs DAVID C. ANDERSON and ELEANOR M. ANDERSON (for the

        27    purpose of this paragraph only, “Plaintiffs”) are residents of Butte County, California. On or

        28    about April 23, 2016, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle

                                                               61
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 73
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 65 of 177 Page ID #:79




             Identidcalion Number IC6RR7VM2GS267003 (for the purpose of this paragraph only, the

         2   ■‘Vehicle"), which was manufactured and/or distributed by Defendant FCA. Express warranties

         3   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

         4   maintain the utility or performance of the Vehicle or provide compensation if there was a failure

         5   in such utility or performance. The Vehicle was purchased or used primarily for personal,

         6   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and

         7   nonconformities to the warranty and developed other serious defects and nonconformities to the

         8   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

         9   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDieseP’ vehicle

        10   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

        ])   which the Subject Vehicles were represented as environmentally friendly, having low emissions

    3
        12   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject
Q ^
SI      13   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s
SI      14   EcoDiesel® attributes, including its fuel economy and performance. These representations,

        15   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the
Si
cs 5    16   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as
wI
si      17   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.
O
u       18   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

        19   emission control devices designed to cheat emission tests and to deceive consumers and

        20   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

        21   less for it, had they known that it did not comply with emission standards; that its emission

        22   treatment system was designed to de-activate during real-world driving conditions; and that it

        23   could not achieve the advertised towing power, performance, and/or fuel economy without

        24   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

        25   result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

        26   substantially less for it, had FCA not concealed the unauthorized emission control devices.

        27   Plaintiffs opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing, Sales

        28   Practices, and Products Liability Litigation, Case No. 3:l7-md-2777, by timely submitting their

                                                              62
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 74
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 66 of 177 Page ID #:80




             opt out form to the Class claims administrator on or before April 15, 2019.

         2          70.     Plaintiff DAVID HALL (for the purpose of this paragraph only, “PlaintifP') is a

         3   resident of Sacramento County, California. On or about January I, 2016, Plaintiff purchased a

         4   2016 Dodge Ram 1500 EcoDiesel, Vehicle identification Number IC6RR7LMIGS337593 (for

         5   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

         6   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by

         7   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or

         8   provide compensation if there was a failure in such utility or performance. The Vehicle was

         9   purchased or used primarily for personal, family, or household purposes. The Vehicle was

        10   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed
o       11   other serious defects and nonconformities to the warranty including, but not limited to, a
< z
        12   defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s
u3
g|      13   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).
wi
ir a    14   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were
J t
ciJ 5   15   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff
  i
g .1    16   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

.2      17   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including
o
o       18   its fuel economy and performance. These representations, along with the advertised fuel

        19   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase.

        20   Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

        21   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

        22   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

        23   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

        24   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

        25   comply with emission standards; that its emission treatment system was designed to de-activate

        26   during real-world driving conditions; and that it could not achieve the advertised towing power,

        27   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

        28   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

                                                              63
                                                COMPLAINT FOR DAMAGES                 Exhibit B, Page 75
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 67 of 177 Page ID #:81




               purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

           2   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

           3   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

           4   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

           5   before April 15, 2019.

           6          71.     Plaintiffs DAVID J. COLELLO JR. and ROSANNE COLELLO (for the purpose

           7   of this paragraph only, “Plaintiffs”) are residents of Los Angeles County, California. On or

           8   about October 26, 2016, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle

           9   Identification Number 1C6RR7LM9GS214723 (for the purpose of this paragraph only, the

          10   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties
cj
Ch             accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or

Y\ <      12   maintain the utility or performance of the Vehicle or provide compensation if there was a failure

I3 II     13   in such utility or performance. The Vehicle was purchased or used primarily for personal,

          14   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and
O y            nonconformities to the warranty and developed other serious defects and nonconformities to the
      ^   15
31
          16   warranty including, but not limited to, a defective emission system. Plaintiffs decided to

c/)       17   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
2; "
o
C_)
          18   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on

          19   which the Subject Vehicles were represented as environmentally friendly, having low emissions

          20   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

          21   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle’s

          22   EcoDiesel® attributes, including its fuel economy and performance. These representations,

          23   along with the advertised fuel economy, were among the primary reasons Plaintiffs c_hose_the

          24   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as

          25   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

          26   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

          27   emission control devices designed to cheat emission tests and to deceive consumers and

          28   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

                                                                64
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 76
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 68 of 177 Page ID #:82




               less for ii, had they known that it did not comply with emission standards; that its emission

           2   treatment system was designed to de-activate during real-world driving conditions; and that it

           3   could not achieve the advertised towing power, performance, and/or fuel economy without

           4   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

           5   result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

           6   substantially less for it, had FCA not concealed the unauthorized emission control devices.

           7   Plaintiffs opted out of the Class in In Re Chrysler-Docige-Jeep EcoDiesel Marketing, Sales

           8   Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

           9   opt out form to the Class claims administrator on or before April 15, 2019.

          10          72.     Plaintiff DAVID MILLER (for the purpose of this paragraph only, “Plaintiff’) is
o         11   a resident of Butte County, California. On or about May 13, 2015, Plaintiff purchased a 2015

Y\ I      12   Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7JM4FS670209 (for the
o ^
ii: I     13   purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed by
S
at
          14   Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by which
-J t
51        15   FCA undertook to preserve or maintain the utility or performance of the Vehicle or provide

          16   compensation if there was a failure in such utility or performance. The Vehicle was purchased

          17   or used primarily for personal, family, or household purposes. The Vehicle was delivered to
7C “
.q
c_>       18   Plaintiff with serious defects and nonconformities to the warranty and developed other serious

          19   defects and nonconformities to the warranty including, but not limited to, a defective emission

          20   system. Plaintiff decided to purchase the Vehicle based in part on FCA’s representations that it

          21   was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff recalls visiting

          22   the JEEP/RAM website, on which the Subject Vehicles were represented as environmentally

          23   friendly, having low emissions and good fuel economy. Plaintiff also recalls seeing television

          24   commercials about the Subject Vehicles. When Plaintiff went to purchase the Vehicle, the sales

          25   associate touted the Vehicle’s EcoDiesel® attributes, including its fuel economy and

          26   performance. These representations, along with the advertised fuel economy, were among the

          27   primary reasons Plaintiff chose the Vehicle. At the time of purchase. Plaintiff did not know that

          28   the Vehicle could perform as advertised only by emitting NOx at levels that are greater than

                                                                 65
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 77
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 69 of 177 Page ID #:83




             advertised and above legal limits. Nor was Plaintiff aware that his Vehicle was equipped with

         2   undisclosed and unauthorized emission control devices designed to cheat emission tests and to

         3   deceive consumers and regulators. Plaintiff would not have purchased the Vehicle, or would

         4   have paid substantially less for it, had he known that it did not comply with emission standards;

         5   that its emission treatment system was designed to de-activate during real-world driving

         6   conditions; and that it could not achieve the advertised lowing power, performance, and/or fuel

         7   economy without cheating emission tests. Plaintiff has suffered a concrete injury as a direct and

         8   proximate result of FCA’s misconduct, and would not have purchased the Vehicle, or would

         9   have paid substantially less for it, had FCA not concealed the unauthorized emission control

        10   devices. Plaintiff opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing,
o       11   Sales Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely
Cl
< z
c/i-S   12   submitting his opt out form to the Class claims administrator on or before April 15, 2019.
a5
O 3
        13          73.       Plaintiff DAVID STURROCK (for the purpose of this paragraph only,
Si
a?
CS a    14   “Plaintiff’) is a resident of Los Angeles County, California. On or about May 7, 2017, Plaintiff
a i
< A
O 5     15   purchased    a    2015   Dodge   Ram     1500   EcoDiesel,    Vehicle   Identification   Number
ai
j i
a: t
a .?    16   1C6RR6GM7FS621605 (for the purpose of this paragraph only, the “Vehicle”), which was

        17   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale
o
u       18   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

        19   performance of the Vehicle or provide compensation if there was a failure in such utility or

        20   performance. The Vehicle was purchased or used primarily for personal, family, or household

        21   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

        22   the warranty and developed other serious defects and nonconformities to the warranty including,

        23   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

        24   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        25   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

        26   were represented as environmentally friendly, having low emissions and good fuel economy.

        27   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

        28   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

                                                          66
                                                COMPLAINT FOR DAMAGES                 Exhibit B, Page 78
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 70 of 177 Page ID #:84




               including its fuel economy and performance. These representations, along with the advertised

          2    fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

          3    purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

          4    NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

          5    that his Vehicle was equipped with undisclosed and unauthorized emission control devices

          6    designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not

          7    have purchased the Vehicle, or would have paid substantially less for it, had he known that it

          8    did not comply with emission standards; that its emission treatment system was designed to de­

          9    activate during real-world driving conditions; and that it could not achieve the advertised towing

        . 10   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         11    a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

in »     12    purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the
« 5
5^             unauthorized emission control devices.     Plaintiff opted out of the Class in In Re Chrysler-
         13
ii
Mi       H     Dodgc Jeep EeoDiesel Marketing, Sales Praeiiees, and Products Liability Litigation, Case No.
O N
w ■:
         15    3:l7-md-2777, by timely submitting his opt out form to the Class claims administrator on or


i
in 5     17
               before April 15, 2019.

                      74.       Plaintiff DAVID SZYMUSIAK (for the purpose of this paragraph only,
o
CJ       18    “Plaintiff’) is a resident of Riverside County, California. On or about April 22, 2015, Plaintiff

         19    purchased    a    2015   Dodge   Ram     1500   EeoDiesel,    Vehicle    Identification   Number

         20    1C6RR7NM8FS586033 (for the purpose of this paragraph only, the “Vehicle”), which was

        21     manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

        22     of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

        23     performance of the Vehicle or provide compensation if there was a failure in.such_utility or^_

        24     performance. The Vehicle was purchased or used primarily for personal, family, or household

        25     purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconfonnities to

        26     the warranty and developed other serious defects and nonconformities to the warranty including,

        27     but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

        28     in part on FCA’s representations that it was an “EeoDiesel” vehicle (i.e., reduced emissions and

                                                                67
                                                  COMPLAINT FOR DAMAGES                  Exhibit B, Page 79
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 71 of 177 Page ID #:85




             fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         2   were represented as environmentally friendly, having low emissions and good fuel economy.

         3   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

         4   went to purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes,

         5   including its fuel economy and performance. These representations, along with the advertised

         6   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of

         7   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

         8   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware

         9   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

        10   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
o       11   have purchased the Vehicle, or would have paid substantially less for it, had he known that it
<=
w5      12   did not comply with emission standards; that its emission treatment system was designed to de­
aw f3   13   activate during real-world driving conditions; and that it could not achieve the advertised towing
S 5
w
CC i    14   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered
51
W 2     15   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        16   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

-3      17   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-
o
u       18   Dodgc-Jcep EcoDiesel Marketing, Sales Practices, and Products Liability' Litigation, Case No.

        19   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

        20   before April 15, 2019.

        21          75.     Plaintiff DAVID W. THOMAS (for the purpose of this paragraph only,

        22   “Plaintiff’) is a resident of Los Angeles County, California. On or about March 30, 2014,

        23   Plaintiff purchased a 2014 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number

        24   1C4RJFCM6EC305966 (for the purpose of this paragraph only, the “Vehicle”), which was

        25   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

        26   of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

        27   performance of the Vehicle or provide compensation if there was a failure in such utility or

        28   performance. The Vehicle was purchased or used primarily for personal, family, or household

                                                              68
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 80
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 72 of 177 Page ID #:86




                purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

            2   the warranty and developed other serious defects and nonconfonnities to the warranty including,

            3   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

            4   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

            5   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

            6   were represented as environmentally friendly, having low emissions and good fuel economy.

            7   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff

            8   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

            9   including its fuel economy and performance. These representations, along with the advertised

           10   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
o          II   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting

           12   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
Q ^
W X
      >•   13   that his Vehicle was equipped with undisclosed and unauthorized emission control devices
W $
Ph s-      14   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
-J i

O          15   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

gi         16   did not comply with emission standards; that its emission treatment system was designed to de­

C/) a      17   activate during real-world driving conditions; and that it could not achieve the advertised towing
Z “
o
C_5
           18   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

           19   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

           20   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

           21   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

           22   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

           23   3:17-md-2777, by timely submitting his opt out form to the Class claims adrriinistrator on or

           24   before April 15, 2019.

           25          76.     Plaintiff DELIA TORRES (for the purpose of this paragraph only, “Plaintiff’) is

           26   a resident of Los Angeles County, California. On or about May 24, 2015, Plaintiff purchased a

           27   2015 Jeep Grand Cherokee EcoDiesel, Vehicle Identification Number IC4RJFBM3FC845987

           28   (for the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or

                                                                 69
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 81
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 73 of 177 Page ID #:87




          i   distributed by Defendant FCA. Express warranties accompanied the sale of the Vehicle to

          2   Plaintiff by which l-CA undertook to preserve or maintain the utility or performance of the

          3   Vehicle or provide compensation if there was a failure in such utility or performance. The

          4   Vehicle was purchased or used primarily for personal, family, or household purposes. The

          5   Vehicle was delivered to Plaintiff with serious defects and nonconformities to the warranty and

          6   developed other serious defects and nonconformities to the warranty Including, but not limited

          7   to, a defective emission system. Plaintiff decided to purchase the Vehicle based in part on FCA’s

          8   representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

          9   Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

         10   represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff
u        11   also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to
Ph

t/5 s    12   purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including
w5
Q ^
W i      13   its fuel economy and performance. These representations, along with the advertised fuel
S 5
Ki       14   economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase,
J i
<S
O N           Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at
W ^2     15
J4
         16   levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that her

^3       17   Vehicle was equipped with undisclosed and unauthorized emission control devices designed to
o
u        18   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

         19   purchased the Vehicle, or would have paid substantially less for It, had she known that it did

         20   not comply with emission standards; that its emission treatment system was designed to de­

         21   activate during real-world driving conditions; and that it could not achieve the advertised towing

         22   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

         23   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

         24   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

         25   unauthorized, emission control devices.    Plaintiff opted out of the Class in In Re Chrysler-

         26   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

         27   3:17-md-2777, by timely submitting her opt out form to the Class claims administrator on or

         28   before April 15, 2019.

                                                               70
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 82
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 74 of 177 Page ID #:88




                     77.     Plaintiffs DENNIS LONG and CINDY LONG (for the purpose of this paragraph

          2   only, “Plaintiffs”) are residents of Orange County, California. On or about September 6, 2015,

          3   Plaintiffs purchased a 2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number

          4   IC6RR7LM0FS7169I0 (for the purpose of this paragraph only, the “Vehicle”), which was

          5   manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

          6   of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

          7   performance of the Vehicle or provide compensation if there was a failure in such utility or

          8   performance. The Vehicle was purchased or used primarily for personal, family, or household

          9   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

         10   the warranty and developed other serious defects and nonconformities to the warranty including,
o        11   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based
IX
c=
c/5-^    12   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and
S3
Q ^
W X
^ >      13   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

Oh a     14   were represented as environmentally friendly, having low emissions and good fuel economy.
j t
<
O N      15   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs
J i
si
«!- '•
S Cl
         16   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
3  =
CO 5?    17   including its fuel economy and performance. These representations, along with the advertised
■z. -
o
u        18   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

         19   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

         20   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

         21   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

         22   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

         23   have purchased the Vehicle, or would have paid substantially less for it, had they known that it

         24   did not comply with emission standards; that its emission treatment system was designed to de­

         25   activate during real-world driving conditions; and that it could not achieve the advertised towing

         26   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have

         27   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

         28   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

                                                               71
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 83
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 75 of 177 Page ID #:89




            I   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

            2   Doclge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

            3   3:17-md-2777. by timely submitting their opt out form to the Class claims administrator on or

            4   before April 15, 2019.
            5          78.     Plaintiffs DENNIS WHITE and REBEKAH DAWN LAWRENCE (for the
            6   purpose of this paragraph only, “Plaintiffs”) are residents of Los Angeles County, California.

            7   On or about October 15,2018, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle

            8   Identification Number 1C6RR6LMXGSI93696 (for the purpose of this paragraph only, the

            9   “Vehicle”), which was manufactured and/or distributed by Defendant FCA. Express warranties

           10   accompanied the sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or
o          11   maintain the utility or performance of the Vehicle or provide compensation if there was a failure
<=
c/5's‘     12   in such utility or performance. The Vehicle was purchased or used primarily for personal,
S3
W f        13   family, or household purposes. The Vehicle was delivered to Plaintiffs with serious defects and
s 5
     ..t
           14   nonconformities to the warranty and developed other serious defects and nonconformities to the

3*l
W 2        15   warranty including, but not limited to, a defective emission system. Plaintiffs decided to
h4i
           16   purchase the Vehicle based in part on FCA’s representations that it was an “EcoDiesel” vehicle
si
     ■
           17   (i.e., reduced emissions and fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on
O
O          18   which the Subject Vehicles were represented as environmentally friendly, having low emissions

           19   and good fuel economy. Plaintiffs also recall seeing television commercials about the Subject

           20   Vehicles. When Plaintiffs went to purchase the Vehicle, the sales associate touted the Vehicle's

           21   EcoDiesel® attributes, including its fuel economy and performance. These representations,

           22   along with the advertised fuel economy, were among the primary reasons Plaintiffs chose the

           23   Vehicle. At the time of purchase, Plaintiffs did not know that the Vehicle could perform as

           24   advertised only by emitting NOx at levels that are greater than advertised and above legal limits.

           25   Nor were Plaintiffs aware that their Vehicle was equipped with undisclosed and unauthorized

           26   emission control devices designed to cheat emission tests and to deceive consumers and

           27   regulators. Plaintiffs would not have purchased the Vehicle, or would have paid substantially

           28   less for it, had they known that it did not comply with emission standards; that its emission

                                                                 72
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 84
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 76 of 177 Page ID #:90




               Irealmenl system was designed to de-activate during real-world driving conditions; and that it

           2   could not achieve the advertised towing power, performance, and/or fuel economy without

           3   cheating emission tests. Plaintiffs have suffered a concrete injury as a direct and proximate

           4   result of FCA’s misconduct, and would not have purchased the Vehicle, or would have paid

           5   substantially less for it, had FCA not concealed the unauthorized emission control devices.

           6   Plaintiffs opted out of the Class in In Re Chrysler-Docige-Jeep EcoDiesel Marketing, Sales

           7   Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely submitting their

           8   opt out form to the Class claims administrator on or before April 15, 2019.

           9          79.     Plaintiff DON DIGBY (for the purpose of this paragraph only, “Plaintiff’) is a

          10   resident of Riverside County, California. On or about October 12, 2015, Plaintiff purchased a
o         11   2015 Dodge Ram 1500 EcoDiesel, Vehicle Identification Number lC6RR7ViVI4FS7607I4 (for
flu


si
Q ^
          12   the purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed

M I       13   by Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by
s 5
w ?
          14   which FCA undertook to preserve or maintain the utility or performance of the Vehicle or
-4 i
<5
O H
W -5      15   provide compensation if there was a failure in such utility or performance. The Vehicle was
j i
          16   purchased or used primarily for personal, family, or household purposes. The Vehicle was

          17   delivered to Plaintiff with serious defects and nonconformities to the warranty and developed
o
o         18   other serious defects and nonconformities to the warranty including, but not limited to, a

          19   defective emission system. Plaintiff decided to purchase the Vehicle based in pan on FCA’s

         20    representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient).

         21    Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles were

         22    represented as environmentally friendly, having low emissions and good fuel economy. Plaintiff

         23    also recalls seeing television commercials about the Subject Vehicles. When Plaintiff went to

         24    purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes, including

         25    its fuel economy and performance. These representations, along with the advertised fuel

         26    economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of purchase.

         27    Plaintiff did not know that the Vehicle could perform as advertised only by emitting NOx at

         28    levels that are greater than advertised and above legal limits. Nor was Plaintiff aware that his

                                                               73
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 85
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 77 of 177 Page ID #:91




              Vehicle was equipped with undisclosed and unauthorized emission control devices designed to

          2   cheat emission tests and to deceive consumers and regulators. Plaintiff would not have

          3   purchased the Vehicle, or would have paid substantially less for it, had he known that it did not

          4   comply with emission standards; that its emission treatment system was designed to de-activate

          5   during real-world driving conditions; and that it could not achieve the advertised towing power,

          6   performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered a

          7   concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

          8   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

          9   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

         10   Dodge-.Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
cj
P-       II   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

         12   before April 15, 2019.
sQ
a X      13          80.     Plaintiff DON NELSON (for the purpose of this paragraph only, “Plaintiff’) is a
“ §
         14   resident of Plumas County, California. On or about July 11, 2015, Plaintiff purchased a 2015
a    t
<    6
o    a   15   Dodge Ram 1500 EcoDiesel, Vehicle Identification Number 1C6RR7TM4FS572097 (for the
W    i

"'£ II   16   purpose of this paragraph only, the “Vehicle”), which was manufactured and/or distributed by

         17   Defendant FCA. Express warranties accompanied the sale of the Vehicle to Plaintiff by which
o
CJ            FCA undertook to preserve or maintain the utility or performance of the Vehicle or provide
         18

         19   compensation if there was a failure in such utility or performance. The Vehicle was purchased

         20   or used primarily for personal, family, or household purposes. The Vehicle was delivered to

         21   Plaintiff with serious defects and nonconformities to the warranty and developed other serious

         22   defects and nonconformities to the warranty including, but not limited to, a defective emission

         23   system. Plaintiff decided to purchase the Vehicle based in part on FCA’s representations that it

         24   was an “EcoDiesel” vehicle (i.e., reduced emissions and fuel efficient). Plaintiff recalls visiting

         25   the JEEP/RAM website, on which the Subject Vehicles were represented as environmentally

         26   friendly, having low emissions and good fuel economy. Plaintiff also recalls seeing television

         27   commercials about the Subject Vehicles. When Plaintiff went to purchase the Vehicle, the sales

         28   associate touted the Vehicle’s EcoDiesel® attributes, including its fuel economy and

                                                               74
                                                 COMPLAINT FOR DAMAGES                  Exhibit B, Page 86
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 78 of 177 Page ID #:92




              performance. These representations, along with the advertised fuel economy, were among the

          2   primary reasons Plaintiff chose the Vehicle. At the time of purchase, Plaintiff did not know that

          3   the Vehicle could perform as advertised only by emitting NOx at levels that are greater than

          4   advertised and above legal limits. Nor was Plaintiff aware that his Vehicle was equipped with

          5   undisclosed and unauthorized emission control devices designed to cheat emission tests and to

          6   deceive consumers and regulators. Plaintiff would not have purchased the Vehicle, or would

          7   have paid substantially less for it, had he known that it did not comply with emission standards;

          8   that its emission treatment system was designed to de-activate during real-world driving

          9   conditions; and that it could not achieve the advertised towing power, performance, and/or fuel

         10   economy without cheating emission tests. Plaintiff has suffered a concrete injury as a direct and
o        11   proximate result of FCA’s misconduct, and would not have purchased the Vehicle, or would
Ch

^'1
C/J »    12   have paid substantially less for it, had FCA not concealed the unauthorized emission control
M 5
5 ^
         13   devices. Plaintiff opted out of the Class in In Re Chrysler-Dodge-Jeep EcoDiesel Marketing,
Si
W s      14   Sales Practices, and Products Liability Litigation, Case No. 3:17-md-2777, by timely

         15   submitting his opt out form to the Class claims administrator on or before April 15, 2019.
31
a: E
a  I     16          81.     Plaintiffs DOUGLAS CRYER and JERI CRYER (for the purpose of this
I?       17   paragraph only, “Plaintiffs”) are residents of San Luis Obispo County, California. On or about
O
o        18   April 17, 2016, Plaintiffs purchased a 2016 Dodge Ram 1500 EcoDiesel, Vehicle Identification

         19   Number 1C6RR7TM5GS175967 (for the purpose of this paragraph only, the “Vehicle”), which

         20   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

         21   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

         22   performance of the Vehicle or provide compensation if there was a failure in such utility or

        23    performance. The Vehicle was purchased or used primarily for personal, family, or household

        24    purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

         25   the warranty and developed other serious defects and nonconformities to the warranty including,

        26    but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

        27    in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

        28    fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

                                                              75
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 87
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 79 of 177 Page ID #:93




              were represented as environmentally friendly, having low emissions and good fuel economy.

          2   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

          3   went to purchase the Vehicle, the sales associate touted the Vehicle's EcoDiesel® attributes,

          4   including its fuel economy and performance. These representations, along with the advertised

          5   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

          6   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting

          7   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware

          8   that their Vehicle was equipped with undisclosed and unauthorized emission control devices

          9   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not

         10   have purchased the Vehicle, or would have paid substantially less for it, had they known that it
u        11   did not comply with emission standards; that its emission treatment system was designed to de­
0,

         12   activate during real-world driving conditions; and that it could not achieve the advertised towing
a%       13   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have
res      14   suffered a concrete injury as a direct and proximate result of FCA's misconduct, and would not
j i
<E
W 7.     15   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

5I       16   the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

yj a     17   Dodge-Jccp EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.
2; ■
o
u        18   3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

         19   before April 15, 2019.

         20          82.     Plaintiffs DOUGLAS KEELING and LISA KEELING (for the purpose of this

         21   paragraph only, “Plaintiffs”) are residents of Sutter County, California. On or about August 23,

         22   2014, Plaintiffs purchased a 2014 Jeep Grand Cherokee EcoDiesel, Vehicle Identification

         23   Number 1C4RJFBM8EC536241 (for the purpose of this paragraph only, the “Vehicle”), which

         24   was manufactured and/or distributed by Defendant FCA. Express warranties accompanied the

         25   sale of the Vehicle to Plaintiffs by which FCA undertook to preserve or maintain the utility or

         26   performance of the Vehicle or provide compensation if there was a failure in such utility or

         27   performance. The Vehicle was purchased or used primarily for personal, family, or household

         28   purposes. The Vehicle was delivered to Plaintiffs with serious defects and nonconformities to

                                                               76
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 88
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 80 of 177 Page ID #:94




             the warranty and developed other serious defects and nonconformities to the warranty including,

         2   but not limited to, a defective emission system. Plaintiffs decided to purchase the Vehicle based

         3   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         4   fuel efficient). Plaintiffs recall visiting the JEEP/RAM website, on which the Subject Vehicles

         5   were represented as environmentally friendly, having low emissions and good fuel economy.

         6   Plaintiffs also recall seeing television commercials about the Subject Vehicles. When Plaintiffs

         7   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,

         8   including its fuel economy and performance. These representations, along with the advertised

         9   fuel economy, were among the primary reasons Plaintiffs chose the Vehicle. At the time of

        10   purchase, Plaintiffs did not know that the Vehicle could perform as advertised only by emitting
u       11   NOx at levels that are greater than advertised and above legal limits. Nor were Plaintiffs aware
< z

"A
— ^5
        12   that their Vehicle was equipped with undisclosed and unauthorized emission control devices
gI      13   designed to cheat emission tests and to deceive consumers and regulators. Plaintiffs would not
Ki      14   have purchased the Vehicle, or would have paid substantially less for it, had they known that it
<&
o%      15   did not comply with emission standards; that its emission treatment system was designed to de­

        16   activate during real-world driving conditions; and that it could not achieve the advertised towing
35
        17   power, performance, and/or fuel economy without cheating emission tests. Plaintiffs have
o
o       18   suffered a concrete injury as a direct and proximate result of FCA’s misconduct, and would not

        19   have purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed

       20    the unauthorized emission control devices. Plaintiffs opted out of the Class in In Re Chrysler-

       21    DocJge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

       22    3:17-md-2777, by timely submitting their opt out form to the Class claims administrator on or

       23    before April 15, 2019.

       24           83.       Plaintiff DOUGLAS SEYMOUR (for the purpose of this paragraph only,

       25    “Plaintiff’) is a resident of Bexar County, Texas. On or about October 5, 2017, Plaintiff

       26    purchased    a    2016   Dodge   Ram     1500   EcoDiesel,    Vehicle    Identification   Number

       27    IC6RR7KM5GS223517 (for the purpose of this paragraph only, the “Vehicle”), which was

       28    manufactured and/or distributed by Defendant FCA. Express warranties accompanied the sale

                                                              77
                                                COMPLAINT FOR DAMAGES                  Exhibit B, Page 89
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 81 of 177 Page ID #:95




             of the Vehicle to Plaintiff by which FCA undertook to preserve or maintain the utility or

         2   performance of the Vehicle or provide compensation if there was a failure in such utility or

         3   performance. The Vehicle was purchased or used primarily for personal, family, or household

         4   purposes. The Vehicle was delivered to Plaintiff with serious defects and nonconformities to

         5   the warranty and developed other serious defects and nonconformities to the warranty including,

         6   but not limited to, a defective emission system. Plaintiff decided to purchase the Vehicle based

         7   in part on FCA’s representations that it was an “EcoDiesel” vehicle (i.e., reduced emissions and

         8   fuel efficient). Plaintiff recalls visiting the JEEP/RAM website, on which the Subject Vehicles

         9   were represented as environmentally friendly, having low emissions and good fuel economy.

        10   Plaintiff also recalls seeing television commercials about the Subject Vehicles. When Plaintiff
o       11   went to purchase the Vehicle, the sales associate touted the Vehicle’s EcoDiesel® attributes,
< =
lA S    12   including its fuel economy and performance. These representations, along with the advertised
s <5
Q 3
W
^ i>    13   fuel economy, were among the primary reasons Plaintiff chose the Vehicle. At the time of
w$
Ki      14   purchase, Plaintiff did not know that the Vehicle could perform as advertised only by emitting
31      15   NOx at levels that are greater than advertised and above legal limits. Nor was Plaintiff aware
31
ii      16   that his Vehicle was equipped with undisclosed and unauthorized emission control devices

-2      17   designed to cheat emission tests and to deceive consumers and regulators. Plaintiff would not
o
o       18   have purchased the Vehicle, or would have paid substantially less for it, had he known that it

        19   did not comply with emission standards; that its emission treatment system was designed to de­

        20   activate during real-world driving conditions; and that it could not achieve the advertised towing

        21   power, performance, and/or fuel economy without cheating emission tests. Plaintiff has suffered

        22   a concrete injury as a direct and proximate result of FCA’s misconduct, and would not have

        23   purchased the Vehicle, or would have paid substantially less for it, had FCA not concealed the

        24   unauthorized emission control devices. Plaintiff opted out of the Class in In Re Chrysler-

        25   Dodge-Jeep EcoDiesel Marketing, Sales Practices, and Products Liability Litigation, Case No.

        26   3:17-md-2777, by timely submitting his opt out form to the Class claims administrator on or

        27   before April 15, 2019.

        28          84.

                                                              78
                                                COMPLAtNT FOR DAMAGES                  Exhibit B, Page 90
        Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 82 of 177 Page ID #:96




             1           85.     Each and every plaintiff to this Complaint is collectively referred to as the

             2   “Plaintiffs” and individually as a “Plaintiff.”

             3           86.    Plaintiffs and each of them jointly tile the instant lawsuit, with each having

             4   individual claims against Defendants, as a permissive joinder of parties and claims pursuant to

             5   Code of Civil Procedure sections 378(a) & (b), and 427.10 et seq.

             6          87.     Plaintiffs ALAINA        BIGGER,      ANTHONY    ELIAS JR., CHAD ELAM,

             7   CHRISTOPHER EDGAR, DANIEL RODEBACK, DAVID J. COLELLO JR., ROSANNE
             8   COLELLO, DAVID STURROCK, DAVID W. THOMAS, DELIA TORRES, DENNIS
             9   WHITE and REBEKAH DAWN LAWRENCE are collectively referred to as the “Los Angeles
            10   County Plaintiffs.”
u           II                                   JURISDICTION AND VENUE
Ph

            12          88.     Jurisdiction is proper in the Superior Court of California, County of Los Angeles
s§
            13   pursuant to the California Constitution, Article VI, Section 10 and § 410.10 of the California
Si
«=    ..1   14   Code of Civil Procedure because it has general subject matter jurisdiction and because this case
^ E
O 5         15   is a cause not given by statute to other trial courts.
w s

gl          16          89.     This Court has jurisdiction over Defendants because each are individuals,
gl
tn Z        17   associations, or corporations that are either authorized to conduct or, in fact, do conduct
2; "
o
C-J              substantial business in the State of California, County of Los Angeles.
            18

            19          90.     Venue is proper in Los Angeles County pursuant to Code of Civil Procedure

            20   sections 395(a)^, 395(b), 395(c), and/or 395.5 because the acts upon which this action is based

            21   arise from the provision of goods or services intended primarily for personal or household use

            22   and because the Defendants, and each of them, do business in this County, and in respect of the

            23   Los Angeles County Plaintiffs, the transactions complained of occurred in this County.

            24          91.     In respect of the Los Angeles County Plaintiffs, the contracts for products and

            25   services at issue in this case were entered into in this County, communications from Defendants

            26   ^ Defendants may argue that Code of Civil Procedure sections 395(a) and (b) only relate to
                 actions in contract. There is nothing in Sections 395(a) or (b) that say so. To the contrary.
            27   Section 395(a) refers to “the trial of an action founded on [an] obligation,” which would
                 encompass the causes of action alleged herein. And Section 395(b) refers to a case “arising
            28   from” “an offer or provision of...services.” Thus, both subsections contemplate actions arising
                 from the causes of action alleged herein.
                                                                 79
                                                    COMPLAINT FOR DAMAGES                Exhibit B, Page 91
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 83 of 177 Page ID #:97




               were received in this County, the Los Angeles County Plaintiffs* vehicles are permanently

           2   stored within this County, and the obligations of Defendants were to be performed in this

           3   County.

           4          92.      Thereby, the Los Angeles County Plaintiffs were injured and/or subjected to

           5   irreparable harm in this venue. Defendants received substantial compensation and profits from

           6   its products and services in this County, caused misrepresentations to be disseminated, entered

           7   into agreements and transactions, and breached agreements in this County. Thus, Defendants’

           8   liabilities arose in this County.

           9          93.      Venue is proper in this district because a substantia! part of the events,

          10   misrepresentations, and/or omissions that give rise to the Los Angeles County Plaintiffs’ claims
o         )1   took place in this district, including but not limited to the marketing, advertisement, and/or sale
a.
1.3
(f) s     12   of the vehicles to the Los Angeles County Plaintiffs.
w3
5« f^
          13                    THE PERMISSIVE JOINDER OF PLAINTIFFS’ CLAIMS
s ?;
P? §      14          94.      Plaintiffs and each of them jointly file the instant lawsuit, with each having
-J 2
O N
ci} ■:    15   individual claims against Defendants, as a permissive joinder of parties and claims pursuant to

Si
5
          16   Code of Civil Procedure sections 378(a) & (b), and 427.10 et seq.
D r
          17          95.      Code of Civil Procedure section 378 allows joinder of plaintiffs where the
Ti. ~
O
O         18   plaintiffs are asserting a right to relief arising out of a series of transactions or occurrences

          19   committed by the same defendants. See C.C.P., § 378(a)(1).

         20           96.      Specifically, under Section 378, “the action of each plaintiff [is] joined in one

         21    case, but they remain independent actions.” Brennan v. Superior Court (1994) 30 Cal.App.4th

         22    454,461.

         23
                          - The statute].contemplates...an action single in form, but with each-‘case’=or demand
         24                 retaining its distinctive identity as though pleaded in an independent action. No
                            plaintiff is interested in the entire complaint. The interest of each is in his own ‘case’
         25                 or cause of action; and the complaint as a whole is merely a series of ‘cases’
                            embodied in one document. The institution of a joint action thus amounts to an
         26                 election [by the plaintiffs] to consolidate at the outset several causes of action for
                            trial instead of bringing several actions based on common grounds, and then
         27
                            having them consolidated later.
         28    Jd. at pp. 461-462 (emphasis added).

                                                              80
                                                    COMPLAINT FOR DAMAGES                    Exhibit B, Page 92
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 84 of 177 Page ID #:98




                      97.      Such is the case here: Plaintiffs are alleging a common scheme to defraud and

          2   mislead them as perpetrated by Defendants herein. Instead of having to file their own individual

          3   lawsuits, Plaintiffs submit that it would be easier to establish a pattern of wrongful conduct

          4   committed by Defendants if Plaintiffs can present during their individual trials a succession of

          5   evidence showing just how Defendants defrauded and mislead them into purchasing their

          6   vehicles. This is exactly what is anticipated by Section 378.

          7           98.      This complaint alleges, infra, that Defendants engaged in unfair competition and

          8   unlawful, unfair, and fraudulent business practices in respect of the sale of Rogue Vehicles to

          9   Plaintiffs. Such systemic defrauding of consumers of Rogue Vehicles, including Plaintiffs, can

         10   surely be presented in one complaint by multiple plaintiffs, according to Section 378 and
cj
fu       II   prevailing case law.

CO S
a3
         12                                     COMMON ALLEGATIONS
a^
W I      13                 FCA Seeks To Capitalize On The Growins U.S. “Clean” Diesel Market
s s
         14           99.      As part of a strategy to expand its North American presence, in 2009, Fiat began
j i
<E
SiI      15   its acquisition of one of the “Big 3” U.S. automakers, Chrysler. In November of that year, CEO

11       16   Marchionne unveiled an ambitious five-year plan to, among other things, roll out “more diesel

         17   variants” under the Jeep brand and to give Ram’s “Light duty (1500)” pickup truck a
o
u        18   “refresh/facelift.”^

         19           100.     By 2014, Fiat had become Fiat Chrysler Automobiles, Chrysler had become

        20    FCA, and VM Motori, a long-time supplier, was now part of the Fiat Chrysler sprawling family

        21    of affiliated companies. In May of that year, Marchionne announced another five-year plan at

        22    FCA’s headquarters in Auburn Hills, Michigan, to increase Fiat Chrysler’s competitiveness

        23    against global auto giants, such as Toyota, Volkswagen, and General Motors, by increasing

        24    annual sales to seven million vehicles by 2018, up from 4.4 million in 2013.^ Integral to the

        25    strategy was the expansion of the “Jeep portfolio” and updates to the “bread-and-butter Ram

        26
              ^ Todd Lassa, Fialopolooza! Chyrskr’s Five-Year Plan, MotorTrend (Nov. 6, 2009),
        27    http://www.motortrend.com/ news/Chrysler-five-year-plan/
              ^ Jerry Hirsch and David Undercoffler, Fiat Chrysler Unveils Aggressive Five-Year Plan, Los
        28    Angeles Times (May 6, 2014), http://www.latimes.com/business/la-fi-chrysler-revamp-
              20140507-story.html
                                                            81
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 93
        Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 85 of 177 Page ID #:99




             1   1500,” including “diesel engines. ;:8

             2            101.     During this same time frame, emission standards in the United States were

             3   ratcheting up. In contrast to other global automakers, like Toyota and Ford, which were focusing

             4   on developing hybrid and electric cars, Chrysler—now FCA and under the control of Fiat—

             5   took another path: “[rjeflecting its ties with Europe-based Fiat, Chrysler appears to be taking

             6   yet another route that focuses less on electrification and more heavily on light-duty diesels and

             7   compressed natural gas. !59

             8            102.     Indeed, as early as July 2010, Chrysler commissioned and presented research to

             9   “[ijdentify the trade-offs that consumers make relative to powertrain technologies”—including

            10   diesel—and “[ijdentify possible conquest opportunities associated with offering a RAM light-
o           11   duty     Diesel   engine.”    FCA-MDL-001184465-524.       Among     other   things,   the   study
i:^
<; =
            12   “recommend[ed]... [c]apitalizing on improved fuel economy to increase interest in a Light Duty
Q ^
W i
^ >         13   Diesel engine among L[ight] D[uty] owners.” Id.
Cd 3
Ki         14             103.     In December 2010, Chrysler requested a meeting with Bosch and Fiat to discuss
-J t
<&
o%         15    “Chrysler’s main motivation” of “captur[ing] the developing N[orth] A[merican] diesel
u3 ■:


“
w I^        16   market.” RBL-MDL2777-PE-300I69862-64, Bosch’s notes of the meeting indicate that the

t/5 "       17   projected profitability status” for SUVs (and other vehicle segments) was “medium to high
O
U           18   (+$300 to 14+S800 margin per diesel vehicle).” Id. An additional meeting was planned for

            19   December 8, 2010 with “Chrysler, VM, [and] Bosch” to “discuss further,” and a “Chrysler NA

           20    diesel decision meeting with Marchionne” was “scheduled for” December 11, 2010. Id.

           21             104.     In 2012, Marchionne was quoted as saying, “with 2016 ‘just around the corner’

           22    and 2025 not far away given the auto industry’s long product-development lead times, ‘there

           23    are big choices to be made[.] jtjlO Marchionne explained that “Chrysler, which is starting to

           24    share platforms and powertrains with Fiat, wants to leverage the European auto maker’s

           25    8 Christian Seabaugh, Ram and Ferrari’s Place in Fiat Chrysler’s Five-Year Plan, MotorTrend
           26    (May 6, 2014), http://www.motortrend.com/news/ram-and-ferraris-place-in-fiat chryslers-five-
                 year-plan/
           27    ^ Drew Winter, Chrysler Eyes Different Path to Meeting New CAFE Standards, WardsAuto
                 (Aug. 29, 2012), http://wardsauto.com/technology/chrysler-eyes-different-path-meeting-new-
           28    cafe-standards. (Emphasis added.)
                 •0 Id.
                                                                   82
                                                      COMPLAINT FOR DAMAGES               Exhibit B, Page 94
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 86 of 177 Page ID #:100




           I   strengths in diesels and CNG-powered vehicles. ::ll    As one commentator put it at the time,

           2   “[f]uel-eff1cient towing remains a strong point of diesels, and Marchionne says he still is

           3   optimistic about the potential of light-duty diesels in the U.S. despite significant emissions

           4   challenges.

           5          105.    This is further reflected in a March 2013 Chrysler research document entitled

           6   “Alternative Powertrain” in which the company sought to better understand the “needs, wants,

           7   expectations and functional requirements relative to . . . alternative powertrain technologies

           8   such as hybrids, electric, diesel, and compressed natural gas.” FCA-MDL-001239766-774. The

           9   research concluded that “consumers want their next vehicle to do everything their current

          10   vehicle does, with better fuel economy and no sacrifice in usability,” and further noted that
o         11   “[l]arge segments (Pickups) with a need to tow and haul show most interest in Alternative
c=
c/Ti      12   fuels/technology for internal combustion engines.” Id. at 9.
w5
Q 3
W i       13          106.    FCA ultimately decided to push into this market beyond its existing heavy-duty
S S
 a    ^
ffC   i   14   diesel trucks (which use engines from a different supplier, Cummins) and, in 2014, it introduced
 -4   t
 <
 o    &
          15   both the light-duty Ram 1500 “EcoDiesel®” and the Jeep Grand Cherokee “EcoDiesel®.”

Si        16   These are the Subject Vehicles at issue here.

c/3 Z     17          107.    FCA was not alone. Seeing an opportunity for growth in the U.S. market, other
z. ~
o
o         18   major automakers rushed to develop and market “clean diesel” engines, Volkswagen, Mercedes-

          19   Benz, Ford, General Motors, and other manufacturers also began selling diesel cars and trucks

          20   as a more efficient (and thus environmentally-friendly) alternative to gasoline vehicles with no

          21   loss of power or performance: the advertised difference was that new emission control

          22   technology could make small diesel engines (long regarded by American consumers as fuel

          23   efficient but foul-smelling polluters) powerful and clean in addition to fuel-efficient. The

          24   marketing worked, and millions of diesel vehicles were sold and leased in the United States

          25   between 2007 and 2016.

          26          108.   The green bubble for diesel vehicles first popped on September 18, 2015, when

          27   the EPA issued a Notice of Violation of the CAA to Volkswagen and Audi for installing illegal

          28   " Id. (Emphasis added.)
               '2 Id.
                                                            83
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 95
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 87 of 177 Page ID #:101




               “defeat devices" in 2009-2015 2.0-!iler diesel vehicles. A defeat device, as defined by the EPA,
           2   is any apparatus or technology that unduly reduces the effectiveness of emission control systems
           3   under normal driving conditions. The EPA found that the Volkswagen/Audi defeat device
           4   allowed the vehicles to pass emission testing while polluting far in excess of emission standards,
           5   revealing the new “clean diesel” technology to be illusory. CARB also announced that it had
           6   initiated an enforcement investigation of Volkswagen pertaining to the vehicles at issue in the
           7   Notice of Violation. On September 22, 2015, Volkswagen admitted that 11 million diesel cars
           8   worldwide were installed with the same defeat device software. Volkswagen wasnT alone as,
           9   soon after, government agencies began to reveal that other automakers sold dozens of models
          10   exceeding allowable emission levels under applicable standards. Nevertheless, the Defendants
o         11   in this action continued with business as usual, concealing from regulators and consumers their
<=
w3        12   Subject Vehicles’ emissions-related behavior and performance.
Q t
W f       13                              Defendants* Dirty “Ecodiesel®” Scheme
S 5
u^
   s..I
          14          109.    Federal and state emission standards are in place to protect Americans from
-3 S

W 2       15   pollution and certain chemicals known to cause disease in humans. Automobile manufacturers
cc S      16   must abide by applicable laws and adhere to EPA rules and regulations (and those of CARB in
Si
C/) 5     17   California and 14 other states that have adopted California’s standards). The CAA requires
•Z. “
o
o         18   vehicle manufacturers to certify to the EPA that the vehicles sold in the United States meet
          19   applicable federal emission standards to control air pollution. Every vehicle sold in the United
          20   States must be covered by an EPA-issued COC, and every vehicle sold in the State of California
          21   must be covered by a CARB-issued EO.
          22          110.    There is a very good reason that these laws and regulations exist and apply to
          23   vehicles with diesel engines: in 2012, the World Health Organization declared diesej vehicle
          24   emissions to be carcinogenic and about as dangerous as asbestos.
          25          t II.   Diesel engines pose a unique challenge because they have an inherent trade-off

          26   between power, fuel efficiency, and emissions: the greater the power and fuel efficiency, the

          27   dirtier and more harmful the emissions. Instead of using a spark plug to combust highly refined

          28   fuel with short hydrocarbon chains, as gasoline engines do, diesel engines compress a mist of

                                                                84
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 96
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 88 of 177 Page ID #:102




               liquid fuel and air to very high temperatures and pressures, which causes the fuel/air mixture to

           2   combust. This causes a more powerful compression of the pistons, which can produce greater

           3   engine torque (that is, more power). Diesel engines are able to do this both because they operate

           4   at a higher compression ratio than gasoline engines and because fuel contains more energy than

           5   gasoline.

           6           I 12.   But this greater energy and fuel efficiency comes at a cost: diesel produces dirtier

           7   and more dangerous emissions. Diesel combustion produces NOx, a variety of nitrogen and

           8   oxygen chemical compounds that only form at high temperatures. NOx pollution contributes to

           9   nitrogen dioxide, particulate matter in the air, and reacts with sunlight in the atmosphere to form

          10   ozone. Exposure to these pollutants has been linked with serious health dangers, including
cj
          11   asthma attacks and other respiratory illnesses serious enough to send people to the hospital.

yx 3<
w         12   Ozone and particulate matter exposure have been associated with premature death due to
^    -j
Q d
W X       13   respiratory-related or cardiovascular-related effects. Children, the elderly, and people
3 5

«=        14   respiratory illnesses are at acute risk of health effects from these pollutants.
j i
<s
o %I
W 9.      15           113.    Given the risks, minimizing NOx is paramount. But removing these pollutants
     S

gf        16   from untreated exhaust is difficult, and diesel automakers have reacted by trying to remove NOx

O) S      17   from the exhaust using catalysts. Modem turbodiesel engines use ceramic diesel filters to trap
     -
O
CJ
          18   particulates before they are emitted. Many also use a technology called “selective catalytic

          19   reduction” (“SCR”) to reduce NOx emissions. SCR systems inject a measured amount of urea

          20   solution into the exhaust stream, which breaks oxides of nitrogen down into to less noxious

          21   substances before they are emitted. SCR-equipped vehicles must carry an onboard tank of fluid

          22   for this purpose, and injection of the fluid is controlled by the same engine control module that

          23   manages the fuel-air mixture and other aspects of engine operation.

          24           114.    FCA’s response to this challenge was the EcoDiesel® engine. Emission

          25   reductions start in the cylinder with advanced fuel injection strategies. After the byproducts of

          26   combustion leave the engine, the EcoDiesel® technology treats these emissions using a diesel

          27   oxidation catalyst, diesel particulate filter, and SCR.

          28           115.    The Subject Vehicles use engine management computers to monitor sensors

                                                                 85
                                                   COMPLAINT FOR DAMAGES                   Exhibit B, Page 97
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 89 of 177 Page ID #:103




              throughout the vehicle and operate nearly all of the vehicle’s systems according to sophisticated

          2   programming that can sense and vary factors like steering, combustion, and emissions

          3   performance for different driving situations. To manage engine and emission controls, the

          4   Subject Vehicles use a Bosch EDC system. Bosch GmbH and Bosch LLC designed, tested,

          5   customized, manufactured, and sold these EDC systems, including software code, to FCA

          6   (along with other automakers including Volkswagen, Mercedes, and General Motors) for use in

          7   the Subject Vehicles.

          8          116.    The system used in the Subject Vehicles is Bosch’s EDC Unit 17 (also called

          9   “EDC 17"). A February 28, 2006, Bosch press release introduced the “New Bosch EDC 17

         10   engine management system” as the “brain of diesel injection” which “controls every parameter
u        11   that is important for effective, low-emission combustion.” The EDCI7 offered “[ejffective
Ph
c=
c/i-S’   12   control of combustion” and a “[cjoncept tailored for all vehicle classes and markets.” In the
“3
Q ^
W X      13   press release, Bosch touted the EDC 17 as follows:
CP i     14          EDC17: Ready for future demands
     t
                     Because the computing power and functional scope of the new EDC 17 can be
O g      15
a 5                  adapted to match particular requirements, it can be used very flexibly in any
                     vehicle segment on all the world’s markets. In addition to controlling the precise
If       16          timing and quantity of injection, exhaust gas recirculation, and manifold pressure
                     regulation, it also offers a large number of options such as the control of
         17          particulate filters or systems for reducing nitrogen oxides. The Bosch EDC 17
z. -
o                    determines the injection parameters for each cylinder, making specific
o        18          adaptations if necessary. This improves the precision of injection throughout the
                     vehicle’s entire service life. The system therefore makes an important
         19          contribution to observing future exhaust gas emission limits.’^
         20          117.    Bosch’s EDC Unit 17 controls emissions by periodically reading sensor values,

         21   evaluating a control function, and controlling actuators based on the control signal.Sensor

         22   readings include crankshaft position, air pressure, air temperature, air mass, fuel temperature,

         23   oil temperature, coolant temperature, vehicle speed, exhaust oxygen content, as well as driver

         24   inputs such as accelerator pedal position, brake pedal position, cruise control setting, and

         25
         26     See Bosch press release. The brain ofdiesel injection: New Bosch EDC 17 engine management
              system              (Feb.              28,               2006),            http://www.bosch-
         27   resse.de/presseforum/details.htm?txtlD=2603&locale =en.
                 Moritz Contag, Guo Li, Andre Pawlowski, Felix Domke, Kirill Levchenko, Thorsten Holz,
         28   and Stefan Savage, How They Did It: An Analysis of Emission Defeat Devices in Modern
              Automobiles (2017), https://cseweb.ucsd. edu/~klevchen/diesel-spl7.pdf
                                                           86
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 98
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 90 of 177 Page ID #:104




              selected gear. Based on sensor input, EDC17 controls and influences the fuel combustion

          2   process including, in particular, fuel injection timing, which affects engine power, fuel

          3   consumption, and the composition of the exhaust gas.

          4           I 18.     In 2010 or 2011, VM Motori announced a new diesel engine: a V6, 3.0-liter

          5   displacement engine intended for inclusion in SUVs, trucks, and large sedans. This engine had

          6   been under development for use in a General Motors automobile for the European market.'^

          7   However, Fiat acquired 50% of VM Italy in 2011, and began working with VM Motori to

          8   develop the engine for use in FCA vehicles to be sold in the United States.

          9           119.    As Ram Trucks’ Chief Engineer said at the time, “We were fortunate at this point

         10   in lime that our partners at Fiat owned half of VM Motori, who makes this diesel engine .... We
u        11   combined resources and developed them together. »I7
CU

{/5 9    12           120.    According to its website, VM Motori is deeply involved in the development and

         13   testing of all aspects of the engine: “We take care of the engines and their applications, working
sI
CC a     14   together with the Customers to the least detail to ensure a perfect matching between the engine
-! i
  I
o 3      15   and the machine, supporting our partners from A to Z, from engine- to-machine coupling up to
M -A




li       16   the production.

         17           121.    In fact, VM Motori boasts of its involvement in: “Calibration development to
O
U        18   meet specific vehicle/end user requirements, Exhaust after-treatment system development,

         19   [and] Environmental trips (hot/cold climate, high altitude, etc.), «19 VM Motori also notes that

         20   its facilities include: “Rolling dyno for vehicle emission measurement [and] 17 engine test

         21   benches for emission/performance development. »20

         22           122.    The engine originally was developed for use in Europe, where standards for

         23   emission of oxides of nitrogen from diesel vehicles are less stringent than in the United States.

         24
              '5/J.
         25
                 Chad         An Inside Look At The Rom 1500 3.OL EcoDiesel, Engine Labs (Jan. 11,2015),
         26   http://www. enginelabs.com/engine-lech/an-inside-look-at-the-ram-1500-3-01-ecodiesel/

         27      Research and Development, VM Motori, http://www.vmmotori.com/r-s/vm-motori/r-s-
              2.htm.
         28     Id.
              ^^Id.
                                                               87
                                                  COMPLAINT FOR DAMAGES
                                                                                        Exhibit B, Page 99
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 91 of 177 Page ID #:105




              Rather than make the engine compliant with U.S. emissions standards, FCA opted to cheat on

          2   the emission test.

          3           123.     In January of 2013, Bosch LLC announced that its “clean diesel" technology,

          4   including the EDC Unit 17, would be featured in the new 2014 Jeep Grand Cherokee 3.0-Liter

          5   EcoDiesel®.^'      As part of that announcement, Bosch LLC stated: “The 2014 Jeep Grand

          6   Cherokee features a Bosch emission system compliant with the most stringent emission

          7   regulations in the world. From fuel tank to tailpipe, Bosch is pleased to equip this vehicle with

          8   top technologies to give consumers a great driving experience requiring fewer stops at the

          9   pump.”^^       Bosch LLC also announced that the “clean diesel” system for the Jeep Grand

         10   Cherokee would be assembled at Bosch’s facility in Kentwood, Michigan.

CL       11          124.      In reality, FCA—working with VM Italy and VM America on the design of the

a5       12   EcoDiesel®’s engines and Bosch GmbH and Bosch LLC on the design of the EDC Unit 17—

ii       13   was either unable or unwilling to devise a solution within the constraints of the law. And so,
gI
cc i     14   like their rivals at Volkswagen, they devised one outside of it. Instead of cutting their losses on
-! i
< 5
         15   “EcoDiesel,” delaying the production of the Subject Vehicles, or coming clean, FCA worked
j i
cc 5     16   closely with VM Italy and VM America and Bosch GmbH and Bosch LLC to customize the

cn 5:    17   EDC Unit 17 to allow Subject Vehicles to simulate “passing” the ERA and CARB testing.
     ~
O
U        18   Unlike during testing, the software disables or restricts certain of the emission controls during

         19   real-world driving conditions. When the emission controls are de-activated on the road, the

         20   Subject Vehicles emit up to 20 times the legal limits of NOx.

         21          125.      These software controls designed and implemented by Bosch GmbH and Bosch

         22   LLC were concealed from regulators on COC and EO applications for the Subject Vehicles,

         23   thus deceiving the ERA and CARB into approving the Subject Vehicles for sale throughout the

         24   United States, including California. Of course, consumers, who have no way of discerning that

         25   the emission control technology de-activated during real-world driving conditions, were

         26   likewise deceived.

         27          126.      Specifically, Bosch GmbH and Bosch LLC worked hand-in-glove with FCA, Fiat

         28     Bosch Announces Clean Diesel Technology On 20J4 Jeep Grand Cherokee, supra note 5.
                Id.
                                                                88
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 100
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 92 of 177 Page ID #:106




              and VM Molori to develop and implement a specific set of software algorithms for

          2   implementation in the Subject Vehicles, which enabled FCA to adjust fuel levels, exhaust gas

          3   recirculation, air pressure levels, and even urea injection rates.

          4           127.   A study recently published by researchers at the University of California, San

          5   Diego, and Ruhr-Universitat Bochum in Germany revealed technical documents showing that

          6   Bosch code was used in a so-called defeat device for a Fiat vehicle. The study described the

          7   software as setting one mode for when a vehicle is being tested for emissions, but then allowing

          8   tailpipe pollution to spike in real-world driving conditions.^'’ The study described Bosch’s role

          9   in building the electronic control unit (“ECU”) hardware and developing the software running

         10   on the ECU and found there was “no evidence that automobile manufacturers write any of the
o
p.       11   code running on the ECU.”^^ To the contrary: “All code we analyzed in this work was

si       12   documented in documents copyrighted by Bosch and identified automakers as the intended
5 "a
aI       13   customers.The study concluded: “We find strong evidence that both defeat devices were
a ?
« s      14   created by Bosch and then enabled by Volkswagen and Fiat for their respective vehicles.”
J t
<5
         15           128.   For context, when carmakers test their vehicles against EPA emission standards,

- Ii
a        16   they place their cars on dynamometers (essentially large treadmills or “rollers”) and then
gs
to Z     17   perform a series of specific maneuvers prescribed by federal regulations to simulate driving and
9,
         18   test emissions in a controlled environment. Bosch’s EDC Unit 17 gave FCA the ability to detect

         19   test scenarios by monitoring vehicle speed, acceleration, engine operation, air pressure, and

         20   even the position of the steering wheel. For example, given that the steering wheel cannot be .

         21   turned on a dynamometer, Bosch programmed a sensor which detected whether or not the

         22   steering wheel turned. When the EDC Unit I7’s detection algorithm detected an emission test

         23   was complete, the EDC Unit 17 could de-activate or reduce the emission^control systems’

         24         See generally Engine management,              Bosch Auto     Parts,  http://de.bosch-
              automotive.com/en/parts_and_accessories/motor_and_sytems/diesel/engine_management_2/engi
         25   ne_control_unit_l/ (describing capabilities of Bosch EDC units).
         26     See Ryan Been, Study ofVW’s Cheating on Diesels Examines Role ofBosch Code, Bloomberg
              Technology (June 9, 2017), htlps://www.bloomberg.com/news/articles/2017-06-09/study-of-
         27   vw-s-cheating-on-diesels-examines-role-of-bosch-code.
                Moritz Contag, et ai, How They Did It: An Analysis of Emission Defeat Devices in Modern
         28   Automobiles, supra note 15
                Id.
                                                                89
                                                  COMPLAINT FOR DAMAGES               Exhibit B, Page 101
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 93 of 177 Page ID #:107




              performance, causing the Subject Vehicle to spew illegal amounts of NOx emissions when out

          2   on the road.

          3           129.    This workaround was illegal. The CAA expressly prohibits defeat devices,

          4   defined as any auxiliary emission control device “that reduces the effectiveness of the emission

          5   control system under conditions which may reasonably be expected to be encountered in normal

          6   vehicle operation and use.” 40 C.F.R. § 86.1803-01; see also id. § 86.1809-10 (“No new light-

          7   duty vehicle, light-duty truck, medium-duty passenger vehicle, or complete heavy-duty vehicle

          8   shall be equipped with a defeat device.”). Moreover, the CAA prohibits the sale of components

          9   used as defeat devices, “where the person knows or should know that such part or component

         10   is being offered for sale or installed for such use or put to such use.” 42 U.S.C. § 7522(a)(3).

CL            Finally, in order to obtain a COC, automakers must submit an application, which lists all
< =
—3   i   12   auxiliary emission control devices installed in the vehicle, a justification for each, and an
Q ^
         13   explanation of why the control device is not a defeat device.

         14           130.    As the EPA has now alleged against Fiat, FCA, VM Italy, and VM America,
-5 t
< g
         15   Defendants did not disclose, and affirmatively concealed, the presence of performance-altering
3|
£|       16   software code developed with Bosch GmbH and Bosch LLC from government regulators. In

c/5 Z    17   other words, FCA lied to the government, its customers, its dealers, and the public at large.
2C "
O
o        18           131.    Because FCA lied on the COC and EO applications, these COCs and EOs were

         19   fraudulently obtained. And because the Subject Vehicles did not conform “in all material

         20   respects” to the specifications provided in the COC and EO applications, the Subject Vehicles

         21   were never covered by a valid COC or EO, and thus were never legal for sale—nor were they

         22   EPA and/or CARB compliant, as represented. With the complicity of Bosch and VM Motori,

         23   FCA hid these facts from the EPA, CARB, and other regulators, from FCA dealers and

         24   consumers, and FCA continued to sell and lease the Subject Vehicles to the driving public,

         25   despite their illegality.

         26           132.    FCA’s illegal workaround was enabled by a close partnership with Bosch, which

         27   enjoyed a sizable portion of its annual revenue from manufacturing parts used in the Subject

         28

                                                               90
                                                 COMPLAINT FOR DAMAGES                Exhibit B, Page 102
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 94 of 177 Page ID #:108




           1   Vehicles and other “clean” diesel vehicles.Bosch GmbH and Bosch LLC were aware that

           2   FCA used its emission control technology as a concealed auxiliary (or defeat) device and is

           3   specifically tailored to allow the Subject Vehicles to evade detection.

           4           133.   Bosch GmbH and Bosch LLC worked closely with FCA and VM Motori to create

           5   specifications and software code for each Subject Vehicle model. Indeed, customizing a road-

           6   ready ECU is an intensive three-to five-year endeavor involving a full-time Bosch presence at

           7   an automaker’s facility. VM Italy and VM America likewise worked closely with Bosch GmbH,

           8   Bosch LLC, and FCA in designing, installing, and calibrating the engines for the Subject

           9   Vehicles.

          10          134.    All Bosch EDCs, including the EDCI7, run on complex, highly proprietary
cj
CU:       11   engine management software over which Bosch exerts near-total control. In fact, the software
<=
tn5‘S
a3        12   is typically locked to prevent customers, like FCA, from making significant changes on their
Q ^
          13   own. Accordingly, both the design and implementation are interactive processes, requiring
Si
Si        14   Bosch’s close collaboration with the automaker from beginning to end.
j t
<5
O N
w i       15           135.   Bosch GmbH and Bosch LLC’s security measures further confirm that its
hJ    5
          16   customers cannot make significant changes to Bosch software without their involvement. Bosch

c/) Z     17   boasts that its security modules protect vehicle systems against unauthorized access in every
^~
o
          18   operating phase, meaning that no alteration could have been made without either a breach of

          19   that security—and no such claims have been advanced—or Bosch’s knowing participation.^®

          20          136.    Unsurprisingly, then, at least one car company engineer has confirmed that Bosch

          21   maintains absolute control over its software as part of its regular business practices:^^

          22          /’ve had many arguments with Bosch, and they certainly own the dataset software
                      and let their customers tune the curves. Before each dataset is released it goes
          23          back to Bosch for its own validation.
          24
                  Approximately 50,000 of Bosch’s 375,000 employees worked in the diesel technology
          25   operations branch of Bosch. See Bosch probes whether its staff helped VW’s emissions rigging.
               Automotive News (Jan.27, 2016), http://www.autonews.eom/article/20160127/COPY01/
          26   301279955/bosch-probes-whether-its-staff- helped-vws-emissions-rigging
                      Reliable     Protection     for      ECUs,     ESCRYPT        (May      12,     2016),
          27   https://www.escrypt.com/en/news-events/protection-for-ecus.
                  Michael Taylor, EPA Investigating Bosch over VWDiesel Cheater Software, Car and Driver
          28   (Nov. 23, 2015), http://blog.caranddriver.com/epa-investigating-bosch-over-vw-diesel-cheater-
               software/
                                                             91
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 103
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 95 of 177 Page ID #:109




                       Bosch is involved in all the development we ever do. They insist on being present
                       at all our physical tests and they log all their own data, so someone somewhere
            2          at Bosch will have known what was going on.

            3          AH software routines have to go through the software verification of Bosch, and
                       they have hundreds of milestones of verification, that’s the structure ....
            4
                       The car company is never entitled by Bosch to do .wmelhing on their own.
            5

            6          137.    Defendants' work on the EDCI7 reflected a highly unusual degree of

            7   coordination among them. As they did with Volkswagen, the units required the work of

            8   numerous Bosch coders for a period of more than ten years.           Although Bosch publicly

            9   introduced the EDCI7 in 2006, it had started to develop the engine management system years

           10   before.^®
cj
a.         11          138.    Bosch was concerned about getting caught in the scheme to enable diesel
1.^
CO 8       12   emissions cheating. As reported in the German newspaper, Bild am Sonntag, and a French
^ 3
5a I^
           13   publication, a Volkswagen internal inquiry found that in 2007, Bosch warned Volkswagen by
a ^
          14    letter that using the emission-altering software in production vehicles would constitute an

tl
a          15   “offense. »31 Yet, Bosch concealed the software, and its emission control functions, in various

ii
gi
                “clean” diesel vehicles, including the Subject Vehicles, from U.S. regulators and consumers.

in Z      17           139.   Bosch LLC worked closely with Bosch GmbH and diesel automakers, both in
7C. “
o
C_J             the United States and in Germany, to ensure that the “clean” diesels, like the Subject Vehicles,
           18

           19   passed emission testing. Bosch LLC employees frequently communicated with regulators in the

          20    United States and actively worked to ensure that diesel vehicles were approved for sale in the

          21    United States. For example, we now know that employees of Bosch LLC and Bosch GmbH

          22    provided specific information to regulators in the United States about how Volkswagen's

          23    vehicles functioned and unambiguously stated that the vehicles met emission standards. Bosch

          24    LLC regularly communicated to its colleagues and clients in Germany about ways to deflect

          25
                   See The brain ofdiesel injection: New Bosch EDCI7 engine management system, supra note
          26    14
                31 Bosch warned VW about illegal software use in diesel cars, report says, Automotive News
          27    (Sept. 27, 2015), http://www.autonews.com/article/20150927/COPY01 /309279989/bosch-
                warned-vw about-illegaI-software-use-in-diese!-cars-report-says; see also VW Scandal:
          28    Company Warned over Test Cheating Years Ago,                    BBC (Sept 27, 2015),
                http://www.bbc.com/news/business-34373637.
                                                               92
                                                   COMPLAINT FOR DAMAGES               Exhibit B, Page 104
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 96 of 177 Page ID #:110




             and diffuse questions from regulators in the United States about those vehicles. On information

         2   and belief, Bosch LLC also assisted in concealing the true nature of the emission control

         3   technology from regulators in the United States with respect to the Subject Vehicles at issue

         4   here.

         5           140.   Bosch not only kept this “dirty” secret safe, it went a step further and actively

         6   lobbied lawmakers to push “clean diesel” in the United States. As early as 2004, Bosch

         7   announced a push to convince U.S. automakers that its diesel technology could meet tougher

         8   2007 emission standards in the United States.Bosch engaged in a multi-year, multi-million-

         9   dollar effort involving key players from Bosch in both Germany and the United States. In its

        10   efforts to promote “clean diesel” technology in the United States, Bosch GmbH acted on behalf
o       11   of its global group of affiliated companies, including Bosch LLC.
CO »
w3      12           141.   Bosch’s promotion of diesel technology specifically targeted the United States.
Q ^
W I     13   For example, Bosch put on “California Diesel Days”^^ and “SAE World Congress in Detroit. »34
S 5
Cd (S
Mi      14   In 2008, Bosch LLC co-sponsored the “Future Motion Made in Germany-Second Symposium
^t
<&
O       ]5   on Modern Drive Technologies” at the German Embassy in Washington, D.C., with the aim of

si      '6   providing a venue for “stakeholders to gain insight into the latest technology trends, and to

CO Z    17   engage in a vital dialogue with industry leaders and policymakers.”^^
z. ~
o
o       18           142.   Bosch LLC hosted multi-day conferences open to regulators and legislators and

        19   held private meetings with regulators, in which it proclaimed extensive knowledge of the

        20   “clean” diesel technology, including the calibrations necessary for the vehicles to comply with

        21   emission regulations.

        22           143.   In April 2009, for example, Bosch organized and hosted a two-day “California

        23      Edmund Chew, Bosch boosts US diesel lobbying. Automotive News (Mar. 8, 2004),
             http://www.autonews.com/            article/20040308/SUB/403080876/bosch-boosts-us-diesel-
        24   lobbying.
                Bosch drives clean diesel in California, Bosch, http://www.bosch.us/content/languagel/
        25   html/734 _4066.htm?section= 28799C0E86CI47799E02226E942307F2.
               See, e.g., Bosch Brings Innovation, Green Technology to SAE 2009 World Congress, Bosch,
        26   http://www.bosch.us/content/language I/html/734_7432.htm?section=CDAF31A
             468D9483I98ED8577060384B3.
        27      Bosch: Clean Diesel is Key Part of Future Technology Mix, Bosch, http://us.bosch-
             press.com/tbwebdb/bosch-usa/en-
        28   US/PressText.cfm?CFlD=59743263&CFTOKEN=b0c61c284!2924c-BCBB064E-FD22-
             FC33-50650318 A8803D2B&nh=00&Search=0&id=364.
                                                             93
                                               COMPLAINT FOR DAMAGES                 Exhibit B, Page 105
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 97 of 177 Page ID #:111




              Diesel Days" event in Sacramento, California. Bosch invited a roster of lawmakers, journalists,

          2   executives, regulators and non-governmental organizations with the aim of changing

          3   perceptions of diesel from “dirty” to “clean, 5536 The event featured “clean diesel” vehicles as

          4   ambassadors of “clean diesel” technology. The stated goals were to “build support for light-

          5   duty diesel as a viable solution for achieving California’s petroleum and emission reduction

          6   objectives.” (Id.)

          7           144.    Bosch also joined in events promoting the Subject Vehicles. At one such event

          8   hosted by Ram, Jeep and Bosch in Traverse City, Michigan, Bosch made a number of statements

          9   regarding the 3.0-liter EcoDiesel V6’s performance. It stated that the “Bosch emissions control

         10   system helps ensure that virtually no particulates and minimal oxides of nitrogen (NOx) exit the
cj
         11   tailpipe” and that a Jeep Grand Cherokee or Ram 1500 diesel’s engine provides a fuel economy
CO S
a3
         12   that is “30% better than a comparable gasoline engine. »37
Q ^
W i      13           145.    In 2009, Bosch also became a founding member of the U.S. Coalition for
W §
Ws       14   Advanced Diesel Cars.^* One of this “advocacy” group’s purposes included “promoting the
J 2
<&
O N
CJ
U i
   y     15   energy efficiency and environmental benefits of advanced clean diesel technology for passenger
JI
§1       16   vehicles in the U.S. marketplace. «39 This group lobbies Congress, U.S. regulators, and CARB
§1       17   in connection with rules affecting “clean diesel” technology.'’®
o
u        18                                    FCA *s Misleadins Marketins

         19      A.    FCA Identifies and Combats the “Dirty Diesel” Stigma

         20           146.    As described above, FCA, VM Motori, and Bosch began investigating strategies

         21
                Bosch drives clean diesel in California, supra note 35; see also California Diesel Days, The
         22   U.S. Coalition for Advanced Diesel Cars, http://www.californiadieseldays.com/
                 Dale Jewett, EcoDiesel: An Essential Tool for Every Outdoorsman, Objects in the
         23   Mirror...(blog     operated    by      FCA      Digital     Media)     (May      22,    2015),
              https://blog.fcanorthamerica.eom/20l5/05/22/ecodiesel-an-essential-tool-for-every-
         24   outdoorsman/.
                 Chrissie Thompson, Ne^v Coalition Aims To Promote Diesel Cars, Automotive News (Feb.
         25   2, 2009),
              http://www.autonews.eom/articIe/20090202/OEM06/302029728/new-coaIition-aims-to
         26   promote-diesel-cars.
                  About the Coalition, The U.S. Coalition for Advanced Diesel Cars (May 22, 2015),
         27   http://clean dieseldelivers.com/about/
                 Jd.;see also, e.g., Letter to Mary T. Nichols & the California Air Resources Board concerning
         28   a statement made about diesel technology (Jan. 8, 2016), http://cleandieseldelivers.com/
              medla/Mary-N ichols-Letter-01082016.pdf
                                                               94
                                                 COMPLAINT FOR DAMAGES               Exhibit B, Page 106
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 98 of 177 Page ID #:112




         I   10 develop and market diesel vehicles in the North American market in at least July 2010. FCA-

         2   MDL-OOI184465. As early as February 2012, Chrysler had already commissioned and

         3   presented research to understand how to market the diesel vehicles to consumers. FCA-DL-

         4   001182796-821.

         5           147.   This research confirmed that the Defendants had a significant obstacle to

         6   overcome: consumers associated diesel engines with old technology and, more importantly,

         7   with “negative images of smog and dirt.” Id.

         8           148.   This “dirty diesel” stigma was considerable. During FCA’s 2012 focus group

         9   addressing “diesel perceptions,” one consumer noted “[1] can’t stand diesel;” another felt

        10   “[diesel] has an image problem;” another explained that “when somebody says diesel, 1 just
o       II   think of that black smoke;” to another, diesel evoked image of “smoke, exhaust;” another
<3 =
        12   associated diesel with “old images of a truck letting off all of these emissions;” and, summing
Q 3
£d i    13   it up, one focus group participant noted “you just think dirty when you think diesel.” FCA-
W 5
fiS ^   14   MDL- 001422127.
 -3 i
O y
w 3     15           149.   Unsurprisingly, then, FCA worked hard to rebut the dirty diesel stigma in
05 I    16   communications directly with consumers and in training materials for dealers (to help the
Sl
</) s   17   dealers persuade consumers to purchase the Subject Vehicles). In a Jeep EcoDiesel “Product
    ~
o
o       18   Brief,” for example, FCA noted “[bjuyers can be resistant to consider a diesel purchase due to

        19   several perceptions that are no longer true” including that “diesels are filthy . . . [and] too loud

        20   and smelly.” FCA-MDL-000517246-53. The brief combats these perceptions by stating that

        21   “diesel engines are surprisingly responsible in view of ecological concerns.” Id. It also includes

        22   “key messages” for prospective consumers including: “Diesel engines offer clean operation with

        23   typically 25% less emissions than a gasoline engine.” Id. It also notes that the “3.0L EcoDiesel

        24   V6 uses Selective Catalyst Reduction (SCR) with DEF to help minimize exhaust emissions”

        25   and uses “NOx modules and sensors ... to help control tailpipe emissions.” Id.

        26           150.   Similarly, a Ram 1500 “Targeted In-Dealership Training” guide notes that the

        27   two “most common misconceptions about diesel engines” are that “Diesels are noisy” and

        28   “Diesels are dirty.” FCA-MDL-000517194-203. As to the latter, the guide instructs dealers that

                                                               95
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 107
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 99 of 177 Page ID #:113




          I   the “Diesel Exhaust Fluid (DEF) and Selective Catalyst Reduction lower the exhaust emissions

          2   of diesel engines.” Id. It later explains that DEF “reduce[s] nitrous oxides coming out of the

          3   tailpipe” and “helps to create non-harmful emissions^ Id. (emphasis in original). The guide

          4   then states that “[o]ur EcoDiesel runs extremely clean for a truck powerplant.” Id.

          5           151.   In a “news” document, again presumably targeting Ram and Jeep dealers, FCA

          6   explained that “[wjhen pitching the EcoDiesel, it may help you to keep in mind a few advantages

          7   to driving a diesel engine.” FCA-MDL-000518525. One advantage was that “Diesels Are

          8   Getting Greener.” Id. The document then explained that “[i]n the past, diesels were seen as

          9   polluters - a hindrance to environmentally conscious customers. Today’s diesels, however, run

         10   cleaner than they ever have before. For its part, the ecologically responsible EcoDiesel V6 is
o        II   the cleanest light-duty engine available.” Id.
fu
CO »     12      B.    The EcoDiesel Name and Badge Communicate Environmental Friendliness and
S3
Q ^
Cd X
«« >>    13            Fuel Efficiency
w ?
PS a     14           152.   FCA also understood that a key component of overcoming the diesel stigma, and
-3

Sii      >5   of marketing the Subject Vehicles’ purported environmental friendliness and fuel economy, was

§1       16   the naming and labeling of the diesel technology. As noted above, FCA conducted research in

-3       17   February 2012 to address this very issue. FCA-MDL-001182796-821. That research concluded
o
o        18   that the “[b]est names [for FCA’s diesel engine] highlight ‘green’ theme.” Id. It further

         19   concluded that “[f]uel efficiency and environmental friendliness are important; names

         20   connected with these will be most well-received.” Id. (emphasis added). An excerpt from the

         21   research presentation is shown below:

         22
         23
         24
         25
         26
         27
         28

                                                               96
                                                  COMPLAINT FOR DAMAGES              Exhibit B, Page 108
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 100 of 177 Page ID #:114




                                            Mna« 4fv4     tain ac W • Uh r1 rkM ratar tiM H< rKi ai •» BMif orvi mgnr          « Wir H nraw Mrar KW   Mtt a M

         2                         Ig-K"'       aaMiwirMfoMrMtevcMiicrinnraecfaaK^^afartaMtxOMO^MvwncwcMiMKprarMKcdt.                                           .   ...:;:i,a




         3                                     Overall Engine Ratings                                                                        r
                                                         PrAfttrrad           Appeal             Fltwtih SUV            fit With Jmp
         4                                              (Top } Konk)         ((op2So7)            (Top 2 (ox)             (Top 2 Boi)


         5     EcO'DIescI                                  52%                  47%                  47%                    41%

         6     3.0L Clean Diesel                           51% ,                38% ^                47%                   43%
                                                                                                                                   V
                                                                                                                                   »
                                                                                                                                                    Best names
                                                                                                                                        1        highlight “green"
         7     Ensriro-Dicsei                              47%                  35%
                                                                                       I             43%
                                                                                                              s.
                                                                                                                           m
                                                                                                                                   s
                                                                                                                                                       theme
         8     3.0L Turbo Diesel                           40%                  35%                  46% ,                 42% ,
                                                                                                                                                Fuel ofFtcicncy orKl envirorimcntal-
                                                                                                                                                 fminill truss ur« impotlani: namds
         9     3.01 Diesel Tec                             24%                  15%                  30%                   34%                  coniiecied wlh these will be most
                                                                                                                                                            wuU received.
        10     3.0DMUiiijet                                24%                  18%                  31%                   29%
                                                                                                                                                Icosl (jopulfif v'.hDk’.oSiJfuseorias
                                                                                                                                                  boitny, contusing, cx irrelHvunI
O              Puri-Diesel                                 21%                  14%                   18%                  20%
cu      II
<=
        12     24-Valve Diesel                             19%                  13%                  27%                   30%
w5
5^
s -•
        13    f3.0L Diesel                                 19%                  liSX                 32%                   JJ»7*

                                                                                                                                             L
u $
0= S
-3 i
        14   19
                  FIjrWVM.UmW) rM««n «• MWcoIr Mntev*«mc«>AMK4
                                                                          w                                                                                              FCAH.CL-0>1lS24fiS


o5      14
W 2
hJ I
§I      16            153.         The highest-ranked name, in terms of both appeal and preference, was “Eco-
g|
C/l ”   17   Diesel.” The research explained that “‘Eco’ encompasses green, efficient, and economic ... and
O
u       18   is strongly associated with being environmentally friendly.” Similarly, the research concluded

        19   that the EcoDiesel “[n]ame [ijmplies a variety of positive meanings - green, efficient, economic,

        20   etc.” Unsurprisingly, the “imagery” most associated with the name “EcoDiesel” was

        21   “Environmentally-Friendly” and “Fuel Efficient.” Id.

        22            154.         Although other potential names (e.g., “Clean Diesel” and “Enviro Diesel”) had

        23   slightly higher associations with environmental friendliness, “EcoDiesel” communicated the

        24   combination of “green” credentials and fuel economy the best. FCA had found its winner.

        25            155.         FCA adopted and trademarked the “EcoDiesel” name and used it in virtually

        26   every advertisement for the Subject Vehicles. It also branded every single Subject Vehicle with

        27   an EcoDiesel badge. The two versions of the badge, used on Jeep Grand Cherokees and Ram

        28   1500s, respectively, are shown below:

                                                                                                   97
                                                                         COMPLAINT FOR DAMAGES                                                  Exhibit B, Page 109
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 101 of 177 Page ID #:115




           2



           4
                                      reo           ^8*ti iiki^'tiiiVri*"




           5

           6

           7

           8

           9

          10
                             t            3»L   e   T                       i

Oh        I1                                                                           •   <■■

                                                                                                  fy
<5 z
M5
          12
O '-■
          13          156.       This badging was extremely important to FCA. Jim Morrison, then the head of
pi
3?
 i        14   Jeep Brand Product marketing, gave a presentation some 20-30 times in which he explained that
J 5
o «H      >5   “consumers are immediately receptive to the EcoDiesel badging/logo” and “suggest that ‘Eco-
w I
h4 i
cs §      16   diesel badging can initially change the impression of diesel vehicles.” FCA- MDL-001166458-
w s
D ^
^2        17   533; Morrison Dep. Tr. 131:5-6. As the notes below the slide confirm, “[c]onsumers further
o
u         18   believe that the word *Eco- Diesel* can change the perception of a diesel engine to something

          19   denoting ecologically conscious and economical to own and operate.” Id. (emphasis added).

          20   The full slide with notes is shown as follows:

          21

         22

         23

         24

         25

         26

         27

         28

                                                                                98
                                                     COMPLAINT FOR DAMAGES           Exhibit B, Page 110
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 102 of 177 Page ID #:116




            2                                    Emotional and Financial Pillars E                                              a
            3

            4                  New EcoDteset badolno (s appealing

            5
                               • Ecobiesel name and badge cr^te.different attention for diesel by suggestino something
            6                    isn^andditferenl.
                               • Cqnsumeis are immediately'receptive tb:lhe EcoDiesel badging/togo • haytng a modem
            7                    Impilcatibn
            8                  • Consumers suggest that ‘Hco^le^el’ badglng can initially change the impression of
                                 diaselwhfcfes;
            9                  • jeep has an opportunity to re^deflne or'dernlche' the diesel market by establishing the
                                 brand as a diesel leader ’
           10
o          11
Oh
     z
           12                                         r                         % r *e: f
o ^
           13
Si
3I
0? a -.1
           14
hJ   2
                                                                                      Wiip»<i|>8OTCawaw«ndilw«i<
i3
O N
  i        15
J i
g|         16
it
3 “
CO S       17    Also resonating is the EcoDiesei nanie ami badge*
2: ■
o
o          18    Consumer reseaich'shows that It creates^a different attentloh (or. diesels by suggesting that it’s new arKl different... a
                 signiricant departure from the diesel engines they or Mparents grew up with.
           19

           20    Consumers are receptive to the EcoDleselj^o. It looks modem and htnte at the technological innovation inherent In this
                 engine.
           21
                 Consumers furlher believe drat the word '^-Di^l* can Ci^hge the percepiloh of a diesel engine to something denoting
           22
                 ecologically conscious and economlcal'to own and operate.
           23
                ’ The research further iridicatH that the           name provides iis with the opportunity to redefine the'diesel mailtet by
           24    astabilshing ourselves as a diesel i^eV.-
           25

           26

           27

           28      157.      Mr. Morrison also confirmed the meaning and importance of the EcoDiesel name

                                                                      99
                                                            COMPLAINT FOR DAMAGES                                  Exhibit B, Page 111
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 103 of 177 Page ID #:117




              and badge in a sworn declaration he submitted in connection with a trademark dispute. There,

          2   he declared that “Chrysler decided to combine the terms ‘Eco, T i Diesel,’ and ‘3.0L’ ... to refer

          3   to the engine because the engine is an economical, fuel-efficient, more environmentally friendly

          4   3.0 liter diesel engine.” Unitek Solvent Services, Inc. v. Chrysler Group, LLC. No. I:l2-cv-

          5   00794, Dkt. 86-35 at ^ 8 (June 4, 2013). He further explained that “Chrysler [also] based its

          6   decision to use the descriptive terms ‘eco’ and ‘ecodiesel’ on the fact that numerous third parties

          7   in a variety of industries use the term ‘eco’ to describe ecologically or environmentally friendly

          8   products or services that have been developed to reduce carbon emission, energy consumption,

          9   or otherwise preserver the environment.”/^/. at T| 10.

         10          158.      Many additional documents confirm that FCA intended the name “EcoDiesel”
o        11   and the EcoDiesel badge to convey both environmental friendliness and fuel economy. A
C=
tsJ 5
         12   September 2013 press release, for example, included a heading entitled “Putting the ‘Eco’ in
Q ^
         13   EcoDiesel” under which it claimed that “[t]he new EcoDiesel V6 achieves 50-state emissions
Si
cq -i    14   compliance for both tier II and BIN 5.” FCA-MDL-000519022-24 (emphasis in original). In

sl
a 2      15   other words, the “Eco” in EcoDiesel means not just environmental friendliness, generally, but
j i
51       16   also emissions compliance, specifically.
si       17          159.      A later Ram press release entitled “Ram has ‘turned up the ECO’ on full-size
O
O             truck MPGs ... to 29” further demonstrates that the “Eco” in EcoDiesel also refers to fuel
         18

         19   economy. FCA-MDL-001344885-86; FCA-MDL-001401873.

         20          160.      Again, the EcoDiesel badge was placed prominently on every single Subject

         21   Vehicle,   and    the   word   “EcoDiesel”   was    used   in   virtually   every   consumer-facing

    I    22   communication.

         23          161.      That word and badge represented to consumers that the Subject Vehicles were

         24   environmentally friendly and fuel efficient. Both representations, it turns out, were based on a

         25   lie: the Subject Vehicles were not, in fact, environmentally friendly, and could achieve their

         26   fuel economy only through concealed emissions apparatuses that caused the vehicles to pollute

         27   excessively in real-world driving conditions.

         28

                                                                 100
                                                  COMPLAINT FOR DAMAGES                   Exhibit B, Page 112
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 104 of 177 Page ID #:118




                 c.    FCA Misrepresents the Subject Vehicles to Consumers in a Consistent and

          2            Pervasive Marketing Campaign

          3           162.   FCA’s misleading representations about the Subject Vehicles, including their

          4   purported “green” credentials, superior fuel economy, and other performance characteristics

          5   were not limited to EcoDiesel badge. Indeed, FCA engaged in a full court press to market the

          6   Subject Vehicles, and to communicate to consumers the purported benefits of the EcoDiesel

          7   engine. These communication efforts included, among other things: (1) press releases aimed at

          8   generating positive news articles about the EcoDiesel attributes; (2) comprehensive dealer

          9   training materials that taught dealers how to sell the Subject Vehicles with false and misleading

         10   misrepresentations; (3) vehicle brochures disseminated at dealerships and elsewhere; (4)
u        II   information and interactive features on FCA’s websites and blogs; and (5) print and television

fcj 3
         12   marketing.
11       13      1)    Press Releases and Media Communications
Si
cc s     14           163.   As early as 2013, FCA began issuing press releases that were sent directly to

         15   consumers and were also intended to generate consumer-facing articles and reviews about the
cc       16   EcoDiesel engine. There are many such examples. A representative sampling includes:
w z

         17           a) January 2013 press release announcing a “new, clean, 3.0-liter EcoDiesel V-6
o                        engine” in the Jeep Grand Cherokee. The release touts the “30 mpg highway with
o        18              driving range of more than 730 miles,” and the “class- leading 240 horsepower and
                         massive 4201b.-ft of torque.” Notably, it also states that the “Selective Catalytic
         19              Reduction (SCR) help[s] the new engine” be “clean” and “50-state legal.” FCA-
                         MDL-OOI134988-90.
         20
                      b) An October 2013 press release notifying the media that the “[n]ew 2014 Jeep Grand
         21              Cherokee EcoDiesel wins ‘Green’ category” of the 2014 Active Lifestyle Vehicle
                         Awards. The release claims the Jeep EcoDiesel includes “clean-diesel technology”
         22              and delivers “best-in-class fuel economy and driving range.” FCA-MDL-
                         000519206-07.
         23
                      c) A February 2014 press release proclaiming that the “2014 Ram 1500 EcoDiesel sets
         24              new fuel-economy benchmark of 28 MPG.” The release repeatedly touts the
                         EcoDiesel’s fuel economy and claims that its SCR and EGR systems—both of which
         25              were compromised by the AECDs described herein—“contribute to 50-state
                         compliance with Tier2/Bin 5 emissions regulations.” FCA-MDL-001142520-21.
         26
                      d) A November 2014 press release announcing that the “Ram 1500 EcoDiesel [was]
         27              named 2015 Green Truck of the Year by Green Car Journal.” The release states that
                         the “Ram 1500 delivers an outstanding combination of best-in-class fuel efficiency,
         28              unsurpassed torque and a surplus of towing capacity.” It also quotes the editor of

                                                              101
                                                 COMPLAINT FOR DAMAGES                Exhibit B, Page 113
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 105 of 177 Page ID #:119




                            Green Car Journal who noted that ”[l]he Ram 1500 EcoDiesel exemplifies what a
                            ‘green* truck should be.” l-CA-MDL-000519290-01.

          2           e) A January 2015 press release announcing that the “Jeep Grand Cherokee EcoDiesel
                         [was] named 2015 Green SUV of the Year by Green Car Journal.” The release again
          3              boasts the EcoDiesePs “best-in-class” fuel economy, “untouched” range, “class­
                         leading” horsepower, “massive” torque, and its “clean-diesel technology.” FCA-
          4              MDL-001377187-88
          5
                      f)    A November 2016 press release boasting “best-in-class fuel economy and longest
                            range with exclusive EcoDiesel - 29 mpg and 754 miles with Ram 1500.” FCA-
          6                 MDL-OOI185732-34.
          7           164.     Notably, Marchionne himself was asked to approve, and did approve, a draft
          8   press release from February 2013 announcing that “Ram [was the] first to build light-duty diesel
          9   pickup.” The release promoted an “outstanding combination of best-in-class fuel efficiency,
         10   best-in-class torque and impressive capability.” It also stated that the “EcoDiesel . . . emissions
o        11   are 60 percent less than those produced by diesel powertrains 25 years ago.” FCA-MDL-
< z

    <    12   001367858-59.
11       13           165.     In some instances, these press releases were sent directly to consumers in “hand
i
CC a     14   raiser” communications, as evidenced by a 2014 email to a prospective customer. That email
         15   “thanks [the prospective customer] for asking about the 2014 Ram 1500 EcoDiesel,”—which it
Si
         16
“I            says is “capable, efficient, and easy on the environment”—and links to a Ram “press release for
§1
c/5 C:   17   more information.” FCA-MDL-001180641.
z. ~
o
o        18           166.      Even when not sent directly to consumers, all the press releases—and the

         19   consistent representations about environmental friendliness, fuel economy, and performance
         20   contained in them—were intended to, and did in fact, result in significant buzz and media
         21   attention for the EcoDiesel vehicles, to which Plaintiffs were exposed. The representations that
         22   resulted were false (because the vehicles contained concealed components that compromised

         23   the emissions control systems in real-world driving conditions) and deceptive (because the
         24   vehicles could not perform as represented without the concealed emission control components).

         25      2)        Dealer Training Materials

         26           167.     As noted above, FCA disseminated to its dealers comprehensive training

         27   materials to help them communicate the purported EcoDiesel attributes to consumers, and

         28   ultimately, to sell more Subject Vehicles. Those materials consistently emphasized the

                                                               102
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 114
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 106 of 177 Page ID #:120




               (supposed) environmental friendliness, fuel efficiency, and power of the EcoDiesel engine,

           2   among other attributes.

           3           168.   Ram, for example, held a “targeted in-dealership training" through its dealer-

           4   focused “Chrysler Academy” and disseminated an accompanying “participant reference guide.”

           5   The document explains that the training is “focuse[d] on features of Ram 1500 and will help

           6   you sell down your 2014 model year vehicles while it also helps you prepare for the 2015s.”

           7   This training document includes an entire section on EcoDiesel, and as discussed above, it

           8   addresses the “common misconception” that “[d]iesels are dirty” and instructs that “Diesel

           9   Exhaust Fluid (DEF) and Selective Catalyst Reduction lower the exhaust emissions of diesel

          10   engines.” Then, answering the question “How clean is the 3.0L EcoDiesel V6?” the guide
u         II   explains that “[o]ur EcoDiesel runs extremely clean.” It also stales that the engine “[c]omplies
an
          12   with all diesel-related emissions standards,” and notes that selling points of the diesel include

gi        13   its “Fuel efficiency,” “Power (Torque),” and “Quality, Reliability and Durability (QRD).”
sI
X. 2      14   Finally, the guide includes an “in the media section” highlighting positive reviews and articles.
J t
1 «s
O         15   FCA-MDL-000517194-245.
a i
h4   i
          16          169.    Jeep held a similar Chrysler Academy event for dealers and also disseminated an

^3        17   accompanying “product reference guide” with eight pages devoted exclusively to the EcoDiesel
o
u         18   engine. FCA-MDL-000518573-620. As with the Ram guide, the Jeep guide addresses the dirty

          19   diesel stigma, and offers selling points to rebut it. The guide explains that the EcoDiesel engine

          20   exhibits “confident power, surprisingly clean operation” and claims that “it is going to convert

          21   a host of new customers to the impressive benefits of pulse-quickening acceleration and

          22   efficient and ecological clean diesel operation.” It highlights the “clean operation and effective

          23   emissions control,” specifically noting that the SCR and EGR systems combine to mitigate NOx

          24   and produce “clean diesel operation.” Finally, as shown below, it includes a “Key messages”

          25   section emphasizing the importance of fuel efficiency, “clean operation,” and “torque”:

          26
          27

          28

                                                                103
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 115
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 107 of 177 Page ID #:121




                  DIRTY POLLUTER? - EXACTLY THE OPPOSITE - CLEANER AND MORE
                  ECOLOGICAL THAN GASOLINE ENGINES
          2
                --Today’s clean dieael technology la:
          3       • 30% more fuel efficient than its gasoline counteipart
                  • Produces around 26% less cart>on dioxide (C02)
          4
                  • Generates over 96% fewer emissions than the diesel engines of 1990s
          5

          6

          7

          8

          9
                    2. Diesel engines offer clean operation v^th typically 25% less emissions than a gasoline engine
         10
o        11
< z
ui 3     12
Q ^
St       13
                   The 3.0L EcoDiese) V6 provides all these benefits at superb levels compared to the other diesel engines avaBaUe In the SUV segmend
    I    14
    i
< &
Hi§      15
         16   These themes are echoed almost verbatim in another, 13-page Chrysler Academy “Product
LJ .0



         17   Brief’ focused exclusively on the EcoDiesel engine. FCA-MDL-001183753-65. As shown
o
o        18   below, that product brief includes almost identical “key messages for your prospects,” and notes

         19   that the engine is “surprisingly responsible in view of ecological concerns.”

         20

         21

         22

         23

         24

         25

         26

         27

         28

                                                                                  104
                                                              COMPLAINT FOR DAMAGES                                 Exhibit B, Page 116
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 108 of 177 Page ID #:122




            2

            3             :'                 STOUlECODiESEU
                                                                    [rIbEIrE^ mim                                                                                         -■-i
            4

            5
                      TODAY’S DIESEL TECHNOLOGY
                      Buyers can be resistant to consider a diesel purchase due to several perceptions that are r>o longer true with
                      today's modern high-pressure, direct-injectlon diesel technology.
            6
                                  ..OLD THOUGHT                      NEV; REALITY
                                                                                                                                       :< Tr«rM%i*4» tri r
            7
                                                                     Actually, today's diesets itiOt modem technology produce Mgh torque for their displacenient
                                                                     size compared to gasoline engines. A general Industry nde of thimb b that a diesel enj^ne of
            8                    OlESaS HAVE POOR
                                                                     the same size wfli generate 90% nwe torque over its gasoline-powered counterpart And, since
                                   PERFORMANCE
                                                                     torqne b mhat g^ the vehicle moving, diesel vtfrfcfes offer outstanding acceleradon. Diesel
                                                                     torque output b oftEO espedally toqiresstve for the SO-70 mph bursts Out many drivers use to
            9                                                        pass or enter freewsys.

           10
                                                                     VfiQi common rail, h^^t-pressure direct injection (both pioneered by FIAT Power train), diesel
                                                                     en(^nes now "puiT" siiTiitar to gasoHne power plaats. In fact, the finest high-end tuniry vehicles
O                              DIESELS ARE TOO LOUD
CiH        II                       AND SMELLY
                                                                     ofren»J interaationaly^ os well os in North America, commonly bictude a diesel cngirM opOon and/
                                                                     or model Reganlbig edem modem rflesel technology has minimized the once-noficeabte odors
c=                                                                   generated.
in         12
Q ^                                                                  White strict envinaunentaiists are not happy with any Intonai combusSon engine) diesel engines
w f        13                                                        ore surprfsingty responsibke In view of eeol^icai concerns. The modem diesel is typIcaBy 30%
S     I                                                              more fuel efficient than Its gasoline counterpart and produces anund 25% lest eaihon dioxide
P?    i                          DIESELS ME FILTHY                   <COZ). Prospeeb should know that today's dean cBesei ermine generates over gs% fewer
           14                                                        emissiora than the diesei engine of 1990. Studies show that a modem 2i)-liter diesel engine
J     i                                                              would have to idle tor 100 mfaiutes to produce same amount of fine particulates generated by one
<     &                                                              bomlng dgaretto.
           15
hJ    i
S|         16            KEY MESSAGES FOR Y6UR"PftOSF6CTS"‘

ii         17           1. Today's diesel engkiw help conserve Icssli fuel resources wHh a 30% reduction In fuel consumption versus ■ gasdlne engine.

O
O                       2. Diesel engbtes offer dean operation with typicaliy 2S% less embsloas than a gasoline engine.
           18
                        3. Diesel engines ire fisi to drive by offering 50% more torque than a comparable gasotkie engine.
           19
                                                         TheS.OL EcoOiescI V6 provides all these benefits at superb levels compared to ’
           20         ir»wiii-i I 1." I.)        in i.nvUS'*- il>
                                                                   Uie ullier dievel engines available in the SUV ^gmentl              "h.n(




           21

           22           170.                Yet another Chrysler Academy “Web Launch” training session explains that its

           23   purpose was “to help participants” better understand the vehicles and, critically, to

           24   “[ujunderstand elements for effective presentations to shoppers.” It includes similar language

           25   about fuel economy, power, and environmental friendliness. It also explains that “for buyers

           26   who respect the environment, they should know this is a very clean diesel ... very green without

           27   question.” FCA-MDL-001183766-901.

           28           171.                These are but a few examples that highlight the comprehensive training that FCA

                                                                                                   105
                                                                             COMPLAINT FOR DAMAGES
                                                                                                                                        Exhibit B, Page 117
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 109 of 177 Page ID #:123




               provided for its dealers. The objective of these trainings was to arm the dealers with selling

           2   points that they could relay to consumers—and they did just that. For the Subject Vehicles, the

           3   consistent selling point was the no-compromise combination of fuel efficiency, environmental

           4   friendliness, and power. This selling point was false (because the vehicles contained concealed

           5   components that compromised the emissions control systems in real-world driving conditions)

           6   and deceptive (because the vehicles could not perform as represented without the concealed

           7   emission control components).

           $      3)    Vehicle Brochures

           9           172.   FCA also communicated directly with consumers through its vehicle brochures,

          10   available both online and at the dealerships. These brochures are chock full of representations
u         11   about the EcoDiesel engine’s purported fuel economy, environmental friendliness, and power.
Sh
<=i
          12           173.   The brochure for the 2014 Jeep Grand Cherokee, for example, devotes an entire
5U X^     13   page to the EcoDiesel engine. That page depicts the EcoDiesel badge and also an image of the
S 5
Ki        14   engine with a green leaf on top. It states that the engine achieves “best-in class: 30 MPG fuel
< Ii           economy[,] 730-mile driving range[,] 420 Ib-ft of torque[, and] 7400-lb maximum towing.” The
u %       15
CC I      16   document further claims that “its reduced C02 emissions display reverence for the

          17   environment” and even goes so far as to state that ''[pjroudly, the EcoDiesel meets and even
o
u         1$   exceeds the low emissions requirements in all 50 states^ (Emphasis added.) Excerpts from the

          19   two-page brochure spread are shown below:

         20

         21

         22

         23

         24

         25

         26

         27

          28

                                                              106
                                                 COMPLAINT FOR DAMAGES               Exhibit B, Page 118
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 110 of 177 Page ID #:124




           2

           3                 5 <1 L        'v. H,     E N   I N r.

           4

           5
                         BEST-IN-CLASS:
           6
                             30 MPG
           7

           8              730-MILE                                        /
                             ■   l\ l'..     t .V-.


           9

          10
                         420 LB-FT                                   Y1   ^
                                                                                        s
                                                                                        .N
u
&H        II              7,400-LB                                                  I
          12
     .y
Q ^
W i       13
s s
                        Thirty miles per gallon? True story. Grand Cherokee's new, available,
«^        14
^i
< &
                        3.0L EcoDiesel V6 engine delivers best-in-class economies* that treat
o «
W 51      '5            your fuel budget with respect, while its reduced CO, emissions display
^i
ii        16            reverence for the environment. Proudly, the EcoDiesel. meets and even
                         exceeds the low emissions requirements in ail 50 states. Best-in-class fuel
c/) Z     17
     -                  economy* arrives with an estimated 22 city/30 hwy mpg“ and a driving
O
CJ
          18            range of more than 730 highway miles per tank! That’s because, compared
                        to gasoline, a gallon of diesel fuel converts to a greater amount of
          19
                        useable energy. So you can leave Detroit. Ml. with a full tank and arrive
          20            in New York City without ever stopping to refuel. And with its command

          21            of 240 hp and a hefty 420 Ib-ft of torque, the EcoDiesel provides a surge
                        of towing strength that can haul up to 7.400 lb when properly equipped.
          22
                        Stats so good, they're worth repeating every chance you get.
          23

          24          174.       The 2015 brochure makes similar claims. It again features the EcoDiesel badge

          25   and environmental imagery. And it again boasts “best-in-class ... 30 hwy mpg fuel economy”

          26   and “a driving range of 730 highway miles.” It also states that the vehicles are “clean” and 50-

          27   state compliant, and even opens with this environmentally-focused introduction: “Love the

          28   planet along with great fuel economy? Then the Jeep Brand’s Diesel engine will ring true. It

                                                                              107
                                                                     COMPLAINT FOR DAMAGES   Exhibit B, Page 119
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 111 of 177 Page ID #:125




               lets you adhere to your principles and get extra points for embracing innovative technology.”

           2

           3

           4                                    3.0L'Ve            ENGINE

           5                           LOVE THE PLANET ALONG WITH GREAT FUEL
                                               - 4R
                                       ECONOMY? THEN THE JEEP, BRAND'S DIESEL
           6                                   ’V.           -                .         '   -
                                       ENGINE WILL RING TRUE. IT LETS YOU ADHERE

           7                           TO YOUR.PRINCIPLES AND GET EXTRA POINTS

                                      -FOR EMBRACING INNOVATIVE TECHNOLOGY.



           9                           CFfICIENCY Best-in-class= fuel economy arrives with an
                                  -    estimated 22 citv/30 hwy mpg.'*' Plus, go farther
          10                           betv.'een fill-ups and farther on every full lank with
                         , I'
                                  '    a driving range of 730 highway miles.^
u         11
P-i
<r.                  >                 PERFORMANCE Awe-inspiring performance comes
          12                                      of 240 hp and a hefty 420 Ib-ft of torque,
fii 3
Q ^                 ;^^&r£;,^^provldfno a surge of towing strength that can
W X       13                    '^’^'--'hatil up to 7,400 lb when properly equipped.
aj
B‘ I
-1 ^
     &
          14
                    mi           ^j'^^CLEAN A marvel of modern engineering, with a block
                                       made of compacted graphite iron and aluminum                   - t-
O y       15
W ?                             ^;ip!£j?^t*.vln cam heads, the engine delivers quiet.
h45                                       \•
                    j^’5f^^>2^*5an*djesel technology with low CO^ emissions
w ^       16                           thbt*exceed requirements In all 50 states.
gs        17
o
u         18             175.         The 2016 brochure also features the EcoDiesel badge, and touts best-in-class fuel

          19   economy, range, horsepower, and torque. And it too states that “[t]he EcoDiesel exceeds the

         20    low- emissions requirements in all 50-states”:

         21

         22

         23.

         24

         25

         26

         27

         28

                                                                       108
                                                          COMPLAINT FOR DAMAGES                 Exhibit B, Page 120
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 112 of 177 Page ID #:126




                        9m:^r~maB^^m»swm
          2

          3             Pisaii^iEsi^Nffiwi^spjMiiia
          4

          5
          6
          7

          8

          9
         10
u        11
    =
cn'S’
         12
w 3
5 3                                                                                      ai
a I      13
S 5
w@
Ki       14
a^
< &n
O
31
         is
                                           r5i'wK==|l^T'.i’j4t,‘SrS:"(i^   s?
                                                                                M
                                                                                ilj;a&g~t&1

gi
«■ ^
         16
in Z     17          176.    The Ram 1500 brochures make similar claims. Like the Jeep Brochures, the 2014
Z. ~
o
o        18   Rani 1500 brochure devotes an entire page to the EcoDiesel engine, depicts the EcoDiesel
         19   badge, and repeatedly touts the truck’s “best-in-class” fuel economy and “impressive” range. It
        20    also boasts that the truck is “clean by nature” with “minimal C02 levels” and a “[t]op-notch
        21    DEF system.”
        22           177.    The 2015 brochure also advertises “top-tier mpg ratings,” “superb driving range
        23. .^and^besUin=class:28-mpg_hi£hwav,!l.and_claims the truck is “clean by nature” .with “minimal'

        24    C02 levels” and a “zero-hassle DEF system.”
        25           178.    The 2016 brochure boasts “best-in-class 29 mpg highway fuel economy,” “up to
        26    754-mile range,” “240 horsepower,” “420 Ib-ft of torque,” “minimal C02 levels” and a “zero-
        27    hassle DEF system.”
        28           179.    The brochures are tied together by common themes and sometimes identical

                                                             109
                                                    COMPLAINT FOR DAMAGES                     Exhibit B, Page 121
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 113 of 177 Page ID #:127




               language. The key representations made throughout were that the Subject Vehicles delivered a

           2   no-compromise combination of fuel efficiency, environmental friendliness, and performance.

           3   Those representations were false (because the vehicles contained concealed components that

           4   compromised the emissions control systems in real-world driving conditions) and deceptive

           5   (because the vehicles could not perform as represented without the concealed emission control

           6   components).

           7       4)    FCA Website

           8            180.       FCA hosted a number of blogs and websites that promoted the EcoDiesel

           9   technology, including the official Ram and Jeep websites, which many named Plaintiffs visited

          10   before making their purchase/lease decisions. Both company sites reiterated FCA’s consistent
o         II   messaging for the Subject Vehicles—i.e., that they were clean, fuel efficient, and high
0^

w 5
          12   performing.
Q ^
W X
     >    13
                                                                               'V'
Cd 0
KS        14
<&             k--*'                                •.n-                                                    - V

                               ‘ w
O N
w i§      15

wp        16
                                            ^              UNDISCOVERED                                                                      ^■1
                                                                                                                                                       \
                                                                                                                                                                Iw •

                                                                                                                                                           r.
          17                                    Forget everything you thought you knew about diesel. The all-new Jeep«
Q                              —        ^coOieset engine ofTers innovative technology that Is efTiclent, increases range                           '
U         18                                       and iiripu^yes powei - ell v/hile leaving lihle trace of being there.


          19

          20                       f
                                                                          Or scroll to experience how the new
                                                                  EcoDiesel engine can help you discover more.

          21
                                                       £cca;:s!i' rc-.v ova-   ct iro 20!-l         MSfip- Sli-t.rg at
                                       ir              Jeep* Grand Cherokee                         $40,595
                                                                                                                         G-JiiSv.Ma'sttei;
          22

          23

          24            181.       A February 9, 2014, capture of the Jeep website, for example, includes a diesel

          25   tab, under which it displays the EcoDiesel badge and tells viewers to “[fjorget everything you

          26   thought you knew about diesel. The all-new jeep EcoDiesel engine offers innovative technology

          27   that is efficient, increases range, and improves power - all while leaving little trace of being

          28

                                                                                              110
                                                                          COMPLAINT FOR DAMAGES                                         Exhibit B, Page 122
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 114 of 177 Page ID #:128




                there. m4I

            2            182..   The Jeep website also includes separate pages featuring its supposed “Best-in-

            3   Class maximum towing capacity,” “incredible 730-mile highway driving range,” and “superior

            4   fuel economy.” As to fuel economy, the website also includes (and has included since at least

            5   2014) a “savings calculator” that allows consumers to enter their miles driven per day and then

            6   calculates their annual fuel savings using “Clean Diesel.”'*^

            7

            8

            9

           10
u          11
|2h
C z
           12
w3
5^         13

■Si        14

           15
J i
gi         16
35
           17
o
o          18

           19

           20

           21

           22

           23

           24

           25

           26
                41                                          Available                                      at:
           27   http://web.archive.org/web/20l40209113901/http://m.jeep.com/en/jeep_capabilities/eco-
                diesel-calcu!aior/#introduction (last visited April 19, 2018).
           28       Available at: https://m.jeep.com/en/jeep_capabilities/eco-diesel-calculator/#savings (last
                visited April 19, 2018).

                                                    COMPLAINT FOR DAMAGES              Exhibit B, Page 123
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 115 of 177 Page ID #:129




                                                                           SAVINGS
                                                                                                                                               /•         ;
           2                                       DISCOVERED
           3                    Ty

                                Thte e^Tcient ond dt^ebl* 3.0C EooOiesel VO grtgine '•vi[l_(^p          bovo   monisy at       purrp end
           4                                        providois greatar mal^eoancslmorvals fct fawertunA-tjps. ''                            '
                                              Did vve mendon (ow CO .7.«raiMiI(V<*Z.OaKJk>tf>is.o« Uib parfsaangine?


           5
                                                                                                                                                          m
           6

           7

           8                                                  Savings Calculator
                                 (<^ot only fioae the 3.01. EcoDlesel engine prvnde superior fuel economy*, but youHD also go

           9                         fontwr becwreen-fll-ups. Enter your aoOy commute in the box below to dtecover bow much
                                       tirne artd rhoneyyou could save ' If you chose dean dtosel fiiei ouer regular gasolrte.


          10                               Enter your commute to discover how much you could save:

U         11
< z                                                           B|4 O
 5-S
V5        12
« 5                                                                        MUSS       Day

Q ^
          13                      Your Mileage                                                                 Fuel Costs^
« $                 PAxgjd on your                                   :d                              rora          tfote 9w >wng.T ca^eutatien.
£C i      14
n
                             VOVMrecUy and arwmiel Tnlleage* '                                        enter you» Aoeal pn^r»g Irformet^om


                      Weetdy                            Annually                                Gesotine                               Diesel
          15
St                   280                            1 4.600                             'im      3          8 3                       3           9   4
11        16             MUos                              MOc*
                                                                                            *ajr>'
                                                                                                                                       Per* Gallon



D -
-2        17                                            With Clean Diesel, You Save’’
.O
o                                                                         VouarN** opproxfrnately^'OOO miles a year. You need an
          18
                                $     1.098                                er>gFn*tt>at Qonla?ep up vritnyoLS busy ttfastyle. The 3:01.
                                                                           EeoOtesel VS.englr>e will take you farther, for lece.

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28

                                                                                  112
                                                                 COMPLAINT FOR DAMAGES                                  Exhibit B, Page 124
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 116 of 177 Page ID #:130




                            183.       Ram’s website made similar representations, touting the fuel economy,

           2   horsepower, torque, and towing capacity of the EcoDiesel engine, and claiming that it was

           3   “[ejquipped with a diesel oxidation catalyst, diesel particulate filter and selective catalyst

           4   reduction so it is emissions-compliant in all 50-states.

           5
               'j
           6
                    STRENGTH .MEETS; EFFICUNCY'
           7
                    3.0L ECODIESEL V6 ENGINE
           8        Tne available-S.pL Ecppi^I VS ^Irie: one of the'n^ a^ncM
                             tiuck.ehgjnes vreSre,e>^ iiullL;
           9
                    • F^odwes 240 horsepower and ah exc eptional             ^ tb^ue -
                    • Equipped with'a'dleselo^ddatibn catalysL'dlesel paiii^a&Titter and-
          10
                      elective catalyst reduction.soJVis erniision^ompDant in all 50 states'

a.        11

ai        12

ii
a ?
          13
                                                                                                  21 MPG
                                                                                                     CITY
                                                                                                         : 291^
Cr3 £     14
^ i
<&
a 5       15
                        H0RSCPdWC%2A0                    I TPRQUE420i^rr | TOWING 9;210 Lsr           PAYLOAD 1,600 iBsr
J ^
cc £      16
wI
3S
c/> 5:
     “
          17               184.        Like Jeep, Ram also included a fuel savings calculator, as well as graphics
O
          18   comparing the best-in-class fuel economy to the competition:'’*’

          19
         20

         21

         22

         23

         24
               43
                                                           Available                                   at:
         25    http://web.archive.org/web/20160316042712/http://www.ramtrucks.com/en/ram
               1500/capability           /#link-3          (March       2016           web       archive);
         26    http://web.archive.org/web/20150215044120/http://                           www.ramtrucks.
               com:80/en/ram_1500/capabil ity#link-3 (Feb. 2015 web archive); http://web.archive.org/web/
         27    20140214053830 /http://www.ramtrucks.com:80/en/ram_1500/capabil ity/#link-3 (Feb. 2014
               web archive) (all visited last on April 19, 2018).
         28       FCA-MDL-OOl 184455-62; EcoDiesel - Ram 1500 HFE, Ram Trucks (FCA), available at
               https://www.ram trucks.com/en/ecodiesel/ (last accessed July 19, 2017).
                                                                                           ] 13

                                                                       COMPLAINT FOR DAMAGES          Exhibit B, Page 125
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 117 of 177 Page ID #:131




                                                                                                                 -   * ;c
                                                                                    A                    <       • V        j
           2                                                                                             a


                                                                                                         a
           3                                                                                                         .‘.4




           4                                                                INCNEV^ imTS25,550 MILS
           5
                                                                                            LPTD
           6       ' »-. >-
           7

           8
           9
          10
u         11
CL

2-3       '2
                                                                  V
li        13
§I
CC £      14
3|        15
                                MORE MILES PER GAUON
w 5                             Tfie best fuel economy cf any full-size pickup^

          16
                                   (UmlMOKrt
cn 5:     17                       3Qi,EaDMMiV6e<3ie<tt3
2C "
o
u         18
                                  (a3fe2i>;.
          19
          20
                                                                                  ^Las^          ^
          21
                                  aaet®
          22

          23                                                      'J                  iP             K       U

               !                                                                     uus
          24

          25
          26                  185.       FCA made many similar representations throughout the many websites it
          27   operated, including but not limited to the following:
          28                  a) The EcoDiesel engine is designed for those “who want to drive an efficient,

                                                                                           114
                                                                              COMPLAINT FOR DAMAGES          Exhibit B, Page 126
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 118 of 177 Page ID #:132




                          environmentally friendly truck without sacrificing capability or performance. 5s45
           I
                       b) The Ram 1500 EcoDiesel is “the NAFTA market's first and only light-duty pickup
           2              powered by clean diesel technology."'’^

           3           c) “Thanks to advanced emissions-control technology . . . [EcoDieseFs] exhaust is
                          ultra-clean, making this engine available in all 50 states.”(ld.)
           4
                       d) “Equipped with a diesel oxidation catalyst, diesel particulate filter and selective
           5              catalyst reduction, the EcoDiesel® V6 engine will be emissions- compliant in all 50
                          states.”'’’
           6
                       e) “Chrysler Group engineers adapted the engine—manufactured by Fiat- owned V.M.
           7              Motor!—to meet the NAFTA region's stringent emissions and on-board diagnostic
                          regulations. The new EcoDiesel® V-6 is Tier 2/Bin 5 compliant.”'**
           8
                       f) The emissions on the EcoDiesel® engine data sheet meet Tier2 Bin5 requirements.'*^
           9
                       g) “[T]he Bosch emissions control system helps ensure that virtually no particulates
          10              and minimal oxides of nitrogen (NOx) exit the tailpipe.
o         11           186.   Many named Plaintiffs visited FCA’s websites to learn about the Subject
< z
          12   Vehicles. On those websites, as in all the other ways FCA communicated to consumers, FCA’s
w5
Q ^
          13   message was clear and consistent: the EcoDiesel engine delivers a no-compromise package of
w    I
cc   S    14   fuel economy, range, performance, and environmental-friendliness. Those representations were
J    t
q    y    15   false (because the vehicles contained concealed components that compromised the emissions
J    i
a:   S    16   control systems in real-world driving conditions) and deceptive (because the vehicles could not
uI
3^
gS        17   perform as represented without the concealed emission control components).
O
o         18      5)    Print and Television Media

          19           187.   FCA reiterated its consistent representations—particularly the fuel economy

          20   representations—through print media and television commercials.

          21           188.   The print ad campaign was robust. One FCA-produced document identifies over

          22   '*^The 2014 Ram 1500 with EcoDiesel Engine, Available Soon at a Dealer Near You, Ram Zone
               (Ram         trucks     blog    operated     by     FCA      US      LLC)      (July      16,
          23   2013),https://blog.ramtrucks.com/features/the-2014-ram-     1500     -with-ecodiesel-engine-
               available-soon-at- a-dealer-near-you/.
          24        Chrysler Group’s 3.0-liter EcoDiesel V-6, 500e Battery-Electric Drive System Among
                Ward’s 10 Best Engines for 2014, Chrysler Group LLC (FCA) (Dec. 12, 2013),
          25   http://www.fcanorth              america.com/News/              ChryslerDocuments/Chrysler
               GroupLLC_Susiain2013Decl2.pdf (emphasis added).
          26   “*’ The 2014 Ram 1500 with EcoDiesel Engine, Available Soon at a Dealer Near You, supra note
               47.
          27   48
                    Chrysler Group’s 3.0-liter EcoDiesel V-6, 500e Battery-Electric Drive System Among
                Ward’s 10 Best Engines for 2014, supra note 48.
          28       EcoDiesel: An Essential Tool for Every Outdoorsman, supra note 39.
                   Id., supra note 39.
                                                               115
                                                  COMPLAINT FOR DAMAGES               Exhibit B, Page 127
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 119 of 177 Page ID #:133




                250 Ram print ad buys in several dozen publications from June 2014 to October 2016. FCA-

            2   MDL-000519349. Another document shows expenditures of almost $300,000 to place Jeep

            3   EcoDiesel print ads in a variety of magazines in June through August 2013. FCA-MDL-

            4   001360559. Yet another document identifies additional ad buys for 14 newspapers across the

            5   country. FCA-MDL-000519351.

            6          189.   Critically, virtually all of the print ads for the Subject Vehicles contain the same

            7   or similar relevant representations, including: (1) the word “EcoDiesel” and/or the EcoDiesel

            8   badge, and (2) fuel economy claims such as specific MPG ratings, “most fuel efficient,” and

            9   “best-in- class” fuel economy. Three illustrative examples, one for the Jeep Grand Cherokee

           10   Subject Vehicles and two for the Ram 1500 Subject Vehicles, are shown below:
cj
CL         II

W) S       12
M5
a i
W i        13
S C
M {5
«s   ..t   14
-j s

u I        >5
Ji
           16
gs
-2         17
o
u          18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

                                                                116
                                                  COMPLAINT FOR DAMAGES                 Exhibit B, Page 128
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 120 of 177 Page ID #:134




            2

            3

            4

            5

            6

            7

            8

            9

           10
o          1]


Si
Q
           12
                                                                                         <•
W f        13
a
                                                                                      '■M
           14       NOW WITH A BEST-IN-CLASS 30 HVVY MPG ANO A 730-MILE DRIVING RANGE!
                            .   THANKS TO ITS NEW, AVAILABLE ECODIESEL VG,               %.
           15
                     ANOTHER POWERFUL INNOVaXTION FROM THE MOST AWARDED SUV EVER:‘ .
      X
           16
«l
S
                                                           . -a-

D -
cn S       17
?r;
o
u          18

           19

           20

           21

           22

           23

           24

           25

           26

           27

           28

                                                    117
                                          COMPLAINT FOR DAMAGES
                                                                      Exhibit B, Page 129
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 121 of 177 Page ID #:135




            k'V>»i,“-..i >v.> ;-.»^nT4yA^A*A'iJ^\
       2

       3
                  f^-. —
       4
            "-;^.-vv^r*
       5    —- -^ rr


       6
       7
            Sb'
       8
                          i .   •;



       9
      !0
u     i]

      12
S5
Si    13
11    14

      15                                                 ^t« ftnM iwro
SI                        s
                          i                             fC00IESEl
“I
p
<52
      16

      17
                          1
                                                                               mSst
o
      18
                                          THE MORLD'S

                                          IlIrlFFICIliT
                                     r                                                           t
      19                                                                                         u
                                     ft

      20                                            FULL SIZE PICKUP                        **
      21
                                                         GIIT8*GLDR!
      22                                                                 > j
                                                                          4"


      23                -?!
                                            ;^;f28i^                     420 l^lrT
                                                                             VQtnftm                       jr



                    »
                                                                                                     • r
      2'1

      25
      26
      27

      28

                                                                118
                                                     COMPLAINT FOR DAMAGES             Exhibit B, Page 130
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 122 of 177 Page ID #:136




         2

         3

         4

         5

         6

         7

         8
                                                             ^ 1 Ml
         9                                                                          m
                                                                                     \ $
        10                                                                          11   i

u       11                                                                     IVliitiltf ’


1.S
CO 8    12
             /   y

U3 3
5W I^
        13
S 2
wi      14
o       15
w •:
hJ
05 P
W 3     16
gi      17
o
o       18

        19

        20

        21

        22

        23
                                       .1.-1,^ 77-->


        24

        25

        26

        27

        28

                                                       119
                                     COMPLAINT FOR DAMAGES      Exhibit B, Page 131
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 123 of 177 Page ID #:137




                    190.   The television commercial campaign was also extensive, and also conveyed

         2   consistent messages. One FCA document shows 17,595 discrete commercial buys between

         3   January 2014 and September 2016, including during prominent and widely-viewed programing.

         4   FCA-MDL-0005I9350.

         5          191.    Some examples of the relevant commercials (a portion of which are not included

         6   in the chart described above) include:

         7          a) A commercial entitled “West” that prominently features the EcoDiesel badge, and
                       promotes the Ram 1500 EcoDiesel’s “28 highway MPG” and “9,200 lbs towing.”
         8             FCA-MDL-000512961.
         9          b) A commercial entitled “Roar” that prominently features the EcoDiesel badge, and
                       promotes the Ram 1500 EcoDieseFs “28 highway MPG” and “420 Ib-ft torque.”
        10             FCA-MDL-000512962.
o       11
0-                  c) A commercial entitled “Runaway” that prominently features the EcoDiesel badge
<5 =                   and promotes the Jeep Grand Cherokee EcoDieseFs “best-in-class 30 MPG hwy”
        12             and “730-mile driving range.” FCA-MDL-000518756. Per the commercial buy
«5
Q ^                    document described above, this commercial ran approximately 1,000 times in
a X     13             January 2014.
s5
a ?
        14          d) A commercial entitled “Take Every Mile” that features the EcoDiesel badge and
ai
i 2n                   promotes the Jeep Grand Cherokee EcoDieseFs “730-mile driving range.” FCA-
O       15
a ?                    MDL-000518759. Per the commercial buy document described above, this
                       commercial ran approximately 400 times in two weeks in February 2016.
« I     16
Sl                  e) A commercial entitled “The Truth About Diesel” that “bust[s] some myths about
c/5 K   17             diesel engines,” including that “all SUVs get bad gas mileage, diesel engines are
Z. '
o                      dirty, and they run sluggish.” All three myths were “totally busted,” and the video
u       18             specifically boasts the Jeep Grand Cherokee EcoDieseFs “30 MPG and a 730-mile
                       driving range.” It also depicts a man “check[ing] the data” on the emissions from the
        19             tailpipe and remarking “Wow, the greenhouse gas emissions are lower than a regular
                       gasoline engine.” FCA-MDL-001418576.
        20
                    192.   Like the rest of FCA’s consumer communications, these commercials
        21
             represented that the Subject Vehicles were green (both through explicit representations and
        22
             depictions of the EcoDiesel name and badge) and fuel efficient. These representations were
        23
             pervasive and consistent. They were also false (because the vehicles contained concealed
        24
             components that compromised the emissions control systems in real-world driving conditions)
        25
             and deceptive (because the vehicles could not perform as represented without the concealed
        26
             emission control components).
        27
                    193.   The Defendants saw the EcoDiesel technology as a huge opportunity to increase
        28
             their sales and profits. They understood that to realize this goal, they would have to overcome
                                                            120
                                                COMPLAINT FOR DAMAGES              Exhibit B, Page 132
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 124 of 177 Page ID #:138




         1   the “dirty diesel" stigma, and convince consumers that the Subject Vehicles offered a no­

         2   compromise package of fuel efficiency, environmental friendliness, and power. FCA's efforts

         3   to communicate this message to consumers were far reaching and consistent. They were also

         4   false and deceptive.

         5           194.   Defendants had multiple opportunities, and obligations, throughout their

         6   marketing communications to disclose the uniform truth about the Subject Vehicles—namely,

         7   that all their emissions, fuel economy, and performance claims were predicated on concealed

         8   emissions control components and software that caused the Subject Vehicles to pollute

         9   excessively in real-world driving conditions. This uniform omission and unvarying concealment

        10   prevented any and all consumers from making a purchase based on all material facts.

Oh      11      D.    The Defendants Knew These Representations Were False and Misleading
<3 =
inrl’   12           195.   Unfortunately, the EcoDiesel technology did not work as represented. In
S3
o 3
M X     13   developing the Subject Vehicles, the Defendants came to understand that they could not make
W $
Ki      14   the vehicles environmentally friendly or “50-state compliant”—as they represented to

             consumers through consistent and pervasive communications—and that the vehicles could not

        16   achieve the fuel economy and performance that were central to FCA’s marketing efforts without
si
§^
        17   installing components and software that de-activated or reduced the emission control system
o
        18   during real-world driving conditions. The Defendants concealed this fact from regulators and

        19   consumers alike, and cheated Plaintiffs of the vehicles they thought they were buying.

        20           196.   The Defendants’ scheme focused on at least two of the emissions control systems

        21   in the Subject Vehicles—both of which FCA pitched to consumers as enablers of the Subject

        22   Vehicles purported “clean” operation: (1) the Exhaust Gas Recirculation (“EGR”) system and

        23   (2) the Selective Catalytic Reduction (“SCR”) system.

        24           197.   The EGR system reduces NOx in diesel emissions by lowering the temperature

        25   of the exhaust gas exiting the engine. The SCR system takes the NOx leftover from the EGR

        26   System and converts it into harmless nitrogen and water. Together, the EGR and SCR systems

        27   are vital to mitigating the pollution from the Subject Vehicles’ diesel emissions.

        28           198.   As identified in the EPA’s NOV, the Defendants installed a number of

                                                             121
                                                COMPLAINT FOR DAMAGES                Exhibit B, Page 133
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 125 of 177 Page ID #:139




            1   undisclosed auxiliary emission control devices (“AECDs”) in the Subject Vehicles that

            2   compromised the EGR and SCR systems and resulted in substantially increased NOx emissions

            3   during real-world driving conditions. As exemplified herein, the Defendants knew that these

            4   AECDs were not allowed, but that the Subject Vehicles could not achieve the fuel economy or

            5   performance that the Defendants marketed without them.

            6       1)    EGR AECD Strategy: EGR Rate Reduction

            7            199.   Burning diesel fuel creates NOx. The amount of NOx produced by a diesel

            8   vehicle is a function of temperature: the hotter the exhaust gas is when it exits the engine, the

            9   more NOx generated.

           10            200.   The EGR system minimizes NOx by lowering the temperature of the engine
o          II   exhaust through a recirculation process. The higher the rate of exhaust gas recirculation (the
Ph

"Ip
cn »       12   EGR rate), the lower the exhaust gas temperature. The lower the exhaust temperature, the lower
w5
5 3
« I        13   the NOx. But, critically, the higher the EGR rate in a vehicle, the worse fuel economy it
S 5
«I
K a  •.I
           14   achieves. Defendants employed the EGR AECDs in the Subject Vehicles to either reduce the
     z
< SIS
o          15   EGR rate or shut it off entirely, thereby artificially and secretly increasing the Subject Vehicles’
CC 5       16   fuel economy and drivability at the expense of increased NOx.
uI
           17            201.   One of the strategies Defendants used to reduce the EGR rate was through what
o
o          18   the ERA has named AECD 5, which detects the engine temperature in the Subject Vehicles and

           19   reduces the EGR rate during the vehicles’ “warm-up phase” (the phase when the engine is

           20   heating up after a cold start). The EPA described AECD 5 as “EGR rate reduction based on

           21   engine temperature model.” Defendants referred to it as “T_Eng” and various derivatives

           22   thereof (e.g., “t_engine” and “tEng”).

           23            202.   VM Motori knew as early as 2010 that T_Eng was an AECD that, if concealed,

           24   would be illegal. (FCA-MDL-000456083) In April 2010, a FCA powertrain division employee

           25   attempted to assure VM Motori’s Controls and Calibration Director, Sergio Pasini, that T_Eng

           26   did not employ “cycle detection”. FCA-MDL-000452591. “Cycle detection” refers to any

           27   mechanism that allows a vehicle to detect when it is undergoing regulatory emissions testing,

           28   and modify its emissions accordingly. But Pasini knew better. Just two months later, he told his

                                                                  122
                                                    COMPLAINT FOR DAMAGES                 Exhibit B, Page 134
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 126 of 177 Page ID #:140




           I   VM Motori colleagues, “the [EGR] rate will be managed mainly on t_engine which is, no matter

           2   what FIAT says, a cycle detection.” Id. VM Motori regularly admitted that the T_Eng function

           3   employed “cycle detection” (12/2011        correspondence—FCA-MDL-000168161); “cycle

           4   recognition” (1/2012 correspondence—FCA-MDL-000377513; FCA-MDL-000377513_TOOI

           5   (English translation)); and “cycle beating” (02/2013 correspondence—FCA-MDL-000430441-

           6   44; 06/2013—FCA-MDL-000295256). Pasini also understood that this AECD was not being

           7   disclosed to the EPA. FCA-MDL-000377499; FCA-MDL-000377499_T001-02 (English

           8   translation). In a May 2013 email, for example, Pasini told more than a dozen of his VM Motori

           9   colleagues that the T_Eng function was not active during emission testing and “has not been

          10   declared to regulators.” Id.
cj
          11          203.    FCA also knew that T_Eng was at an unacceptable AECD level, and critically,
<=
c/3
w3        12   all the Defendants understood that it was necessary to achieve the desired fuel economy. In
B ^
W i
  >       13   December 2011, VM Motori identified T_Eng as a “sort of ‘cycle detection” to increase fuel
w 5
0= a      14   economy (FCA-MDL-000168161) and said FCA gave them approval to use it (FCA-MDL-
< X
O y
      ^   15   000377211). In January 2012, FCA Executive Bob Lee connected T_Eng to FCA’s objective of

gl        16   achieving greater fuel economy in a presentation entitled “Fuel Economy Status Target.” FCA-

          17   MDL-OOOOOOI16. In February 2012, VM Motori directed Bosch to implement T_Eng, and told
o
o         18   Bosch that VM Motori would explain to FCA that T_Eng was ‘‘what you need ifyou want 30

          19   mpg.'^ FCA-MDL-0000I5652 (emphasis added). FCA later explored ideas to replace T_Eng

          20   with a different strategy, but it abandoned that process after VM Motori informed FCA’s Diesel

          21   Calibration Manager that the “F[uel] E[conomy] impact [of replacing T_Eng] is probably

          22   around 2 ntpg highway.'' FCA-MDL-000430044 (emphasis added). In an email sent the next

          23   day, VM Motori’s Emanuele Palma told colleagues that ''Chrysler knows tEng is the only way

          24   to get to 30 mpg, so don't worry about this topic.” Id. (emphasis added).

          25          204.    Like VM Motori and FCA, Bosch also knew that T_Eng was an AECD that likely

          26   qualified as “defeat device” under applicable regulations. FCA-MDL-000015652. In February

          27   2012, Bosch warned VM Motori that T_Eng is an emissions “defeat device” and that they risked

          28   “serious penalties” if regulators found T_Eng to be cycle detection. Id. VM Motori refused to

                                                          123
                                                 COMPLAINT FOR DAMAGES               Exhibit B, Page 135
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 127 of 177 Page ID #:141




              abandon T_Eng. however, and told Bosch “we are working closely with Chrysler [and] the
          2   feedback we’ve had so far about [using T_Eng] is positive.” Id. The same month, Bosch sought
          3   to limit its liability from VM Motori’s use of T_Eng, and even considered asking VM Motori
         4    to sign a risk release. RBL-MDL2777-PE-300402775-78. Yet, Bosch not only incorporated
          5   T_Eng into the emissions software for the Subject Vehicles (FCA-MDL-000351953), Bosch
         6    appears to have gone so far as to have advised VM Motori not to disclose T_Eng to regulators,
         7    if it planned to use the function (see, e.g., RBL-MDL2777-PE-300530521-23). Of course, this
         8    is exactly what they did.
         9            205.   On December 2, 2015, Morrie Lee of FCA Regulatory Affairs asked FCA Senior
        10    Manager Emanuele Palma “[w]hat compelling or driving reason does a[n] [automobile
u      ■ II   manufacturer] have to reduce EGR operation in the field?” FCA-MDL-000002857. Palma
^■1
        12    responded simply: “Low EGR         low soot, good drivability, F[uel| E|conomy].” Id. (emphasis
S 3
        13    added). Two days later, Lee told the EPA that FCA’s failure to document T_Eng as an AECD
Si
S 5
a; g    14    was “an oversight of understanding.” FCA-MDL-000002011. The documents cited herein show
              otherwise.


if      16
        17
                 2)    SCR AECD Strategy: Dosing Disablement
                      206.   The SCR system uses DEF—a solution of urea and water—to convert NOx into
o
u       18    harmless nitrogen and water after it exits the EGR system and before it is emitted from the
        19    tailpipe. The part of the emissions system where this process occurs is called the SCR catalyst.
       20     In theory, the SCR system injects or “doses” measured quantities of DEF into the exhaust stream
       21     based on a software program that injects the right amount of DEF to neutralize the amount of
       22     NOx being emitted by the engine.
       23             207.   However, Defendants employed the SCR AECDs to either^re^u^e the DEF
       24     dosing amount or shut it down entirely. With the DEF dosing reduced or disabled, the Subject
       25     Vehicles emit more NOx.
       26             208.   Reduced DEF dosing was important to Defendants for at least two reasons. First,
       27     the more DEF the Subject Vehicles consumed, the more frequently consumers would have to
       28     refill the DEF tank—an inconvenience that would make the vehicles less marketable. Second,

                                                          124
                                                 COMPLAINT FOR DAMAGES               Exhibit B, Page 136
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 128 of 177 Page ID #:142




                by the time the first Subject Vehicles hit the market, the Defendants realized that the chemicals

            2   in the DEF were breaking down the materials in the SCR catalyst and causing these components

            3   to fail prematurely, which could be mitigated by reducing DEF dosing (at the expense of

            4   increased emissions).

            5          209.   The Defendants relied heavily on an alternative DEF dosing mode called “online

            6   dosing,” which limited the injection of DEF into the SCR catalyst, thereby compromising the

            7   SCR system. The ERA identified this alternative dosing functionality as AECD 7.^' Bosch and

            8   VM Motori first discussed “online dosing” in March 2011. FCA-MDL-00028I2I2-I4. Both

            9   parties acknowledged that, if used, online dosing would have to be disclosed as an AECD. Id.

           10   (“online dosing ... could also be used outside cert cycle [but] needs to be declared at CARB”).
u          II   Yet, in November 2012, Bosch implemented a software change to prevent online dosing from
< z
C/5-S’
w .5       12   activating during EGR diagnostic monitoring (RBL-MDL2777-PE-300068645-48), and in
Q 3
           13   February 2013, Kasser Jaffri of FCA’s On Board Diagnostic group expressed concern to VM
s?
e? 2       14   Motori that CARB might see online dosing as “cycle beating” (FCA-MDL-000430441). Jaffri
^i
i3
O y        15   concluded that, if applied, online dosing would have to be disclosed as an AECD. FCA-MDL-

ui         16   000478134 (“Chrysler will request an AECD for [online dosing]”). It did not do so.

(/>   ■
           17          210.   VM Motori then told FCA in March 2013 that it was not going to use the online
O
o          18   dosing strategy. FCA-MDL-000433186. They used it anyway. In September 2013, Jaffri

           19   reported to FCA Senior Manager Dan Hennessey, head of the On Board Diagnostic group, that

           20   online dosing was (1) active in the vehicles; (2) had not been disclosed to CARB or the EPA;

           21   and (3) “reduces the conversion efficiency effectiveness,” thereby resulting in increased NOx

           22   emissions. FCA-MDL-000740696. Understandably, Jaffri observed that this “continues to be

           23   an area of concern.” Id. He also told Hennessy that when online dosing was active, diagnostic

           24   monitoring meant to track the performance of the SCR system “cannot be run,” because, if

           25   active, the diagnostic monitoring would reveal that the SCR system was not functioning. Id.

           26          211.   In September 2014, FCA senior management, including March Shost and Dan

           27     Defendants also employed related strategies to reduce DEF dosing, including lying the dosing
                to SCR adaptation (the process by which the SCR system modifies the dosing rate based on in-
           28   use monitoring) (FCA-MDL-000383765), and the load governor (the component that controls
                the flow of DEF into the SCR catalyst) (FCA-MDL-000750062).
                                                                125
                                                   COMPLAINT FOR DAMAGES                Exhibit B, Page 137
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 129 of 177 Page ID #:143




                Hennessey, received a presentation from Emanuele Palma entitled “WK/DS MY 15 DEF dosing

            2   strategy.” One slide in that presentation labeled “online dosing strategy” noted that FCA's

            3   competitors were using online dosing and that FCA could too—but, critically, that the dosing

            4   strategy needed “to be agreed with the agencies.” FCA-MDL-000417114-25. No such

            5   agreement was reached, as FCA never disclosed the functionality.

            6          212.    In July 2015, FCA acknowledged that tests conducted on the Model Year 2014

            7   Subject Vehicles showed that the vehicles were not meeting NOx emissions standards because

            8   the SCR catalysts—which Bosch provided for the Subject Vehicles (RBL-MDL2777-PE-

            9   300160491-504) were failing (FCA-MDL-000713128). In a presentation given that month

           10   entitled “SCR Catalyst Responsibility Share,” Bosch noted in its “investigation history”

cu         11   chronology that it began to investigate the SCR catalyst as the reason FCA development
<=
 ;.5
c/5
tu 5
           12   vehicles were experiencing excess NOx emissions in February 2013. RBL-MDL2777-PE-
5 3
“ I        13   300166279-362. The investigation chronology further identified a “dosing calibration strategy
ai
D5 s       14   change” to reduce dosing rates. Id. Bosch admitted that VM Motori made the change on Bosch’s
J t
<
O N
a 5        15   recommendation. Id.
      I
£1         16          213.    In sum, the Defendants all knew that the Subject Vehicles contained undisclosed
si         17   apparatuses that reduced or disabled the emissions control systems in real-world driving
o
u          18   conditions, and they knew that without those undisclosed apparatuses, the Subject Vehicles

           19   could not deliver the fuel economy and performance that FCA promised. Defendants concealed

           20   this fact from consumers and regulators and, in so doing, cheated Plaintiffs of the vehicles they

           21   thought they were buying.

           22                         ‘‘Dieseleate”Scandalizes The Global Au/o Industry

           23          214.   The world was shocked to learn that Volkswagen had manufactured over 11

           24   million diesel cars that were on the roads in violation of European emission standards, and over

           25   565,000 vehicles operating in the United States in violation of EPA and state emission

           26   standards. But Volkswagen was not the only one.

           27          215.    In the wake of the Volkswagen “defeat device” scandal, scientific literature and

           28   reports and testing indicate that many other so-called “clean diesel” vehicles emit far more

                                                                126
                                                   COMPLAINT FOR DAMAGES                Exhibit B, Page 138
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 130 of 177 Page ID #:144




               pollution on the road than in lab tests.The EPA has since widened its probe of diesel

           2   emissions to include the Subject Vehicles at issue here.

           3          216.    In May 2015, a study conducted on behalf of the Dutch Ministry of Infrastructure

           4   and the Environment found that all sixteen (16) diesel vehicles made by different manufacturers,

           5   when tested, emitted significantly more NOx on real-world trips but nevertheless passed

           6   laboratory tests. The report concluded that “[i]n most circumstances arising in normal situations

           7   on the road, the system scarcely succeeded in any effective reduction of NOx emissions. 5553

           8          217.    The report further remarked:

           9          It is remarkable that the NOx emission under real-world conditions exceeds the
                      type approval value by [so much]. It demonstrates that the settings of the engine,
          10          the EGR [(exhaust gas recirculation)] and the SCR during a real-world test trip
cj
                      are such that they do not result in low NOx emissions in practice. In other words:
0,        11          In most circumstances arising in normal situations on the road, the systems
                      scarcely succeed in any effective reduction of NOx emissions.
c/5 s     12
w 5
Ci 3
               The lack of any “effective reduction of NOx emissions” is devastating to “clean diesel”
          13
SI             advertising, including that for the Subject Vehicles at issue here.
U I
Ki        14
< g                   218.    Other organizations are beginning to take notice of the emission deception. The
O 5       15
W i
               Transportation and Environment (“T&E”) organization, a European group aimed at promoting
KI        16
               sustainable transportation, compiled data from “respected testing authorities around Europe.”
          17
o              T&E stated in September 2015 that real-world emission testing showed drastic differences from
u         18
               laboratory tests, such that models tested emitted more pollutants on the road than in the lab.
          19
               “For virtually every new model that comes onto the market the gap between test and real-world
          20
               performance leaps,” the report asserts.
          21
                  The ERA’S Sept. 18, 2015, Notice of Violation to Volkswagen Group of America, Inc.,
          22   available at https://www.epa.gov/sites/production/files/2015-10/documents/vw-nov-caa-09-18-
                15.pdf. As detailed therein, software detects when the vehicle is undergoing official emission
          23   testing and turns full emission controls on only during the test. But otherwise, while the vehicle
               is running, the emission controls are suppressed. This results in cars that meet emission
          24   standards in the laboratory or at the state testing station, but during normal operation they emit
               NOx at up to 40 times the standard allowed under U.S. laws and regulations. Volkswagen has
          25   admitted to installing a defeat device in its diesel vehicles.
                  Detailed investigations and real-world emission performance of Euro 6 diesel passenger cars,
          26   TNO innovation for life TNO Report, TNO 2015 R10702 (May 18, 2015), http://publications.
               tno.nl/publication/34616868/a I Ugla/TNO-2015-RI0702.pdf.
          27     Id. at 6 (emphasis added).
                  VW’s cheating is just the tip of the iceberg. Transport & Environment (Sept. 21, 2015),
          28   http://www.          transportenvironment.org/publications/vw%E2%80%99s-cheating-just-tip-
               iceberg.
                                                                127
                                                  COMPLAINT FOR DAMAGES                Exhibit B, Page 139
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 131 of 177 Page ID #:145




                   219.      In a summary report, T&E graphically depicted the widespread failure of most

        2   manufacturers to meet emission standards:^^

        3
                  2. The problem is endemic across the car industry - but the
                     performance of individual models and manufacturers varies
        4
                     widely
        5         In tests by the tCCT* 12 put of 13 modem diesel cars failed to achieve the Euro 6 limit In on the road. The
                  worst vehicle, an Audi, emitted 22 times the allowed limtL Emissions are highest in urban areas where
        6         most people are exposed to the pollution. On average a new diesel car emits over SOOmg/km of nitrogen
                  oxides driving in town compared to the limit of 80mg/km. Data obtained on around 20 modern diesel cars
                  by T&E shows every major manufacturer is selling cars-that fail to meet Euro 6 limits on the road. A
        7         minority of vehicles do meet the limits - but most don’L This is because the industry uses cheaper less
                  effective exhaust treatment systems or falls to configure the best systems in a way that minimizes
                  emissions. Thecost of a modern diesel after treatment system is Just €300.
        8
        9                         Above and beyond the safe limit
       10
u      II                                 ■oos:)
a.

ii     12
                                                                                          H What they should emit
                                                                                            (low Omit)

li
u s
       13                                                                                      What they actually emit
                                                                                               (on average above the limit)

M s-   14
                                          orrwogrt

       15
Hi                                         e
i|     16                                  OX-t-

is     17
2 -
o
CJ
       18
                                            @
       19                             Mcrcctlcs-flcnz

       20                  Source: TtiE                                                   Transport & Environment


       21

       22          220.      The T&E report found that the current system for testing cars in a laboratory

       23   produces “meaningless results,” because manufacturers like FCA can engineer their cars to

       24   “pass” the laboratory tests but emit many times as much pollution under normal driving

       25   conditions.

       26
               Five facts about diesel the car industry would rather not tell you, Transport & Environment
       27   (Sept.                                                                                   2015),
            http://www.transportenvironment.org/sites/te/flles/publications/2015_09_Five_facts       about
       28   diesel FINAL, pdf.
            ” Id. ■
                                                            128
                                                         COMPLAINT FOR DAMAGES                               Exhibit B, Page 140
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 132 of 177 Page ID #:146




                         221.   Emissions Analytics is a U.K. company formed to “overcome the challenge of

             2   finding accurate fuel consumption and emission figures for road vehicles.’* With regard to its

             3   recent on-road emission testing, the company explains:

             4           [l]n the European market, we have found that real-world emissions of the
                         regulated nitrogen oxides are four times above the official level, determined in
             5           the laboratory. Real-world emissions of carbon dioxide are almost one-third
                         above that suggested by official figures.
             6
                         For car buyers, this means that fuel economy on average is one quarter worse than
             7           advertised. This matters, even if no illegal activity is found.

             S                                      FCA Is Causht Cheatins

             9      A.    Testing Reveals Cheating

            10           222.   In late 2016 testing was done of the 2015 Ram 1500 pickup using a Portable
o           11   Emissions Measurement System (“PEMS”). Testing revealed that FIAT Chrysler also cheated
CLh
< =
            12   in that it had concealed the fact that the Ram 1500 spews more than the legal amount of

aw i        13   emissions and fails to meet its own “no NOx” out-of-the-tailpipe promise.

K 2   ..t   14           223.   The applicable standard both at the federal and state level is 50 mg/mile of NOx
-j z
< &
O N         15   for “FTP Style” driving: i.e., city driving. Testing was conducted with a PEMS unit to simulate

K i         16   driving conditions under both the FTP certification cycle and the highway certification cycle.

c/3 Z       17   The Ram 1500 emits an average of 159 mg/mile of NOx and a maximum of 1,283 mg/mile on
Z “
o
o           18   fiat roads, and 222 mg/mile of NOx with a maximum of 1,859 mg/mile on hills. For highway

            19   driving, the average was 232 mg/mile and a maximum of 1,615 mg/mile, compared to the 70

            20   mg/mile standard. On hills, the numbers are 353 ing/mile and 3,240 mg/mile. Testing also

            21   revealed a device triggered by ambient revealed the presence of a device that is triggered when

            22   ascending hills, as the emission control system temperature that significantly degrades the

            23   performance of the NOx emission reduction system, with ambient threshold temperatures above

            24   approximately 95°F and below 40-50°F. The resulting NOx emissions increase by a factor of 10

            25   when above or below these threshold temperatures. Testing also appears to be significantly

            26   degraded after a short period of steady driving on hills. As a result, NOx emissions increase

            27   after about 500-1000 seconds on hills with grades as low as 1%, where emissions are often 10

            28     Emissions Analytics Press Release, (Sept. 28, 2015), available at http://www.abvwc.com/
                 home/emissions-analytics.(last accessed July 19, 2017).
                                                                129
                                                    COMPLAINT FOR DAMAGES               Exhibit B, Page 141
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 133 of 177 Page ID #:147




                times the highway standard. For grades as little as 0.4%, emissions were found to be as high as

            2   6 times the highway standard.

            3           224.   The Ram 1500's emission software is a '‘Bosch EDCI7,” as is the Jeep Grand

            4   Cherokee’s emission software. The same basic emission system is in the Grand Cherokee

            5   EcoDiesel® and the engines are identical.

            6           225.   In separate testing, a 2014 Ram 1500 equipped with an EcoDiesel® engine and

            7   featuring SCR NOx after-treatment technology was tested on a chassis dynamometer as well as

            8   on the road. In both scenarios, gaseous exhaust emissions, including oxides of nitrogen (NOx),

            9   nitrogen oxide (NO), carbon monoxide (CO), carbon dioxide (C02), and total hydrocarbons

           10   (THC) were measured on a continuous basis using a PEMS from Horiba®.
o          11           226.   The tests showed significantly increased NOx emissions during on-road testing
CiH
c=
           12   as opposed to testing on a chassis dynamometer (i.e., in the laboratory). On the road, over an
as
5 ^
W X        13   urban/suburban route, the vehicle produced average NOx emissions that exceeded federal

fl? i      14   certification standards by approximately 15-19 times. When tested on a highway, the average
 -J t
O N
W z        15   NOx emissions measured 35 times the EPA Tier 2 Bin 5 standard.
      i
           16      B.    The EPA Issues A Notice of Violation to Fiat and FCA.
gs         17           227.   On January 12,2017, the EPA issued a NOV to Fiat and FCA for failing to justify
o
o          18   or disclose defeat devices in model year 2014-2016 Ram 1500 EcoDiesel® and 2014-2016

           19   Jeep Grand Cherokee EcoDiesel® vehicles (the Subject Vehicles at issue here). CARB also

           20   issued a Notice of Violation to Fiat and FCA. Since then, the EPA, by and through the

           21   Department of Justice, has sued Fiat, FCA, VM Italy, and VM America for violations of the

           22   CAA.
           23           228.   The EPA’s.NOV arid lawsuit arose in part from emission testing perjbrrned by

           24   the EPA at the National Vehicle and Fuel Emissions Laboratory. The EPA performed this

           25   testing “using driving cycles and conditions that may reasonably be expected to be encountered

           26   in normal operation and use, for the purposes of investigating a potential defeat device.”

           27           229.   The EPA identified at least eight AECDs in the Subject Vehicles that were

           28   concealed on COC applications:

                                                                130
                                                   COMPLAINT FOR DAMAGES               Exhibit B, Page 142
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 134 of 177 Page ID #:148




                               AECD 1 (Full EGR Shut-Off at Highway Speed)

            2                  AECD 2 (Reduced EGR with Increasing Vehicle Speed)

            3                  AECD 3 (EGR Shut-off for Exhaust Valve Cleaning)

            4                  AECD 4 (DEF Dosing Disablement during SCR Adaptation)

            5                  AECD 5 (EGR Reduction due to Modeled Engine Temperature)

            6                  AECD 6 (SCR Catalyst Warm-Up Disablement)

            7                  AECD 7 (Alternative SCR Dosing Modes)

            8                  AECD 8 (Use of Load Governor to Delay Ammonia Refill of SCR Catalyst)

            9           230.   The ERA testing found that “some of these AECDs appear to cause the vehicle

           10   to perform differently when the vehicle is being tested for compliance with the EPA emission
c_>        11   standards using the Federal emission test procedure (e.g., FTP, US06) than in normal operation
      =
c/5 S
^=3 5
           12   and use.” For example:
Q ^
W I        13           a) AECD 3, when combined with either AECD 7 or AECD 8, disables the EGR system
S 5
wI                         without increasing the effectiveness of SCR system. Under some norma! driving
«s         14              conditions, this disabling reduces the effectiveness of the overall emission control
-j s
< Si                       system. The AECD 3 uses a timer to shut off the EGR, which does not appear to the
o
-12        15
a                          EPA to meet any exceptions to the regulatory definition of “defeat device.”
J i
11         16           b) AECD 5 & 6 together reduce the effectiveness of the NOx emission control system,
                           using a timer to discontinue warming of the SCR after-treatment system, which
c/5 5      17              reduces its effectiveness.
Z "
o
o          18           c) AECD 4, particularly when combined with AECD 8, increases emissions of tailpipe
                           NOx during normal vehicle operation and use. The operation of AECD 1, AECD 2,
           19              and/or AECD 5 increase the frequency of occurrence of AECD 4.

          20            d) AECDs 7 & 8 work together to reduce NOx emissions during variable-grade and
                           high-load conditions.
          21
                        231.   The EPA further found that Fiat and FCA did not disclose or justify these control
          22
                devices in their COC applications, as required by EPA regulations, and that Fiat and FCA were
          23
                therefore in violation of the CAA each time they sold, offered for sale, introduced in commerce,
          24
                or imported one of the approximately 103,828 Subject Vehicles. The EPA is now seeking
          25
                injunctive relief and penalties.
          26
                   C.    Bosch Soft>vare Documentation Further Verifies the Violations
          27
                        232.   Researchers have obtained Bosch software documentation describing the
          28
                functions, modules, structure, variables and calibration parameters believed to be installed in
                                                                131
                                                   COMPLAINT FOR DAMAGES               Exhibit B, Page 143
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 135 of 177 Page ID #:149




              Subject Vehicles. The documenialion is over 10,000 pages long and contains hundreds of

          2   functions and thousands of variables developed by Bosch that describe the operation of the

          3   engine. These parameters and functions correlate with many of the violations alleged by the

          4   EPA and CARB. Critically, these functions, designed and implemented by Bosch, have

          5   elements that have no legitimate purpose in normal use. At the same time, these same elements,

          6   when enabled, allow the functions to reduce the effectiveness of emission controls in real world

          7   driving conditions, but not during an emission test cycle.

          8      1)    AECDs 1 and 2: Reducing or Disabling EGR at Highway Speeds

          9           233.   The   function   named    “AirCll RaiDesValCalc”     described   in   the   Bosch

         10   documentation as ’''Exhaust gas recirculation control - EGR ratio setpoint calculation^^ is used
o        11   to calculate the desired EGR rate. The software documentation contains figures with flow
< z
         12   diagrams describing the inputs, outputs, and calculation performed by this software function.
5 3
Cd
^ f>     13   Bosch has included vehicle speed as an input used by the EGR control function to modify the
Cd $
Ki       14   EGR rate (and, thus, NOx emission). Vehicle speed is notable because there is no legitimate
    2
o «?     15   reason for the EGR rate to depend directly on vehicle speed.
w %
« s      16           234.   By allowing EGR rate to depend directly on vehicle speed, Bosch provided a
it
CO S“
         17   means by which Fiat and FCA could reduce the effectiveness of the emission control system
O
o        18   under conditions which may reasonably be expected to be encountered in normal vehicle

         19   operation and use. This function may be, and is likely to have been, used to implement the

        20    undisclosed AECDs I and 2 identified in the EPA NOV to Fiat and FCA.

         21      2)    AECD 3: EGR Shut-Off for Exhaust Valve Cleaning

         22           235.   AECD 3 identified in the EPA NOV has also been identified in Bosch’s software

         23   documentation in the function named "AirCtI Mon'' described in the Bosch documentation as

         24   "Exhaust gas recirculation control - Monitoring and shut-off." Bosch described this AECD as

         25   ostensibly providing a cleaning mechanism for the engine exhaust valves when the Subject

         26   Vehicle is in overrun (/.e., the engine is turning without combustion, such as when the vehicle

         27   is going downhill). To accomplish this cleaning, the function created by Bosch closes the EGR

         28   valve (turning off EGR), so a “huge gush of clean air” can remove deposits. However, Bosch

                                                              132
                                                 COMPLAINT FOR DAMAGES               Exhibit B, Page 144
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 136 of 177 Page ID #:150




            1   also programmed a software switch (named ''AirCtl_s\\>tOvrRunOff_C”) that allowed Fiat and

            2   FCA to enable exhaust valve cleaning in normal (non-overrun) operation, effectively disabling

            3   EGR.

            4           236.   Together    with   an   activation   delay   added    by   Bosch—controlled      by

            5   AirCtljiEngRimDrvCycMin_C, which is described as ''Calibration time after which exhaust

            6   valve cleaning routine can start"—the AirCrl_Mon function can be readily used as a defeat

            7   device. To do so, Bosch would calibrate the ECU to enable valve cleaning in outside of overrun

            8   {AirCtl_swtOvrRunOff_C - TRUE), but only after the duration of a typical emission test cycle

            9   {AirCtl_tiEngRunDrvCycMin_C = 1800 seconds). This would disable EGR after an emission

           10   test cycle, resulting in increased NOx emission. This function may be, and is likely to have
u          11   been, used to implement undisclosed AECD 3 identified in in the ERA and CARB NOVs.
0,

           12      3)    AECD 7: Alternative SCR Dosing Modes
Q 3
W X
«!4   >
           13           237.   Bosch included a timer in another function, without a legitimate purpose. The
U %
a?    a    14   Bosch function named "SCRFFC_Mainf described in documentation as "Calculation of the
J     t
<     g
O
w
      N
      %    15   NH3 precontrol quantity” has an input variable timer entitled "CoEngJiNormalf which holds

ii         16   the time duration since the engine was started. This variable can be used to reduce SCR

CO s?      17   efficiency, and, therefore, increase NOx emission, after a certain time has elapsed. In particular,
2; "
o
o          18   this timer may be set to the duration of a typical emission test cycle. There is no legitimate

           19   reason for SCR control to depend directly on the time duration since engine start. By making

          20    SCR control depend directly on time duration since engine start, however, Bosch has provided

          21    a means by which Fiat and FCA could reduce the effectiveness of the emission control system

          22    in real world driving conditions. This function may be, and is likely to have been, used to

          23    implement undisclosed AECD 7 identified in the ERA and CARB NOVs.

          24       D.    West Virginia University Testing of the Subject Vehicles

          25            238.   Beginning in 2015, researchers at the West Virginia University Center for

          26    Alternative Fuels, Engines, and Emissions—the same researchers instrumental in uncovering

          27    Volkswagen’s fraud—tested 5 model year 2014 and 2015 vehicles produced by FCA. The test

          28    vehicles comprised the Subject Vehicles at issue here: Jeep Grand Cherokees and Ram 1500

                                                             133
                                                    COMPLAINT FOR DAMAGES                 Exhibit B, Page 145
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 137 of 177 Page ID #:151




           1   diese! vehicles, all equipped with the 3.0L IHcoDiesel® engine and featuring SCR NOx afler-

           2   trealmenl technology.

           3           239.    All test vehicles were evaluated on a vehicle chassis dynamometer representing

           4   the test conditions for regulatory compliance. Each vehicle was also tested over-the-road using

           5   a PEMS device during a variety of driving conditions including urban/suburban and highway

           6   driving.

           7           240.   One of the Jeep Grand Cherokees and one of the Ram 1500 vehicles was tested

           8   prior to, as well as after, a mandatory vehicle recall in April 2016 - the “R69 recall” - which

           9   included a software “reflash” by FCA that concerned the vehicles’ emission control systems.

          10           241.    Results indicated that both Jeep Grand Cherokee in MY 2014 exhibited
cj
          11   significantly increased NOx emissions during on-road operation as compared to the results
-^5
          12   observed through testing on the chassis dynamometer. For MY 2015, Jeep vehicles produced
w6
Q t
W I       13   from 4 to 8 times more NOx emissions during urban/rural on-road operation than the
S s
w @
CCi       14   certification standard, while Ram 1500 vehicles emitted approximately 25 times the NOx
J t
<&
O y       15   permitted by EPA Tier2-Bin5 standard for highway driving conditions.
W i
“I        16           242.   The researchers noted that for the vehicles tested post-recall using the

          17   dynamometer, NOx emissions were similar or slightly lower than that observed for vehicles
o
u         18   tested pre-recall. But on-road emissions were still very different from emissions observed

          19   through chassis dynamometer testing, even though they were slightly improved from the levels

         20    observed during pre-recall testing.

         21       E.      European Investigation and Testing

         22            243.   FCA and Bosch have both found themselves in trouble with German regulators

         23    in the wake of the Volkswagen scandal.

         24            244.   German prosecutors have launched an investigation into Bosch, reportedly

         25

         26
                  Marc C. Besch, Sri Flari Chalagalla, and Dan Carder, On-Road & Chassis Dynamometer
         27    Testing of Light-Duty Diesel Passenger Cars, Center for Alternative Fuels, Engines, and
               Emissions, West Virginia University, available at http://www.cafee.wvu.edU/flles/d/c586cIdd-
         28    b361 -410d-a88d-34e8834eda6/testing-of-light-duty-diesel-passenger-cars.pdf (last accessed
               July 19, 2017).
                                                               134
                                                     COMPLAINT FOR DAMAGES           Exhibit B, Page 146
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 138 of 177 Page ID #:152




               raiding Bosch's offices in Stutlgart.^*^ In April 2016, Bosch GmbH representatives met with

           2   Germany's Federal Motor Transport Authority (“KBA") on at least two occasions. In an April

           3   14, 2016, meeting, Bosch admitted there were a number of anomalies in the calibration of its

           4   engine control units provided to FCA for diesel vehicles sold in Europe. Bosch confirmed that

           5   it had delivered the control units for the vehicles as well as the associated software and that

           6   Bosch employees had integrated the emission-related applications into the software. Bosch

           7   admitted that the software reduced the EGR rate and the regeneration of NSC (NOx storage

           8   catalyst) after an elapsed period of driving time or number of cycles. Specifically, 22 minutes

           9   after the start of the engine (the estimated duration of emission testing), the software reduced

          10   the EGR rate to nearly zero and de-activated NSC regeneration. Another trigger for de­

fu        11   activation of the NSC regeneration occurred after the vehicle had been driven a distance of 100

          12   kilometers. Bosch confirmed that the NOx emissions for the vehicles exceeded the legal limits


if        13   by a factor of 4-5. The KBA’s takeaway from its meetings with Bosch was there is a defeat

05 a      14   device in the vehicles and Bosch shared responsibility for the defeat device with FCA. Media

o%        15   reports have confirmed the same.^'
W i
hJI
“slI      16          245.    After the meeting with Bosch, the KBA performed testing on the Fiat diesel

          17   vehicles and confirmed that the emission controls were disabled after 22 minutes of driving
o
u         1$   time, causing the vehicles to emit more than 10 times the legal limit of NOx. The KBA

          19   concluded that the vehicles were designed to cheat on emission tests, which normally run for

          20   about 20 minutes.As a result, the KBA’s transport minister announced: “We will need to

          21   carry out further tests on Fiat models. 5363 In August 2016, the German government formally

          22   concluded that Fiat vehicles sold in the ED had used defeat devices.

          23       See Edward Taylor, Stuttgart prosecutor targets Bosch in Daimler diesel investigation,
               Reuters (May 26, 2017), http://www.reuters.com/article/us-daimler-emissions-bosch-
          24   idUSKBN!8MI72.
                   Media reports similarly said that Bosch had confirmed to German regulators that certain Fiat
          25   vehicles were cheating on emission testing. See, e.g., Sueddeutsche Zeitung, Apr. 22, 2016,
               ‘'fiat Is Next to be Acciisecf; Test of Fiat diesel model shows irregular emissions: Bild am
          26   Sonntag,Reuters (Apr. 24, 2016), http://www.reuters.com/article/us-fiat-emissions-germany-
               idUSKCNOXLOMT; David Tracy, Here’s How Fiat Might also be Cheating on Emissions
          27   Tests.-Report, Jalopnik (Apr. 25, 2016), http://jalopnik.com/heres-how-fiat-might-also-be-
               cheating-on- em issions-test-1772948181.
          28       Test of Fiat diesel model shows irregular emissions: Bild am Sonntag, supra note 61.
                  Here's How Fiat Might also be Cheating on Emissions Tests: Report, supra note 61.
                                                               135
                                                    COMPLAINT FOR DAMAGES             Exhibit B, Page 147
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 139 of 177 Page ID #:153




            !            246.   More recently, a 17-page long-form article published by the German weekly

            2   investigative news magazine Der Spiegel, on April 20, 2018, details the central role Bosch

            3   played in the “diesel scandal." The article reports that prosecutors in Germany are investigating

            4   Bosch for providing and programming illegal software for use in Fiat vehicles, among many

            5   others.^

            6       F.     Joint University of California4 San Diego and German Study of the Fiat 500X

            7            247.   The testing of European regulators has been confirmed by independent testing

            8   conducted here in the United States. A recent peer-reviewed study by researchers at the

            9   University of California, San Diego and Ruhr-Universitat Bochum in Germany analyzed

           10   firmware in the EDC Unit 17 of the Fiat 500X and found a defeat device affecting the logic
cj
           II   governing NOx storage catalyst regeneration.^^ Unlike the Volkswagen defeat device, the
vj S       12   researchers found that the mechanism in the Fiat 500X relied on timing, reducing the frequency
S3
Q ^
W X        13   of NSC approximately 26 minutes and 40 seconds after the engine was started. (By reducing
S 5
Ci) ^
P?   a     14   the frequency of NOx storage catalyst regeneration, a manufacturer can improve fuel economy
J    t
<    ^
o    5     15   and increase the service life of the diesel particulate filter, at the cost of increased NOx
aI
““II       16   emissions.)

in Z       17            248.   According to the study, the conditions used to determine when to regenerate the
■z. -
o
u          18   NSC were duplicated, and each set of conditions could start a regeneration cycle. The

           19   researchers obtained Bosch copy-righted documentation for a Flat vehicle, which described two

          20    sets of conditions using the terms “during homologation cycle” and “during real driving.” The

         • 21   term “homologation” is commonly used in Europe to describe the process of testing an

          22    automobile for regulatory conformance. Bosch’s authorship of the document and use of the

          23    terms “homologation [testing]” and “real driving” to^describe the regeneration conditions

          24    demonstrate that it not only created the mechanism for FCA but was also aware of the

          25    mechanism’s intended purpose of circumventing emission testing.

          26    ^ Frank Dohmen, et al., .A Sinister Alliance: The automobile supplier Bosch is on its ^vay to
                taking center stage in the Diesel scandal, Der Spiegel, Issue 17 (April 20, 2018),
          27    https://maga2in.spiegel.de/SP/2Ol 8/17/156941296
                /index.html?utm_source=spon&utm_campaign=vorab (paywall, German language).
          28       Moritz Contag, et al.. How They Did It: An Analysis of Emission Defeat Devices in Modern
                Automobiles, supra note 15.
                                                                136
                                                   COMPLAINT FOR DAMAGES                Exhibit B, Page 148
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 140 of 177 Page ID #:154




            I          249.    Together, these facts reveal that Defendants have fraudulently concealed the

            2   functions of its emission control technology from regulators and consumers alike. Further, they

            3   demonstrate that FCA's claims about its EcoDiesel® Subject Vehicles as “clean diesel” with

            4   “ultralow emissions” and “no NOx” emitted through the tailpipe is false or misleading.

            5                        The Damase Caused By FCA’s Dirty Diesel Scheme

            6          250.    Plaintiffs paid a significant premium for the EcoDiesel features that FCA falsely

            7   advertised. Indeed, consumers paid between $3,120 and $5,000 more for the EcoDiesel option

            8   than for the comparable gasoline vehicles.In return, FCA promised power, performance, fuel

            9   economy, and environmental friendliness (and vehicles that were legal to drive). FCA could not

           10   deliver on that promise. Plaintiffs suffered significant harm as a result.
C_5
a.:        11          251.    FCA may not be able to bring the Subject Vehicles into compliance with
ns         12   emissions standards. If that is the case, those vehicles will have to be removed from the road.
gi         13          252.    But even if FCA can bring the Subject Vehicles into compliance with emission
gI
cc i       14   standards, it will not be able to do so without substantially degrading their performance
nI
O N
w %        15   characteristics, including their horsepower and/or fuel efficiency and/or maintenance

g|         16   rcquiieiiicnls. Consequently, Plaintiffs will nut possess the vehicles they thought they purchased
If         17   and will not have received the benefit of the bargain. This will also result in a diminution in
T' -
O
           18   value of every Subject Vehicle, and it will cause owners and lessees of Subject Vehicles to pay

           19   more for the use of their Subject Vehicles.

           20          253.    Assuming, for the sake of argument, that the Subject Vehicles could be brought

           21   into compliance with emission standards without any material degradation to performance or

           22   maintenance characteristics—and if that were the case, it begs the question as to why FCA

           23   cheated in the first place—Plaintiffs would still have been deprived of the benefit of the bargain

           24   for all the years they owned and/or leased the Subject Vehicles that could not and did not deliver

           25   all of the characteristics for which Plaintiffs paid a premium, and were not compliant with U.S. •

           26
                   John Lamm, 2014, Jeep Grand Cherokee EcoDiesel® V-6, First Drive Review, Car and
           27   Driver (February 2013), http://www.caranddrivcr.com/rcvicvvs/20l4-jeep-grand-chcrokcc-
                ecodiesel-v-6- first-drive-review; Andrew Wendler, 2015, Ram 1500 EcoDiesel® 4x4,
           28   Instrumented Test, Car and Driver (August 2015), http://www.caranddriver. com/reviews/2015-
                ram-1500-4x4-ecodiesel- 4x4-test-review.
                                                                  137
                                                    COMPLAINT FOR DAMAGES                Exhibit B, Page 149
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 141 of 177 Page ID #:155




                law.

            2          254.    In sum, had regulators or the public known the true facts, Plaintiffs would not

            3   have purchased or leased the Subject Vehicles (in fact, they could not have legally been sold),

            4   or would have paid substantially less for them.

            5    FCA Had Exclusive Knowledsc Of The Fraudulent Emissions Systems Defect And Failed

            6                                      To Disclose It To Plaintiffs

            7          255.    FCA had superior and exclusive knowledge of the Subject Vehicles' fraudulent

            8   emissions systems defect, and knew or should have known that it was not known or reasonably

            9   discoverable by Plaintiffs, before Plaintiffs purchased their vehicles.

           10          256.    Plaintiffs are informed and believe, and based thereon allege, that before
o          11   Plaintiffs purchased their vehicles, FCA knew that the Subject Vehicles contained undisclosed
0..

           12   apparatuses that reduced or disabled the emissions control systems in real-world driving
aa
Q i
W X        13   conditions, and they knew that without those undisclosed apparatuses, the Subject Vehicles
w g
           14   could not deliver the fuel economy and performance that FCA promised. Defendants concealed
O y        15   this fact from consumers and regulators and, in so doing, cheated Plaintiffs of the vehicles they
“i
-3 i
a: 6       16   thought they were buying.
uI
c/5 Z      17          257.    Despite FCA’s knowledge of the fraudulent emissions systems defect present in
O
o          18   Subject Vehicles, FCA continued to fail to disclose it to new and subsequent purchasers and

           19   lessees of Subject Vehicles, including Plaintiffs. Indeed, the very purpose of the “defeat device”

           20   that FCA installed in the Subject Vehicles is to conceal the fact that the Subject Vehicles’

           21   emissions control systems were being reduced or disabled in real-world driving conditions. As

           22   such, FCA intended to prevent reasonable consumers, including Plaintiffs, from discovering the

           23   fraudulent emissions control systems installed in the Subject Vehicles.

           24          258.    It therefore goes without saying that FCA has never disclosed the fraudulent

           25   emissions control systems defect to Plaintiffs prior to the purchase of their vehicles or at any

           26   point during ownership of their vehicles, and FCA has never instructed its dealerships to

           27   disclose said defect to drivers or potential purchasers or lessees of Subject Vehicles.

           28          259.    The existence of the fraudulent emissions control systems defect is a material

                                                                  138
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 150
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 142 of 177 Page ID #:156




               fact that a reasonable consumer would consider when deciding whether to purchase or lease a

           2   vehicle. Had Plaintiffs known that their= vehicles were equipped with the fraudulent emissions

           3   control systems defect and financial liability it creates, they would not have purchased their

           4   vehicles, or would have paid substantially less for them. By failing to disclose the fraudulent

           5   emissions control systems defect, FCA denied Plaintiffs information that was material to their

           6   decision to purchase/lease their vehicles and material to their willingness to use their vehicles.

           7         FCA Has Actively Concealed The Fraudulent Emissions Control Systems Defect

           8          260.    While FCA has been fully aware of the fraudulent emissions control systems

           9   defect affecting Plaintiffs’ vehicles, FCA and its agents actively concealed the existence and

          10   nature of the fraudulent emissions control systems defect from Plaintiffs at the time of purchase,

2-        11   repair, and thereafter. Specifically, FCA failed to disclose or actively concealed at and after the

          12   time of purchase or repair:

Ms I      13             a.   any and all known material defects or material nonconformity of the Subject

K g       14                  Vehicles, including the fraudulent emissions control systems defect; and

          15             b.   The Subject Vehicles contained an illegal emissions control defeat device, were

g|        16                  not in good working order as advertised, were defective, and were not fit for the

g.        17                  intended purposes.
o
u         1$          261.    To this day, FCA still has not notified Plaintiffs that their vehicles suffer from a

          19   fraudulent emissions control systems defect.

         20     FCA’s Warranties Cover The Fraudulent Emissions Control Systems Defect, But FCA Is

         21                                        Incapable Of Correctins It

         22           262.    For each Subject Vehicle sold by FCA, including Plaintiffs’ vehicles, an express

         23    written warranty was issued which covered the vehicle, including but not limited to, the

         24    emissions control system.

         25           263.    FCA’s warranty covers any repairs needed to correct defects in materials or

         26    workmanship of covered parts. The basic coverage period lasts 36 months or 36,000 miles,

         27    whichever comes first, and the federal emissions warranty coverage potentially lasts up to 96

         28    months or 80,000 miles, whichever comes first. The warranty begins on the date the vehicle is

                                                                139
                                                    COMPLAINT FOR DAMAGES               Exhibit B, Page 151
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 143 of 177 Page ID #:157




                delivered to the first retail buyer or put into use, whichever is earliest.

            2           264.    As set forth, supra, the Subject Vehicles, including Plaintiffs' vehicles, contained

            3   an emission treatment system that was designed to de-activate during real-world driving

            4   conditions such that it could not achieve the advertised towing power, performance, and/or fuel

            5   economy without cheating emission tests. Therefore, FCA will never be able to conform the’

            6   Subject Vehicles’ emissions systems as advertised to consumers, including Plaintiffs.

            7           265.    FCA also sold or leased Subject Vehicles, including Plaintiffs’ vehicles, under an

            8   implied warranty of merchantability. FCA’s express warranty confirms that FCA offers implied

            9   warranties, including the implied warranty of merchantability, for the same duration as the

           10   express warranty. FCA impliedly warranted that Subject Vehicles, including Plaintiffs’ vehicles,
cj
a..        11   were merchantable in that they were in a non-defective condition for use by their owners or lessees
< z
           12   for the ordinary purpose for which they were intended. FCA is under a duty to design, construct,
D
w X        13   manufacture, inspect, and test Subject Vehicles, including Plaintiffs’ vehicles, so as to make them
II
pc a       14   suitable for the ordinary purposes of their use as advertised to consumers, including Plaintiffs.
J E
< 3
           15           266.    FCA breached its warranties for Subject Vehicles, including Plaintiffs’ vehicles,
II
si'        16   when it: designed, manufactured, and sold Subject Vehicles with an emission treatment system
D -
           17   that was designed to de-activate during real-world driving conditions such that it could not
o
o          18   achieve the advertised towing power, performance, and/or fuel economy without cheating

           19   emission tests. In breach of FCA’s warranties. Subject Vehicles, including Plaintiffs’ vehicles,

           20   are defective and unfit for the ordinary purposes for which they are intended to be used, and are

           21   not merchantable.

           22   A// Statute Of Limitations Periods Are Tolled By The Discovery Rule And The Doctrine Of

           23                                        Fraudulent Concealment

           24           267.    FCA misrepresented the qualities of the emission treatment system in Plaintiffs’

           25   vehicles at the time of the sale of the vehicles. FCA also concealed the fact that Plaintiffs’ vehicles

           26   contained an emission treatment system that was designed to de-activate during real-world

           27   driving conditions such that it could not achieve the advertised lowing power, performance,

           28   and/or fuel economy without cheating emission tests.

                                                                    140
                                                      COMPLAINT FOR DAMAGES                   Exhibit B, Page 152
    Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 144 of 177 Page ID #:158




                      268.    FCA continued to misrepresent its ability to repair Plaintiffs' vehicles in

          2   conformity with the warranty throughout the warranty period.

          3           269.    At all relevant times, FCA was aware of the defects in the Subject Vehicles'

          4   emission treatment system.

          5           270.    As described in more detail, supra, at no point prior to the sale of Plaintiffs’

          6   vehicles or during Plaintiffs’ ownership of their vehicles did FCA or an authorized dealer ever

          7   inform Plaintiffs of the fact that their vehicles contained an emission treatment system that was

          8   designed to de-activate during real-world driving conditions such that it could not achieve the

          9   advertised towing power, performance, and/or fuel economy without cheating emission tests.

         10           271.    FCA had a duty to disclose the concealed facts alleged above because FCA knew
cj
         11   that Plaintiffs did not know a material fact and further knew that such facts were not readily

aI       12   accessible to Plaintiffs because FCA actively concealed those facts.

         13          272.     FCA had a duty to disclose the concealed facts alleged above because FCA made

         14   misrepresentations in its marketing materials and window stickers and through its authorized sales

         15   representatives about the quality, characteristics, and safety of the Subject Vehicles’ emissions
3i
         16   treatment system.

         17          273.     FCA had a duty to disclose the concealed facts alleged above because FCA
o
         18   actively concealed material facts in order to induce a false belief

         19          274.     FCA made such false representations (and continued to do so) regarding the

         20   emissions treatment systems in Plaintiffs’ vehicles despite its extensive internal knowledge that

         21   Plaintiffs’ vehicles contained an emission treatment system that was designed to de-activate

         22   during real-world driving conditions such that it could not achieve the advertised towing power,

         23   performance, and/or fuel economy without cheating emission tests.

         24          275.    FCA intended for Plaintiffs to rely on those misrepresentations to conceal the fact

         25   that the defective emissions control systems could not be repaired.

         26          276.    Prior to the sale of Plaintiffs’ vehicles, and at all times thereafter, FCA therefore

         27   failed to disclose to Plaintiffs the existence of the inherent defects in their vehicles, and FCA

         28   failed to disclose its inability to repair these inherent defects, which prevented Plaintiffs’ vehicles

                                                                 141
                                                   COMPLAINT FOR DAMAGES                  Exhibit B, Page 153
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 145 of 177 Page ID #:159




           1   from confonning to their applicable warranties. In effect, after the sale of the Subject Vehicles,

           2   FCA fraudulently concealed from purchasers and lessees, including Plaintiffs, the fact that the

           3   dealers were unable to properly repair the defects to the em issions control systems, and knew that

           4   the limited work that FCA had authorized its dealerships to perform on those vehicles would not

           5   properly repair them.

           6          277.     Because FCA failed to disclose these foregoing facts to Plaintiffs, all statute of

           7   limitations periods with respect to the sale of Plaintiffs’ vehicles were tolled by the doctrines of

           8   fraudulent concealment, the delayed discovery rule, and/or equitable tolling. As alleged herein.

           9   FCA wrongfully concealed the fact:

          10              1)   that Plaintiffs’ vehicles are equipped with defective emissions control systems,

Oh        11                   and
<=
          12             2)    that its dealerships were incapable of making inadequate repairs to address the
^6
Q t
Li2 I     13                   root cause of the emissions control systems defect.

CC a      14          278.     Plaintiffs did not discover the operative facts that are the basis of their claims
j t
<2
O N
W i       15   alleged herein because the facts were concealed in confidential and privileged documents, which
a: S      16   a consumer would not know about and could not obtain.
^I
          17          279.     No amount of diligence by Plaintiffs could have led to the discovery of these facts
-/L ~
O
o         18   because they were kept secret by FCA and therefore, Plaintiffs were not at fault for failing to

          19   discover these facts.

          20          280.     Plaintiffs did not have actual knowledge of facts sufficient to put them on notice.

          21   Plaintiffs did not know, or could have known, about FCA’s inability to repair the defects in their

          22   vehicles because, as alleged above, FCA kept this information highly confidential.

          23   ///

          24   ///

          25   ///

          26   ///

          27   ///

          28   ///

                                                                 142
                                                   COMPLAINT FOR DAMAGES                 Exhibit B, Page 154
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 146 of 177 Page ID #:160




                                                FIRST CAUSE OF ACTION
           2                              BY ALL PLAINTIFFS AGAINST FCA
           3                              BREACH OF EXPRESS WARRANTY
           4                                (Cal. Com. Code §§ 2313 and 10210)

           5          281.    Plaintiffs incorporate herein by reference each and every allegation contained in
           6   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.
           7          282.    FCA is and was at all relevant times a “merchant'’ with respect to motor vehicles
           8   under Cal. Com. Code §§ 2104(1) and 10103(c), and a “seller” of motor vehicles under §
           9   2103(I)(d).

          10          283.    With respect to leases, FCA is and was at all relevant times a “lessor” of motor
c_>            vehicles under Cal. Com. Code § 10103(a)(16).
a.        11

          12          284.    Plaintiffs’ vehicles are and were at all relevant times “goods” within the meaning
5 ^
id X      13   of Cal. Com. Code §§2105(1) and 10103(a)(8)).
S 5
Cd ^
P? a      14          285.    Federal law requires manufacturers of light-duty vehicles to provide two federal
-j z
<&
O N
M 2       15   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”
          16   The Performance Warranty applies to repairs that are required during the first two years or 24,000
c/5 5:    17   miles, whichever occurs first, when a vehicle fails an emissions test. Under this warranty, certain
      -
O
u         18   major emission control components are covered for the first eight years or 80,000 miles,
          19   whichever comes first. These major emission control components subject to the longer warranty
          20   include the catalytic converters, the electronic engine control unit (ECU), and the onboard
          21   emissions diagnostic device or computer. The Design and Defect Warranty covers repair of
          22   emission control or emission related parts which fail to function or function improperly due to a
          23   defect in materials or workmanship. This, warranty provides protection for two,years or 24,000
          24   miles, whichever comes first, or, for the major emission control components, for eight years or
          25   80,000 miles, whichever comes first.
          26          286.    FCA provided these warranties to Plaintiffs. These warranties formed the basis of
          27   the bargain that was reached when Plaintiffs purchased or leased their vehicles.
          28          287.    However, FCA knew or should have known that the warranties were false and/or

                                                                M3
                                                   COMPLAI^T FOR DAMAGES                Exhibit B, Page 155
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 147 of 177 Page ID #:161




               misleading. FCA was aware that the emissions systems in the vehicles sold and leased to PlainlifTs

           2   were designed to deactivate under real-world driving conditions, and to emit oxides of nitrogen

           3   within legal limits only when undergoing emissions testing, and therefore, knew that the emission

           4   systems contained defects.

           5           288.    Plaintiffs reasonably relied on FCA’s express warranties concerning emissions

           6   when purchasing or leasing their vehicles. However, the Plaintiffs' vehicles did not perform as

           7   warranted. Unbeknownst to Plaintiffs, their vehicles were designed to pollute at higher than legal

           8   limits during normal driving, and could not achieve advertised performance and efficiency metrics

           9   without this cheating design. This design and the devices that effectuate it are defects. FCA

          10   therefore breached its express warranty by providing a product containing defects that were never
o         11   disclosed to Plaintiffs.
a.
c=
cnS’      12           289.    Any opportunity to cure the express breach is unnecessary and futile.
a3
cs   5
a    I    13           290.    As a direct and proximate result of FCA’s breach of express warranties, Plaintiffs
S    s
a
C5   a    14   suffered significant damages, and seek damages in an amount to be determined at trial.
a    i
<    &
          15                                   SECOND CAUSE OF ACTION
cc 5      16                                BY ALL PLAINTIFFS AGAINST FCA
si
3^
c/> Z     17                  BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY
Z. “
o
o         18                                 (Cal. Com. Code §§ 2314 and 10212)

          19           291.    Plaintiffs incorporate herein by reference each and every allegation contained in

          20   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.

          21           292.     FCA is and was at all relevant times a “merchant” with respect to motor vehicles

          22   under Cal. Com. Code §§ 2104(1) and i0103(c), and a “seller” of motor vehicles under §

          23   2103(l)(d).

          24           293.     With respect to leases, FCA is and was at ail relevant times a “lessor” of motor

          25   vehicles under Cal. Com. Code § 10103(a)( 16).

          26           294.     Plaintiffs’ vehicles are and were at all relevant times “goods” within the meaning

          27   ofCal. Com. Code §§ 2105(1) and 10103(a)(8).

          28           295.    A warranty that Plaintiffs’ vehicles were in merchantable condition and fit for

                                                                 144
                                                    complaint for damages                Exhibit B, Page 156
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 148 of 177 Page ID #:162




                the ordinary purpose for which vehicles are used is implied by law pursuant to Cal. Com. Code

            2   §§23l4and 10212.

            3          296.    FCA sold and/or leased vehicles to Plaintiffs that were not in merchantable

            4   condition and/or fit for their ordinary purpose in violation of the implied warranty. Plaintiffs’

            5   vehicles were not in merchantable condition because their design violated state and federal laws.

            6   Plaintiffs’ vehicles were not fit for their ordinary purpose as they were built to evade state and

            7   federal emission standards.

            8          297.    FCA’s breaches of the implied warranty of merchantability caused damage to the

            9   Plaintiffs. The amount of damages due will be proven at trial.

           10                                     THIRD CAUSE OF ACTION
o          II                              BY ALL PLAINTIFFS AGAINST FCA
a.
in S       12         VIOLATIONS OF SONG-BEVERLY CONSUMER WARRANTY ACT FOR
S3
Q ^
W I        13                             BREACH OF EXPRESS WARRANTIES
S 5
Hi $
Cd S •.I
           14                                 (Cal. Civ. Code §§ 1791.2 & 1793.2(d))
-j z
<&
O N
W :        15          298.    Plaintiffs incorporate herein by reference each and every allegation contained in
K E        16   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.
si.
in 5       17          299.    Plaintiffs who purchased or leased the vehicles in California are “buyers” within
Z ■
o
o          18   the meaning of Cal. Civ. Code § 1791(b).

           19          300.    Plaintiffs’ vehicles are “consumer goods” within the meaning of Cal. Civ. Code

           20   § 1791(a).

           21        . 301.    FCA is a “manufacturer[s]” of Plaintiffs’ vehicles within the meaning of Cal.

           22   Civ. Code § 17910)-

           23          302.    Plaintiffs bought or leased new motor vehicles manufactured by FCA.

           24          303.    FCA made express warranties to Plaintiffs within the meaning of Cal. Civ. Code

           25   §§ 1791.2 and 1793.2, as described above.

           26          304.    Federal law requires manufacturers of light-duty vehicles to provide two federal

           27   emission control warranties: a “Performance Warranty” and a “Design and Defect Warranty.”

           28   The Performance Warranty applies to repairs that are required during the first two years or

                                                                 145
                                                     COMPLAINT FOR DAMAGES              Exhibit B, Page 157
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 149 of 177 Page ID #:163




               24,000 miles, whichever occurs firsl, when a vehicle fails an emissions test. Under this

           2   warranty, certain major emission control components are covered for the first eight years or

           3   80,000 miles, whichever comes first. These major emission control components subject to the

           4   longer warranty include the catalytic converters, the electronic engine control unit (ECU), and

           5   the onboard emissions diagnostic device or computer. The Design and Defect Warranty covers

           6   repair of emission control or emission related parts which fail to function or function improperly

           7   due to a defect in materials or workmanship. This warranty provides protection for two years or

           8   24,000 miles, whichever comes first, or, for the major emission control components, for eight

           9   years or 80,000 miles, whichever comes first.

          10          305.    FCA provided these warranties to Plaintiffs. These warranties formed the basis
(j>
0^        II   of the bargain that was reached when Plaintiffs purchased or leased their vehicles.
< =
COrs      12          306.    However, FCA knew or should have known that the warranties were false and/or
W 3
Q ^
      X   13   misleading. FCA was aware that the emissions systems in the vehicles sold and leased to
S 5
          14   Plaintiffs were designed to deactivate under real-world driving conditions, and to emit oxides
^i
W 5
          15   of nitrogen within legal limits only when undergoing emissions testing, and therefore, knew that

«iI
“         16   the emission systems contained defects.

CO 5      17          307.    Plaintiffs reasonably relied on FCA’s express warranties concerning emissions
Z "
o
CJ        18   when purchasing or leasing their vehicles. However, Plaintiffs’ vehicles did not perform as

          19   warranted. Unbeknownst to Plaintiffs, their vehicles were designed to pollute at higher than

          20   legal limits during normal driving, and could not achieve advertised performance and efficiency

          21   metrics without this cheating design. This design and the devices that effectuate it are defects.

          22   FCA therefore breached its express warranty by providing a product containing defects that

          23   were never disclosed to Plaintiffs.

          24          308.    Any opportunity to cure the express breach is unnecessary and futile.

          25          309.    As a direct and proximate result of FCA’s breach of express warranties. Plaintiffs

          26   suffered significant damages, and seek damages in an amount to be determined at trial.

          27          310.    Pursuant to Cal. Civ. Code §§ 1793.2 and 1794, Plaintiffs seek an order enjoining

          28   FCA’s unfair and/or deceptive acts or practices, damages, punitive damages, and any other just

                                                                146
                                                     COMPLAINT FOR DAMAGES             Exhibit B, Page 158
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 150 of 177 Page ID #:164




             and proper relief available under the Song-Beverly Consumer Warranty Act.

         2                                     FOURTH CAUSE OF ACTION

         3                               BY ALL PLAINTIFFS AGAINST FCA

         4   VIOLATIONS OF SONG-BEVERLY CONSUMER WARRANTY ACT FOR BREACH

         5                       OF IMPLIED WARRANTY OF MERCHANTABILITY

         6                                    (Cal. Civ. Code §§ 1791.1 and 1792)

         7          311.    Plaintiffs incorporate herein by reference each and every allegation contained in

         8   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.

         9          312.    Plaintiffs who purchased or leased the vehicles in California are “buyers” within

        10   the meaning of Cal. Civ. Code § 1791(b).

0^      II          313.    Plaintiffs’ vehicles are “consumer goods” within the meaning of Cal. Civ. Code

</) s   12   § 1791(a).
a3
Q 3
W I     13          314.    FCA is a “manufacturer” of Plaintiffs’ vehicles within the meaning of Cal. Civ.
S 2
W 0
Wi      14   Code § 1791G).
<&
O y
  S
M 2     15          315.    FCA impliedly warranted to Plaintiffs that their vehicles were “merchantable”

si           within the meaning of Cal. Civ. Code §§ 1791.1(a) and 1792, however, Plaintiffs’ vehicles do

        17   not have the quality that a buyer would reasonably expect.
z.o ~
o       18          316.    Cal. Civ. Code § 1791.1(a) states: “Implied warranty of merchantability” or

        19   “implied warranty that goods are merchantable” means that the consumer goods meet each of the

        20   following:

        21                  A.      Pass without objection in the trade under the contract description.
                            B.      Are fit for the ordinary purposes for which such goods are used.
        22
                            C.      Are adequately contained, packaged, and labeled.
        23                  D.      Conform to the promises or affirmations of fact made on the container or
                                    label.
        24
                    317.    Plaintiffs’ vehicles would not pass without objection in the automotive trade
        25
             because of the defects in the vehicles’ “clean” diesel engine system. Because of the defects in
        26
             Plaintiffs’ vehicles’ EcoDiesel® engine systems, they are not in merchantable condition and thus
        27
             not fit for ordinary purposes.
        28

                                                               147
                                                   COMPLAINT FOR DAMAGES               Exhibit B, Page 159
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 151 of 177 Page ID #:165




                      318.       Plaintiffs' vehicles are not adequately labeled because the labeling fails to disclose

          2   the defects in the vehicles' diesel engine system. Plaintiffs’ vehicles do not conform to the

          3   promises and affirmations made by FCA.

          4           319.       FCA's breach of the implied warranty of merchantability caused damage to

          5   Plaintiffs who purchased or leased the defective vehicles. The amount of damages due will be

          6   proven at trial.

          7           320.       Pursuant to Cal. Civ. Code §§ 1791.1(d) and 1794, Plaintiffs seek an order

          8   enjoining FCA’s unfair and/or deceptive acts or practices, damages, punitive damages, and any

          9   other just and proper relief available under the Song-Beverly Consumer Warranty Act.

         10                                        FIFTH CAUSE OF ACTION
u                                            BY ALL PLAINTIFFS AGAINST FCA
<=
c/f S    12               BREACH OF EXPRESS CALIFORNIA EMISSIONS WARRANTIES
w5
BW X^                                            (Cal. Civ. Code § 1793.2, et seq.)
         13
S 5
W (5
K^       14           321.       Plaintiffs incorporate herein by reference each and every allegation contained in
<6
O N      15   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.
hJ
g|       16           322.       Each of Plaintiff s vehicle is covered by express California Emissions Warranties
g;            as a matter of law. See Cal. Health & Safety Code § 43205; Cal. Code Regs. tit. 13, § 2037.
c/) 5:   17
Z "
o
u        18           323.       The express California Emissions Warranties generally provide “that the vehicle

         19   or engine is...[d]esigned, built, and equipped so as to conform with all applicable regulations

         20   adopted by the Air Resources Board.” This provision applies without any time or mileage

         21   limitation.

         22           324.       The California Emissions Warranties also specifically warrant Plaintiffs against

         23   any performance failure of the emissions control system for three years or_50,000 miles,

         24   whichever occurs first, and against any defect in any emission-related part for seven years or

         25   70,000 miles, whichever occurs first.

         26           325.       California law imposes express duties “on the manufacturer of consumer goods

         27   sold in this state and for which the manufacturer has made an express warranty.” Cal. Civ. Code

         28   § 1793.2.

                                                                    148
                                                      COMPLAINT FOR DAMAGES
                                                                                            Exhibit B, Page 160
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 152 of 177 Page ID #:166




                     326.    Among those duties. “[i]f the manufacturer or its representative in this state is
          2   unable to service or repair a new motor vehicle...to conform to the applicable express warranties
          3   after a reasonable number of attempts, the manufacturer shall either promptly replace the new
          4   motor vehicle or promptly make restitution to the buyer” at the vehicle owner’s option. See Cal.
          5   Civ. Code § 1793.2(d)(2).
          6          327.       Plaintiffs are excused from the requirement to “deliver nonconforming goods to
          7   the manufacturer’s service and repair facility within this state” because FCA is refusing to
          8   accept them and delivery of Plaintiffs’ California vehicles “cannot reasonably be
          9   accomplished.” Cal. Civ. Code § 1793.2(c).
         10          328.    This complaint is written notice of nonconformity to FCA by Plaintiffs and “shall
         11   constitute return of the goods.” Id.
CO ?
     3   12          329.       In addition to all other damages and remedies, Plaintiffs are entitled to “recover
Q ^
H i      13   a civil penalty of up to two times the amount of damages” for the aforementioned violation. See
S S
W I
cc a     14   Cal. Civ. Code § 1794(e)(1). Any “third-party dispute resolution process” offered by FCA does
 1



SiI      15   not relieve FCA from the civil penalty imposed because FCA is not offering the process to

gi       16   Plaintiffs for resolution of these California Emissions Warranties issues and the process is not
s ■/.

         17   “substantially” compliant. See Cal. Civ. Code 2 § 1794(e)(2); Cal. Civ. Code § 1793.22(d); 16
O
         18   C.F.R. § 703.2.
         19                                      SIXTH CAUSE OF ACTION
         20                                BY ALL PLAINTIFFS AGAINST FCA
         21                                           (Fraud by Omission)
         22          330.    Plaintiffs incorporate herein by reference each and every allegation contained in
         23   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.
         24          331.       FCA committed fraud by allowing to be sold to Plaintiffs their vehicles without
         25   disclosing that their EcoDiesel® engine emissions systems were designed to deactivate under
         26   real-world driving conditions, and to emit oxides of nitrogen within legal limits only when
         27   undergoing emissions testing.
         28          332.       In particular, Plaintiffs are informed, believe, and thereon allege that prior to

                                                                 149
                                                     COMPLAINT FOR DAMAGES              Exhibit B, Page 161
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 153 of 177 Page ID #:167




           1   Plaintiffs acquiring their vehicles, FCA was well aware and knew that the vehicles contained

           2   defects in their EcoDiesel® engine systems that were designed to de-activate during real-world

           3   driving conditions such that they could not achieve the advertised towing power, performance,

           4   and/or fuel economy without cheating emission tests but failed to disclose this fact to Plaintiffs

           5   at the time of sale and thereafter.

           6          333.    Plaintiffs are informed and believe, and based thereon allege, that before

           7   Plaintiffs purchased their vehicles, FCA knew that the Subject Vehicles contained undisclosed

           8   apparatuses that reduced or disabled the emissions control systems in real-world driving

           9   conditions, and they knew that without those undisclosed apparatuses, the Subject Vehicles

          10   could not deliver the fuel economy and performance that FCA promised. Defendants concealed
u         It   this fact from consumers and regulators and, in so doing, cheated Plaintiffs of the vehicles they
Oh
-35 =
vT?       12   thought they were buying.
w5
Q 3
W i
^ >       13          334.    Despite FCA’s knowledge of the fraudulent emissions systems defect present in
W
Ki        14   Subject Vehicles, FCA continued to fail to disclose it to new and subsequent purchasers and
< X
o «       15   lessees of Subject Vehicles, including Plaintiffs. Indeed, the very purpose of the “defeat device”
W    -2
h4   i
a    E    16   that FCA installed in the Subject Vehicles is to conceal the fact that the Subject Vehicles’
Cd   §

c/5 ”     17   emissions control systems were being reduced or disabled in real-world driving conditions. As
Z -
o
o         IS   such, FCA intended to prevent reasonable consumers, including Plaintiffs, from discovering the

          19   fraudulent emissions control systems installed in the Subject Vehicles.

          20          335.    It therefore goes without saying that FCA has never disclosed the fraudulent

          21   emissions control systems defect to Plaintiffs prior to the purchase of their vehicles or at any

          22   point during ownership of their vehicles, and FCA has never instructed its dealerships to

          23   disclose said defect to drivers or potential purchasers or lessees of Subject Vehicles.

          24          336.    The existence of the fraudulent emissions control systems defect is a material

          25   fact that a reasonable consumer would-consider when deciding whether to purchase or lease a

          26   vehicle. Had Plaintiffs known that their vehicles were equipped with the fraudulent emissions

          27   control systems defect and financial liability it creates, they would not have purchased their

          28   vehicles. By failing to disclose the fraudulent emissions control systems defect, FCA denied

                                                                150
                                                     COMPLAINT FOR DAMAGES
                                                                                         Exhibit B, Page 162
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 154 of 177 Page ID #:168




                Plaintiffs information that was material to their decision to purchase/lease their vehicles and

            2   material to their willingness to use their vehicles.

            3           337.      FCA was under a duty to Plaintiffs to disclose the defective nature of their

            4   vehicles and their EcoDiesel® engine system because:

            5              a.     FCA was in a superior position to know the true state of facts about the material

            6                     defects contained in Plaintiffs’ vehicles;

            7               b. FCA knew at all times relevant that Plaintiffs’ vehiclescontained an emission
            8                     treatment system that was designed to de-activate during real-world driving

            9                     conditions such that it could not achieve the advertised towing power,

           10                     performance, and/or fuel economy without cheating emission tests;
a                         c.      FCA actively concealed the defective nature of Plaintiffs’ vehicles and their
Oh
<=
C/5S       12                     EcoDiesel® engine systems from Plaintiffs; and
Q ^
W X
*94   >
           13             d.      Plaintiffs could not reasonably have been expected to learn or discover the
'j3 f
02 ^       14                     defects in their vehicles’ EcoDiesel® engine systems and             its potential
13y
O          15                     consequences until well after Plaintiffs purchased their vehicles.
-4 i
li
i^
           16           338.      In failing to disclose the defects in the Subject Vehicles’ EcoDiesel® engine

           17   systems to Plaintiffs, FCA has knowingly and intentionally concealed material facts and
o
u          18   breached its duty not to do so.

           19           339.      The facts concealed or not disclosed by FCA to Plaintiffs are material in that a

           20   reasonable person would have considered them to be important in deciding whether or not to

           21   purchase or lease Plaintiffs’ vehicles. Had Plaintiffs known that their vehicles and their

           22   EcoDiesel® engine systems were defective at the time of sale, they would not have purchased

           23   their vehicles.

           24           340.      Plaintiffs are reasonable consumers who do not expect their vehicles to contain

           25   an emission treatment system that was designed to de-activate during real-world driving

           26   conditions such that it could not achieve the advertised towing power, performance, and/or fuel

           27   economy without cheating emission tests. Plaintiffs further expect and assume that FCA will

           28   not sell or lease vehicles with known material defects, including but not limited to those

                                                                    151
                                                      COMPLAINT FOR DAMAGES                Exhibit B, Page 163
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 155 of 177 Page ID #:169




            involving the vehicle’s emissions systems, and will disclose any such defect to its consumers

        2   before selling such vehicles.

        3           341.   As a result of FCA’s misconduct, each Plaintiff to this Complaint has suffered

        4   and will continue to suffer actual damages.

        5                                      SEVENTH CAUSE OF ACTION
        6                               BY ALL PLAINTIFFS AGAINST FCA
        7             (Violation of California’s Business & Professions Code § 17000, et seq.)

        8           342.   Plaintiffs incorporate herein by reference each and every allegation contained in

        9   the preceding and succeeding paragraphs as though herein fully restated and re-alleged.

       10           343.   California Business & Professions Code § 17200 prohibits acts of “unfair
o      11   competition,” including any “unlawful, unfair or fraudulent business act or practice” and
Ch
c=
       12   “unfair, deceptive, untrue or misleading advertising.”
- 3
II     13          344.    Reasonable consumers, such as Plaintiffs, do not expect their vehicles to contain
ii
MS     14   an emission treatment system that was designed to de-activate during real-world driving
-J t
< &
Si     15   conditions such that it could not achieve the advertised towing power, performance, and/or fuel
 i
SI     16   economy without cheating emission tests. Plaintiffs further expect and assume that FCA will

       17   not sell or lease vehicles with known material defects, including but not limited to those
o
o      18   involving the vehicle’s emissions systems, and will disclose any such defect to its consumers

       19   before selling such vehicles.

       20          345.    FCA knew Plaintiffs’ vehicles and their EcoDiesel® engine systems suffered

       21   from inherent defects, were defectively or deceptively designed or manufactured, and were not

       22   suitable for their intended use.

       23          346.    In failing to disclose to Plaintiffs the defects in the Subject Vehicles’ EcoDiesel®

       24   engine systems, FCA knowingly and intentionally concealed material facts and breached its

       25   duty to Plaintiffs not to do so.

       26          347.    By its conduct, FCA has engaged in unfair competition and unlawful, unfair, and

       27   fraudulent business practices.

       28          348.    FCA was under a duty to Plaintiffs to disclose the defective nature of their

                                                             152
                                                  COMPLAINT FOR DAMAGES              Exhibit B, Page 164
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 156 of 177 Page ID #:170




         I   vehicles and their EcoDiesel® engine system because:

         2                  a.   FCA was in a superior position to know the true state of facts about the

         3                       material defects contained in Plaintiffs' vehicles;

         4                  b. FCA knew at all times relevant that Plaintiffs' vehiclescontained an emission

         5                       treatment system that was designed to de-activate during real-world driving

         6                       conditions such that it could not achieve the advertised towing power,

         7                       performance, and/or fuel economy without cheating emission tests;

         8                  c.   FCA actively concealed the defective nature of Plaintiffs' vehicles and their

         9                       EcoDiesel® engine systems from Plaintiffs; and

        10                  d. Plaintiffs could not reasonably have been expected to learn or discover the
u       ]]                       defects in their vehicles’ EcoDiesel® engine systems and its potential
0-
< =
rj' i   12                       consequences until well after Plaintiffs purchased their vehicles.
O 3
        13          349.    The facts concealed or not disclosed by FCA to Plaintiffs are material in that a
a ^
Ka      14   reasonable person would have considered them to be important in deciding whether or not to
<^
o .:s   15   purchase or lease Plaintiffs’ vehicles. Had Plaintiffs known that their vehicles and their
U y.


        16   EcoDiesel® engine systems were defective at the time of sale, they would not have purchased
§1
        17   their vehicles or would have paid substantially less for them.
o
        18          350.    Plaintiffs are reasonable consumers who do not expect their vehicles to contain

        19   an emission treatment system that was designed to de-activate during real-world driving

        20   conditions such that it could not achieve the advertised towing power, performance, and/or fuel

        21   economy without cheating emission tests. Plaintiffs further expect and assume that FCA will

        22   not sell or lease vehicles with known material defects, including but not limited to those

        23   involving the vehicle’s emissions systems, and will disclose any such defect to its consumers

        24   before selling such vehicles.

        25          351.    Even to this day, FCA continues to conceal the defective nature of Plaintiffs’

        26   vehicles and their EcoDiesel® engine systems.

        27          352.    FCA’s conduct was and is likely to deceive consumers, including Plaintiffs.

        28   FCA’s unfair and/or deceptive acts or practices occurred repeatedly in FCA's trade or business.

                                                               153
                                                 COMPLAINT FOR DAMAGES                 Exhibit B, Page 165
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 157 of 177 Page ID #:171




                and were capable of deceiving a substantial portion of the purchasing public, including

            2   Plaintiffs.

            3           353.       FCA’s acts, conduct and practices were unlawful, in that they constituted:

            4                 a.   Violations of the California Consumer Legal Remedies Act;

            5                 b.   Violations of the Song-Beverly Consumer Warranty Act; and

            6                 c.   Violations of the express warranty provisions of California Commercial Code

            7                      section 2313.

            8           354.       As a result of their reliance on FCA’s omissions and/or misrepresentations,

            9   Plaintiffs suffered an ascertainable loss of money, property, and/or value of their vehicles.

           10   Additionally, as a result of the defects in the Subject Vehicles' EcoDiesel® engine systems, each
cj
CL         11   Plaintiff to this Complaint has suffered and will continue to suffer actual damages.

           12           355.       As a direct and proximate result of FCA's unfair and deceptive practices.

           13   Plaintiffs have suffered and will continue to suffer actual damages.
s j

Ki   ..1
           14           356.       FCA has been unjustly enriched and should be required to make restitution to
-J £
<&
^
til ^
    -.     15   each Plaintiff to this Complaint pursuant to §§ 17203 and 17204 of the Business & Professions

           16   Code.
§5
           17           357.       Each Plaintiff to this Complaint seeks all remedies available pursuant to §17070,
     ~
O
u          18   e( seq. of the Business & Professions Code, including full compensatory damages allowable by

           19   law, attorneys’ fees, costs, the repair or replacement of his or her vehicle, the refund of monies

           20   paid in connection with the purchase/lease of his or her vehicle, appropriate equitable relief

           21   including injunctive relief, a declaratory judgment, a court order enjoining FCA’s wrongful acts

           22   and practices, and any other relief to which each Plaintiff may be entitled.

           23                                                PRAYER
           24           WHEREFORE, each Plaintiff to this Complaint prays for judgment against Defendant,

           25   and each of them, as follows:

           26           a.         For each Plaintiffs actual damages in an amount according to proof;

           27           b.         For restitution;

           28           c.         For a civil penalty in the amount of two times each Plaintiffs actual damages

                                                                    154
                                                      COMPLAINT FOR DAMAGES
                                                                                           Exhibit B, Page 166
      Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 158 of 177 Page ID #:172




                                 pursuant to Civil Code section 1794, subdivision (c) or (e);

            2             d.     For any consequential and incidental damages;

            3             e.     For costs of the suit and each Plaintiffs reasonable attorneys' fees pursuant to

            4                    Civil Code section 1794, subdivision (d);

            5             f      For costs of the suit and each Plaintiffs reasonable attorneys' fees pursuant to

            6                    § 17070, el seq. of the Business & Professions Code;

            7             g-     For any remedies pursuant to the Song-Beverly Act, the California Uniform

            8                   Commercial Code and/or any other remedy that the Court deems proper;

            9             h.     For prejudgment interest at the legal rate;

           10             I.     For punitive damages; and,
cj
Q-.        11             J-     For such other relief as the Court may deem proper.

w5         12                           DEMAND FOR INDIVIDUAL JURY TRIALS
Si         13             Each Plaintiff to this Complaint hereby demands that his or her individual causes of

CC i       14   action asserted herein be tried individually before a Jury, and does not seek to collectively
J t
           15   “Join” any of his or her claims with any other Plaintiff for the purposes of conducting a “Joint

           16   trial.”
“I
           17
o               Dated: May 2, 2019                     CONSUMER LEGAL REMEDIES, APC
u          18

           19                                          BY:
                                                                 MICHAEL D. RESNICK
           20                                                    Attorneys for Plaintiffs

           21

           22

           23

           24

           25

           26

           27

           28

                                                                   155
                                                     COMPLAINT FOR DAMAGES               Exhibit B, Page 167
          Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 159 of 177 Page ID #:173
Electronically FILED by Superior Court of California. County of Los Angeies on 05/03/201%g1j:Q\/^rg^J5rri R. Carter. Executive Officer/Cierk of Court, by R. Perez,Deputy Clerk
                                                                                                                                                                                   CM-010
          ATTORNEY OR PARTY WITHOUT ATTORNEY (Nome. Stale Bar number, and address):                                                               FOB COURT USB ONL Y
          -Michael Resnick (SBN 2452i 5) & Neil Gielcghcm {SBN 107389)
           Con.suiner Legal Remedies, APC
           153 I/2 North Amaz Drive
           Beverly Hills, California 90211
              TELEPHONE NO.: (833) 429-9222             FAX NO.: (213)210-2196
          ATTORNEY FOR (Nome): Plaiiiliffs Aaion Iskcnderian, el al.
         SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS AngelCS
             STREET ADDRESS; 1 ] 1 NOfth Hill StrCCt
                 ktAILING ADDRESS;
                CITY AND ZIP CODE: Los Angelcs. 90012
                      BRANCH NAME    Stanley Mosk Courthouse
           CASE NAME:
                              AARON ISKENDERIAN, et al. v. FCA US LLC
                                                                                                       CASE NUMBER:
              CIVIL CASE COVER SHEET                           Complex Case Designation
         I / I Unlimited       I     I Limited                                                               1 9ST 0-^/1 5 50 6
               (Amount                 (Amount             I   1 Counter       1   1 Joinder
                                                                                                        JUDGE:
               demanded                demanded is        Filed with first appearance by defendant
               exceeds $25,000)        $25,000 or less)       (Cal. Rules of Court, rule 3.402)          DEPT:

                                          Items 1-6 below must be completed (see instructions on page 2).
         1. Check one box below for the case type that best describes this case:
            Auto Tort                                    Contract                               Provisionally Complex Civil Litigation
            CH Auto (22)                                  / I Breach of contract/warranty (06) (^^l. Rules of Court, rules 3.400-3.403)
            I   I Uninsured motorist (46)                ZH Rule 3.740 collections (09)         I   I Antitrust/Trade regulation (03)
               Other PI/PD/WD (Personal Injury/Property                  Other collections (09)                          LJ     Construction defect (10)
               DamageAVrongful Death) Tort                             I Insurance coverage (18)                         1  1   Mass tort (40)
               LJ Asbestos (04)                                        I Other contract (37)                             LJ     Securities litigation (28)
                       Product liability (24)                     ^eal Property                                          j_J    Environmental/Toxic tort (30)
               1    I Medical malpractice (45)                         I Eminent domain/inverse                          I   t Insurance coverage claims arising from the
               I    I Other PI/PD/WD (23)                        ___ condemnation (14)                                         above listed provisionally complex case
                                                                         Wrongful eviction (33)                                types (41)
                Non-PI/PD/WD (Other) Tort
               I   I Business tort/unfair business practice (07)       I Other real property (26)                     Enforcement of Judgment
               I    I Civil rights (08)                           Jnlawfut Detainer                                   I-----1 Enforcement of judgment (20)
               1    I Defamation (13)                             ---- 1 Commercial (31)                                 Miscellaneous Civil Complaint
               I    1 Fraud (16)                                         Residential (32)                            I       I rico (27)
               I    I Intellectual property (19)                  ---- 1 Drugs (38)                                  I       I Other complaint (not speciried above) (42)
               I    I Professional negligence (25)               Ju^cial Review                                       Miscellaneous Civil Petition
               I    I Other non-PI/PD/WD tort (35)                       Asset forfeiture (05)                        I   I Partnership and corporate govemance (21)
               Employment                                                 ^ Petition re: arbitration award (11)       ^ other petition (nof spec/ffed above) (43)
                  I Wrongful termination (36)                              I Writ of mandate (02)
                  I Other employment (15)                                  I Other judicial review (39)
        2. This case 1      1 is  1 / 1 is not     complex under rule 3.400 of the California Rules of Court. If the case Is complex, mark the
           factors requiring exceptional judicial management;
               a. 1     I Large number of separately represented parties                   d. I    I Large number of witnesses
               b. 1  I Extensive motion practice raising difficult or novel                e. I    1 Coordination with related actions pending in one or more courts
                  ___ issues that will be time-consuming to resolve                                   in other counties, slates, or countries, or in a federal court
               c. I   I Substantial amount of documentary evidence                         f. (     I Substantial postjudgment judicial supervision

        3. Remedies sought (check all that apply): a.I / 1 monetary                      b. I     I nonmonetary; declaratory or injunctive relief                     c. I ✓ I punitive
        4. Number of causes of action (specify): Seven (.7)
        5.' This case 1~ 1 is     1 / 1 is not a class action suit.                                                                                             --------------^ .
        6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
          Date: May 2, 2019
         Michael D. Resnick
                                           (TYPE OR PRINT NAME)
                                                                                                     ►              (SIGNATURE OF PARTY OR ATTORNEY FOR PaRTY;^
                                                                                  NOTICE
           •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
           •   File this cover sheet in addition to any cover sheet required by local court rule.
           •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding.
           •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
          __________                             ______________________           ________________________________________________________________________________ Page 1 el 7
        Form Adopted for Mandatory Use                                                                                              Cal. Rules of Coua mles 2.30.3.220. 3-40&-3.403.3.740;
                                                                          CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std, 3.10
                                                                                                                                                Exhibit B, Page 168
          Judicial Council of California
           CM-010 (Rev. July 1.2007J                                                                                                                                     www.cooftinfo.ca.gov
  Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 160 of 177 Page ID #:174

                                                                                                                                      CM.010
                                  INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1. you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Ca«;e<;, In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may flie and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                       Contract                                            Provisionally Complex Civil Litigation (Cal.
     Auto (22)-Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                         Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                      ContractA/Varranty Breach-Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                          Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                       book accounts) (09)                             Enforcement of Judgment (20)
          Asbestos Property Damage                       Collection Case^eller Plaintiff                     Abstract of Judgment (Out of
          Asbestos Persona! Injury/                      Other Promissory Note/Collections                         County)
                Wrongful Death                                Case                                           Confession of Judgment (non­
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          loxic/environmental) (24)                      complex) (18)                                       Sister State Judgment
     Medical Malpractice (45)                            Auto Subrogation                                    Administrative Agency Award
          Medical Malpractice-                           Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons               Other Contract (37)                                      Petition/Certification of Entry of
          Other Professional Health Care                 Contractual Fraud                                       Judgment on Unpaid Taxes
                Malpractice                              Other Contract Dispute                              Other Enforcement of Judgment.
                                                Real Property                                                      Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip            Eminent Domain/Inverse                           Miscellaneous Civil Complaint
                and fall)                                Condemnation (14)                               RICO (27)
          Intentional Bodily Injury/PD/WD           Wrongful Eviction (33)                               Other Complaint (not specified
                (e.g., assault, vandalism)                                                                   above) (42)
                                                    Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                         Writ of Possession of Real Property                 Injunctive Relief Only (non-
                Emotional Distress                       Mortgage Foreclosure
          Negligent infliction of                                                                                  harassment)
                                                         Quiet Title
                Emotional Distress                       Other Real Property (not eminent                    Mechanics    Lien
          Other PI/PD/WD                                 domain. landlordAenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Other) Tort                                foreclosure)                                              Case (non-tort/non-complex)
                                                Unlawful Detainer                                            Other Civil Complaint
     Business Tort/Unfair Business                                                                                (non-tort/non-complex)
         Practice (07)                              Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,            Residential (32)                                     Partnership and Corporate
         false arrest) (not civil                   Dnjgs (38) (// the case /nvo/ves illegal                 Governance (21)
          harassment) (08)                               drugs, check this item; otherwise,              Other Petition (not specified
     Defamation (e.g., slander, libel)                   report as Commercial or Residential)                above) (43)
           (13)                                 Judicial Review                                              Civil Harassment
     Fraud (16)                                     Asset Forfeiture (05)                                    Workplace Violence
     Intellectual Property (19)                     Petition Re*. Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                   Writ of Mandate (02)                                          Abuse
         Legal Malpractice                               Writ-Administrative Mandamus                        Election Contest
         Other Professional Malpractice                  Writ-Mandamus on Limited Court                      Petition for Name Change
             (not medical or legal)                          Case Matter                                     Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                       Writ-Other Limited Court Case                             Claim
Employment                                                   Review                                          Other Civil Petition
     Wrongful Termination (36)                      Other Judicial Review (39)
     Other Employment (15)                               Review of Health Officer Order
                                                         Notice of Appeal-Labor
                                                            Commissioner Appeals
CM.010 [Rev, July 1. 2007|                                                                                                             Page 2 o> 2
                                                    CIVIL CASE COVER SHEET
                                                                                                              Exhibit B, Page 169
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 161 of 177 Page ID #:175


  SHORT TtTLEi                                                                                                CASE NUMBER
  AARON I.SI^I^DERlAN, et al. v. FCA US LLC

                                CIVIL CASE COVER SHEET ADDENDUM AND
                                        STATEMENT OF LOCATION
                 (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                 This fonn Is.required pursuant to Local Rule 2.3 In all new civil case filings in the Los Angeles.Superior Court



         Step: 1: After .cpmpletihg.thfe Civil Case Cover Sheet:(Judicial.Council form CM-010), find;the exact case type in.
                  Gbiumn A that corresponds to the case type indicated in the Civil Case Coyer Sheet.


         Step 2Mh GblumriB, check the box forthe type of actionthat best describes-the nature of the case.


      .Step.3: jn Golumn;G>cJrde the^humbej which explains the reason'for the court filing jb;eatibh ypu^haye;
                chosen.

                                              Applicable Reasons for Choosing Court Filing Location (CblurnnC)                          _

 i.rClass actions must.be 'filed in ihe:Staniey Mosk.Courthouse, Central district.           7. Location where petitioner resides.
                                                       * r

•2.fP.eiTnissl\«,-filing InfentraldistflcL.                                                   8. Location wherein,iiefendant/r^ppndenj fcn^
-3-^9Mt'on:where'Myse,pf:8Ctjb^                                                               9. Location where'one or mpre.of the^partl^ reside!
^.'Mandatpfy ^rspnal injlijy filing InNorth^DIslhU                                          l6..LocatIon ofLabor Commissioner C^ce.^
                                                                                            IL Mandatoryflling.location {Hub'^ses.- uhlaM^^^^
;5.:LocationAAhere performance required or defer^ant-resides.                               non-collection, iimited.collectlon, or.personaj:injyrv).
;6:Xocation'Of.proper^ or-permaneritiy garaged veMcle:-.-




                              ...'-'A'
                                                     s?jiyp^V^bn                                                                              ;

                             ■;Aul0.(22)!             d; A7lbd: Motor Vehicle T.Personallhjury/PropertydamageAWrongful Death

    II                yr)|nsyred:Mptprist'{48}        D;.A,7.110,. Personal Injury/Property DamageyWrongfiilDeath - jJhihsur^. ttptorisi


                                                      d; .A6.b70 Asbestos Property Damage                                                         •I.'il
                           Asb8slos;(p4)


    w
    _S £
    Q. a
      .V
                        PrQd.uct|:labiIity:(24)
                                                      d A722,1- Asbestos - Personal InjuryA/Vrofrgful Death.

                                                      D A726p ProdiibfUability (hotasbestos or toxic/ehvironmehlal)
                                                                                                                                                  i;11

                                                                                                                                                  MvAii
     &0
                                                      □ A7210 Medical Malpractice -Physicians & Surgeons                                          ivAi.i
    .2. 3            Medical M.alpra'ctice (4^
     S'-
                                                      □. A7240 Other Professional Health Care Malpractice

   if
    £I
    si
                           pthef.f>ersohal
                           Injury Property
                                                             ;A7256 Premises Oabllity (e.g., slip ami fall)
                                                      □: A7230 Intentional B(^i|y Injury/Property Damage/Wrongful Death,(e/g:.
                                                               assault, vandalism, etc.)
                                                                                                                                                  '1.4.1-1
                                                                                                                                                  ■i. 4. ii
                         •Damage Wrongful
                             .Death f23).                                                                                                         1.4. ii
                                                      □ A727P Intentional Infliction of Emotional Distress
                                                                                                                                                  1.4. 1.1
                                                      □ A7220, Other Persdnal.lnjury/Property DarnageAVrongful Death




   L^CJV.:i09.(Rey2/l6)                              CIVIL CASE COVER SHEET ADDENDUM                                                          Local Rule 2:3
   LaSC Approved 03-04'                                 AND STATEMENT OF LOCATION                                                                 Page'1 of'4
                                                                                                                               Exhibit B, Page 170
     Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 162 of 177 Page ID #:176


                                                                                                                       CASE NUMBER
    SHORT TITLE;
    AARON ISKENDERIAN, et al. v. FCA US LLC
                                                                                                                                            ■>.
                                                                                                                                                            ^f'
                                                                                                                                                                    ;£C'Ap>iiMbte7y?
                                                                                                                                                                    Reasons-See Step 3


                              Business Tort (07)                       □ A6029 Other Commercial/Business Tort (not fraud/breach of contract)                        1,2.3


                               Civil Rights (08)                       □ A6005 Civil Rights/Discriminalion                                                          1.2.3

       £2 ^S                   Defamation (13)                         □ A6010 Defamation (slander/tibel)                                                           1.2.3
             o
       3 3
       C* CT              ‘         Fraud (16j                         Q A6013 Fraud (no contract)                                                      >           1.2.3


       II
       II             Professional Negligence (25)
                                                                       □ A6017 Legal Malpractice
                                                                       □ A6050 Other Professional Malpractice (not medical or legal)
                                                                                                                                                                    1.2.3
                                                                                                                                                                    1;2. 3
       g i
       z o
                                    Other(35)                          Q A6025 Other Non-Personal Injury/Property Damage tort                                       1. 2. 3


                        Wrongful Termination (36)                      □ A6037 Wrongful Termination                                                                 1:2.3

         E
         >>                                                            □ A6024 Other Employment Complaint Case                                                      V2,3
         a.              Ottier Employment (15)
         E                                                             □ A6109 Labor Commissioner Appeals                                                    «•    .10
         111
                                                                                                                                                                    1
                                        '   .   1. ■!'   •             O A6004 ‘ Breach of Rental/Lease Contract (not unlawful detainer dr wror>gful
                                                                                 eviction)
                       Breach oTConlract/ Warranty                                                                                                                  2; 5                    (
                                                                       O .A6008 Contract/Warranty Breach-Seller Plaintiff (no fraud/negligence) t-
                                  (06)     ' •                                                                                                                      1.2; 5
                          . (not insurance)                            □ A6019 Negligent Breach of Contract/Warranty (rio fraud).          .'w.-' 'L.                                ■i •
                                                                                                                                                                    1.2. 5.
                                                                       a A6028 Other Breach of ConlractAVarranty (not fraud or negligerice)
                                                                                                                                                                     A



                                                                       O A6002, Collections Case-Seller Plainliff                                                   5.6.11
         a
                               Collections (09)
                                                                       □- A6012' Other Promissory Note/Colleclions Case                                             5...11
         o
         O '4                                                          □ /^034 Collections Case-Purchased Debt (Charged Off Consumer Debt H                         5. 6;t1
                 /-                                                            Purchased on or after January 1. 2014)        t    A f     irVt*

                                1           V
                                                                                                                                                  0 '
f     ■%.-            I t Insurance Coverage (18) ,                    □ A6015 Insurance Coverage (not complex)                                                     1.2.5.8
h
r                                                            •i   '*
                                                                       □ ' A6009. Contractual Fraud                                                                 1,2.3.5

                              Other Contract (37)                      □ A6031; Tortious Interference                                                               T;2,3,5
                                                                       □ A6027 Other Contract Disputefnol breach/insurance/fraud/negHgence)                         •1.: 2. 3. 8.9

                         Ernlrtent Domafn/lnverse                      O A7300 Eminent Domairt/Condemnation               Number of parcels.                        2,6
                           Condemr>allon(14)

                          Wrongful Eviction (33)                       □ A6023 Wrongful Eviction Case                                                               2,6
         2
         a. ■
                                                                                                                                                                                     m

         T5                                                            □ A6018 Mortgage Foreclosure                                                                .2,6
          a>
         0£              Other Real Property (26)                      □ A6032 Quiet Tllle                                                                          2.6               :
                                                                       □ A6060 Other Real Property (not eminent domain, landlprd/lenant, foreclosure)               2,6

                      Unlawful Detainer-Commercial                     □ A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)                        6.11
                                  (31)
         .£
                       Unlawful Detainer-Residential                   □ A6020 Unlawful Detainer-Residential (not drugs or wrorigful eviction)                      6.11
                                   (32)
          3                 Unlaw^l Detainer-                          O A6020FUnIawful Detainer-Post-Foreclosure                                                   2,6.-11--
                           Post-Foreclosure (34)
          c                                                                                                                                                         2. 6,11
         3             Unlawful Detainer-Drugs (38)                    □ A6022 Unlawful Detainer-Drugs



      LACIV109 (Rev 2/16)                                              CIVIL CASE COVER SHEET ADDENDUM                                                            Local Rule 2.3
      LASC Approved 03-04                                                 AND STATEMENT OF LOCATION                                                                  Page 2 of'4

                                                                                                                                            Exhibit B, Page 171
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 163 of 177 Page ID #:177


SHORT'TITt£:.                                                                                     CASE NUMBER
AARON ISKJENDERJAN, et ai. v. FCA US LLC



                                     1

                     >^set Forfeiture (05)       □ A6108 Asset Forfeiture Case
                                                                                                                          MBS!
                                                                                                                           2,3.6

                  Petljionre Arbitrati6ri(11)    □ ' A611,S Petition to CompeVCbnfirm/Vacate Artrtration                   2.5


     o?                                              A6151 Writ* Administrative Mandamus                                  .2,8
    5                Vyril.of Mandate (02)       □ A6152 Writ - Mandamus on Limits Court Case^Matter                       2
    M
     ■o
                                                 □ A6153 Writ - Other Limited Court Case Review                            2-

                  Other JudiciarReview (39)      □ A6150 Other Writ/Judicial Review                                        2.8.

                Antitrust/TradeRegiialion (03)   □ A6003 Antitrust/Trade Regulation                                        t.:2. s'
     §
    ■•S                                                                                                                                    '■
     e>:           Cbrxsttvc^onCefect (10)       '□ A6607 ebnstnictioh Defect

                 ClairTO invptyIng'Mass Tort '
     s
     Q.
                             (40)
                                               □ A6008 Claims Involving Mass tori.                                         i..2.--8.
    •E
     o
    .o             Securilie3;Ui|g8tion (28)     □ A6035 SecuriUes.UtigatiohCase                                           'i,,2,8'
     >!.
     e                    Jbxic Tort-
    .2                                           □ A60^ Toxic Tort/Erivirdhmehtaf                                          ^18-
                      Environmental (30)
    .§           insurance Coverage Claims
    £                                            □ A6pi4 Insurance Gdvefage/Subrbgatidn (complex case.oni;^
                   fromComplex.Case (4.1)'

                                                 O .A6l!41 Sister State Judgment                                           2)5)11;
                                                 ■q A6160 ./^tract or Judgmeril                                            2; 6" .     ■
                                                 ;□ ‘A6107 Confession of Ji^gment^(tioi>dom^tJc;riei8^                     2; 9;
   l.-l                 Enforcement
                       dWudgmeiit(20)^           :□ A6140 Adrhlnlstrative Agency. Awa^ (not unpaid taxes)                  ^8^
                                                 □ A6114 Petition/Certificate fwEnti7oy..udgmert;ori U^^                   2:.8;
  iS ‘-5:
                                                 □ A6112 Other Enforcement of Judgment Case                                2^,8)9^


                         ,R!c:o^(27y             □ A6033 Racketeering (RtCO) Case                                          ■r..2]76

  11                                             □ A6d30 Declaratory Relief Only                                           1.2.8


  if                 ;Other Complaints
                  (Not Specliied ^ove) (42)
                                                 Q A6O46 Injunctive Relief Only (hot dornestic/harassment)
                                                 □ A6011 Other.CommerdalComptaint Case,(noivtort/no‘r^mp|ex)
                                                                                                                           2.8
                                                                                                                           t'2-8
  *t                                             □ A6000 Other Civil Complaint (norvtbrt/non-compl^)!                      r.2.8’

                   Partnership Corporation       □ A6113 Partnership and Corporate Governance Case ,                       2).8:
                      6overTtanceT21)

                                                 □ A6121 Civil Hara^ment                                                   2.3.9


   11                Other Petitions (Not
                                                 □ A6l23 Workplace .Harassment
                                                 □ A6124 Bder/OependeniAdun Abuse Case
                                                                                                                           2.3.9
                                                                                                                           2;^3;.9


  ,ii               Sbecined Above) (43)         □ A6190 Election Contest
                                                 □ A6110 Petition for Change of Name/Change of'Gender'
                                                  □ .A61'70 Petition for Relief from Late Claim Law
                                                                                                                           2
                                                                                                                           2.7
                                                                                                                           :2,,)3. 8
                                                  □ - Ae'lbo Other Civil Pelilion                                          2.9




 LACIV109.(Rev 2/16}                             CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2V3
 LAS’C Approved 03-04                               AND STATEMENT OF LOCATION                                              Page's of 4

                                                                                                                Exhibit B, Page 172
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 164 of 177 Page ID #:178


 SHORT TITLE:                                                                           CASE NUMBER
 AARON ISKENDERIAN, el al. v. FCA US LLC

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
        type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
        (No address required for class action cases).

                                                                    ADDRESS:
   REASON:
                                                                     1125 South Bronson Avenue
    .□1.02.03.a4.Q5.O6.D7. QS.D 9.D10.D11.



   CTTY;                                    STATE;     ZIP CODE:

  Los Angeles                              CA          90019

Step 5: Certification of Assignment: I certify that this case is properly filed in the Central                       District of
        the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local'Rule 2.3(a)(1)(E)].




  Dated: Msy        2019
                                                                                    (SIGNATUREOF ATTORNEY/FIUNG ^RTY)


                                                                                                                               - A

  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1.   Original Complaint or Petition.

       2.   If filing a Complaint, a completed Summons form for issuance by the Clerk.

       3.   Civil Case Cover Sheet, Judicial Council form CM-010.

      4.    CwiI Case Cover Sheet Addendum and Statement of Location form, LACIV109, LASC Approved 03-04 (l^ev.


      5.    Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

      6.    A signed order appointing the Guardian ad Litem, Judicial Council form C(V-010, if the plaintiff or petitioner is a
            minor under 18 years of age will be required by Court in order to issue a summons.

   ^ 7.. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
         must be served along with the summons and complaint, or other initiating pleading in the case.




 LACIV 109 (Rev 2/18)                    CIVIL CASE COVER SHEET ADDENDUM                                                Local Rule 2.3
 LASC Approved 03-04                        AND STATEMENT OF LOCATION                                                     Page 4 of 4
                                                                                                          Exhibit B, Page 173
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 165 of 177 Page ID #:179




                                    VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                       The Early Organizational Meeting Stipulation, Discovery
                                    Resolution Stipulation, and Motions in Limine Stipulation are
       Sup«r1er Court of Callfomb
       County of Los Angalas
                                    voluntary stipulations entered into by the parties. The parties
                                    may enter into one, two, or all three of the stipulations;
                                    however, they may not alter the stipulations as written,
        LACBA                       because the Court wants to ensure unifonnity of application.
       Los Angalst County
       Bar AssoelsUon               These stipulations are meant to encourage cooperation
       LHloalfen Ssetten

      Los Angalas County            between the parties and to assist In resolving issues in a
      Bar Association Labor and
      Emptoymanl Law Ssctlon        manner that promotes economic case resolution and judicial
                                    efficiency.

               dI   I«9 AsrtMl
                                        The    following organizations endorse        the goal of
      Consumsr Attemoys
      Aasectation of Los Angolos
                                    promoting efficiency in litigation and ask that counsel
                                    consider using these stipulations as a voluntary way to
                                    promote communications and procedures among counsel
                                    and with the court to fairly resolve issues in their cases.

                         j          ^Los Angeles County Bar Association Litigation Section^
      SouUism CalVomla
      Oafcnsa Counsel

                                               ^ Los Angeles County Bar Association
                                                  Labor and Employment Law Section^
      ~~mr
      Aaaoclallon ot
      Buslnsss Trial Lawyers
                                        ^Consumer Attorneys Association of Los Angeles 4


                                              ^Southern California Defense Counsel^


                                              ^Association of Business Trial Lawyers^

      California Employment
      Lawyers Association
                                         ^California Employment Lawyers Association^

         LACtV230 (NEW)
         LASC Approved A-11
         For Optional Use


                                                                                       Exhibit B, Page 174
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 166 of 177 Page ID #:180




    muE«wi i>£oaui Of *no«Mef da^aait   ahcanct                   tlAieoWIKlMCA                  R     la CM'« ' to Cm*




             TEtEPMONE NO.:                         FAX NO. (OpUaivs)):
    E>MA«. AODRESS (OpDonal):
       ATTOfttgY f OR (Marne):
    SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
    COURTHOUSE AOORESS:


    PUUNT1FF:


    OEFENOANT:


                                                                                        CASE NUUS£R-

                      STIPULATION - DISCOVERY RESOLUTION

         This stipulation is intended to provide a fast and informal resolution of discovery issues
         through limited papera/ork and an informal conference with the Court to aid in the
         resolution of the issues.

         The parties agree that:

          1. Prior to the discovery cut«off in this action, no discovery motion shall be filed or heard unless
             the moving party first makes a written request for an Informal Discovery Conference pursuant
             to the terms of this stipulation.

         2. At Ihe Infoimai Discovery Conference the Court will consider the dispute presented by parlies
            and determine whether it can be resolved informally. Nothing set forth herein will preclude a
            party from making a record at the conclusion of an Informal Discovery Conference, either
            orally or In writing.

         3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
            presented, a parly may request an Informal Discovery Conference pursuant to the following
            procedures:

                    a. The party requesting the Informal Discovery Conference will:

                              File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                       il.    Include a brief summary of the dispute and specify the relief requested: and

                      III.    Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                    b. Any Answer to a Request for Informal Discovery Conference must:

                        i. ‘ Also be filed on the approved form (copy attached):

                      ii.     Include a brief summary of why the requested relief should be denied;
         LACIV036 (r>ew)
         LASC Approved 04/11             STIPULATION - DISCOVERY RESOLUTION
         ForOpUona) Use                                                                                          Page I of 3



                                                                                               Exhibit B, Page 175
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 167 of 177 Page ID #:181




       SHOAI llll£                                                                  CAWK'JUeiR




                     ill.   Be filed within two (2) court days of receipt of (he Request; and

                     Iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                            method of service that ensures (hat the opposing party receives the Answer no
                            later than the next court day following the filing.

            c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
               be accepted.

            d. If the Court has not granted or denied the Request for Informal Discovery Conference
               within ten (10) days following the filing of the Request, then it shall be deemed to have
               been denied. If the Court acts on the Request, the parties witi be notified whether the
               Request for Informal Discovery Conference has been granted or denied and. if granted,
               the date and time of the Informal Discovery Conference, which must be within twenty (20)
               days of the filing of the Request for Informal Discovery Conference.

            e. If the conference Is not held within twenty (20) days of the filing of the Request for
               Informal Discovery Conference, unless extended by agreement of the parties and the
               Court, then the Request for the Informal Discovery Conference shall be deemed to have
               been denied at that time.

       4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
          without the Court having acted or (c) the Informal Discovery Conference is concluded without
          resolving the dispute, then a party may file a discovery motion to address unresolved issues.

       5. The parties hereby further agree that the time for making a motion to compel or other
          discovery motion is totted from the date of filing of the Request for Informal Discovery
          Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
          filing of the Request for informal Discovery Conference, whichever is earlier, unless extended
          by Order of the Court

            It is the understanding and intent of the parties (hat this stipulation shall, for each discovery
            dispute to which it applies, constitute a writing memorializing a “specific later date to which
            the propounding (or demanding or requesting] party and the responding party have agreed in
            writing," wilhin the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
            2033.290(c).

       6. Nothing herein will preclude any parly from applying ex parte for appropriate relief, including
          an order shortening time for a motion to be heard concerning discovery.

       7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
          terminate the stipulation.

       8. References to “days" mean calendar days, unless otherwise noted. If the date for performing
          any act pursuant to this stipulation falls on a Saturday. Sunday or Court holiday, then the time
          for performing that act shall be extended to the next Court day.



       LACiV036(n6w)
       LA5C Approved 04/11            STIPULATION - DISCOVERY RESOLUTION
       For OpUonai Use                                                                                    Page 2 of 3




                                                                                                 Exhibit B, Page 176
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 168 of 177 Page ID #:182




       (Hsai inu                                                        CAtCMMCR




       The following parties stipulate:

       Date:                                             V.




                      (TYPE OR PRINT NAME)                            (AHORNEY FOR PLAINTIFF)
       Date:
                      (TYPE on PRINT NAME)                            (ATTORNEY FOR OEFEnOANT)
       Date:
                      (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
       Date:
                      (TYPE OR PRINT NAME)                            (ATTORNEY FOR DEFENDANT)
       Date:
                                                         >
                      (TYPE OR PRINT NAME)                    (ATTORNEY FOR
       Date:

                      (TYPE OR PRINT NAME)                    (ATTORNEY FOR
       Dale:
                      (TYPE OR PRINT NAME)                    (AHORNEY FW




                                                                                                            I




       LACIV036 (new)
       LASC Approved 04/11           STIPULATION - DISCOVERY RESOLUTION
       ForOplionaJ Use                                                                           PdSe3or3



                                                                                   Exhibit B, Page 177
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 169 of 177 Page ID #:183




    Huc AK) Acouu V AncAKtv MPAlirr wttioai *noRXT                suit cut) wAotn                »«■•>*« (p Ovt’i tu aM#




             THLCPHONE NO.:                          FAX NO. (OpUonM):
     E-ma. ADDRESS (Optlena));
       ATTORNEV FOR manwl:
    SUPERIOR COURT OF CAUFORNiA. COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:

    PLAINTIFF:

    DEFENDANT:


                                                                                         CASENUUBER-
             STIPULATION - EARLY ORGANIZATIONAL MEETING

         This stipulation Is intended to encourage cooperation among the parties at an early stage In
         the litigation and to assist the parties In efficient case resolution.
         The parties agree that:

         1. The parties commit to conduct an initial conference (in-person or via teleconference or via
            videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
            whether there can be agreement on the following:

                 a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                    amendment as of right, or if Ihe Court would allow leave to amend, could arr amended
                    complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                    agree to work through pleading issues so that a demurrer need only raise Issues they cannot
                    resolve. Is the Issue that the defendant seeks !o raise amenable to resolution on demurrer, or
                    would some other type of motion be preferable? Could a voluntary targeted exchange of
                    documents or Information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core" of the litigation. (For example. In an
                employment case, the employment records, personnel file and documents relaling to the
                conduct in question could be considered "core." In a personal Injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact Information of witnesses;

             d. Any Insurance agreement that may be available to satisfy part or all of a judgment, or to
                Indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other Information that might be helpful to facilitate understanding, handling,
                or resolution of the case In a manner that preserves objections or privileges by agreement:

             f.     Controlling issues of law that, if resolved early, will promote efficiency and economy In other
                    phases of the case. Also, viriien and how such Issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting Judge or a private mediator or other options as
        LACIV 229 (Rdv 02/15)
        LASC Approved 04/11         STIPUUTION - EARLY ORGANIZATIONAL MEETING
        For OpOonal Use                                                                                          Pape 1 or 2



                                                                                               Exhibit B, Page 178
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 170 of 177 Page ID #:184




        tHooi nii£                                                                      CUCHUUKR




                     discussed In Ihe “Allernalive Dispute Resolution (ADR) Information Package" served with the
                     complaint;

               h. Compulation of damages, Including documents, not privileged or protected from disclosure, on
                  which such computation is based;

               i.    Whether the case is suitable for the Expedited Jury Trial procedures (see Information at
                     wwwJacourLora under "Crv/r and then under "General Information").

       2.            The time for a defending party to respond to a complaint or cross-complaint will be extended
                     to                         for the complaint, and                            for the cross-
                              INSERT DATE)                                        (NSERTOATE)
                     complaint, which Is comprised of the 30 days to resporuJ under Government Code § 68616(b),
                     and the 30 days penmiKed by Code of Civil Procedure section 1054(a), good cause having
                     been found by the Civil Supervising Judge due to the case management benefits provided by
                     this Stipulation. A copy of the General Order can be found at www.lacour1.ora under "C/Wf,
                     click on “General Intormatlon", then click on "Voluntary Efficient Litigation Stipulations".
       3.            The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
                     and Early Organizational Meeting Stipulation, and if desir^, a proposed order summarizing
                     results of their meet and confer and advising the Court of any way it may assist the parties’
                     efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
                     the Case Management Conference statement, and file the documents when the CMC
                     statement is due.

       4.            References to “days* mean calendar days, unless otherwise noted. If the date for performing
                     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
                     for performing that act shall be extended to the next Court day

       The followfng parties stipulate:
       Dale:
                                                                       >
                        fTYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAJNTIFF)
       Date:
                                                                       >
                       (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
       Date:
                                                                       >
                       (TYPE OR PRINT NAME)                                       {ATTORNEY FOR DEFENDANT)
       Dale:

                       (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
       Dale:
                                                                      >
                       (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                           )
       Dale:
                                                                      >
                       (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                           )
      Dale:
                                                                      >
                       (TYPE OR PRINT NAME)                                 (ATTORNEY FOR                          j


      LAClV229(Rev 02/15)
      LASC Approved 04/11         STIPULATION - EARLY ORGANIZATIONAL MEETING                                  Page 2 oT 2




                                                                                                   Exhibit B, Page 179
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 171 of 177 Page ID #:185




    Mu/t *>« ittACafl* onemcr cm PAArr mnaui AnooNtv                      siAic a<M vuuow                                i« CM'f ri* luiw




               TELEPHONE NO.:                               FAX NO. (Optional}:
     E-MAJl. ADDRESS (Optional):
        ATTORNEY FOR (Mama):
    SUPERIOR COURT OF CALIFORN1A> COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:

    PLAINTIFF:

    DEFEKOANT*

                                                                                                        CASE NUUBCA:
                         INFORMAL DISCOVERY CONFERENCE
                   (pursuant to (he Dlscovefy Resolution Stiputation of (ha parties)
          1. This document relates to:
                C      Request for Informal Discovery Conference
                Q      Answer to Request for Informal Discovery Conference
          2. Deadline for Court to decide on Request:                                        (insert date 10 calendar days foUovitng fifing of
                 (he Roquasi),

         3. Deadline for Court to hold informal Discovery Conference:                                               (insert dale 20 caler>dar
                 days foQowfng (ling of (ho RecjuesI).

         4. For a Request for Informal Discovery Conference, briefly describe the nature of the
            discovery dispute; Including the fects and legal arguments at issue. For an Answer to
            Request for Informal Discovery Conference, briefly describe why the Court should deny
            the requested discovery, Including the facts and legal arguments at Issue.




         LACIV 094 (raw)
         LASC Approved 04/11
                                                INFORMAL DISCOVERY CONFERENCE
         ForOpUo^ Use                     (pursuant to the Discovery Resolution Stipulation of the parties)



                                                                                                                Exhibit B, Page 180
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 172 of 177 Page ID #:186




    KUC *nO aMRUAV anOAMET OAPAflTT Mlitoul ancM>CT                 • laiE eul NVlACA             n ta«^ ■» CM » n> baa*




              TELEPHONE NO.:                          FAX NO. (Opllonal):
     E-MAIL AOOftESS (OpOonaf):
        ATTOftNEY FDR (Namak

     SUPERIOR COURT OF CALIFORNIA. COUNTY OF LOS ANGELES
    COURTHOUSE ADDRESS:


    PLAINTIFF:


    DEFENDANT;


                                                                                        CASE NUMBEfl;
                  STIPULATION AND ORDER - MOTIONS IN LIMINE


         This stipulation Is intended to provide fast and informal resolution of evidentiary
         issues through diligent efforts to define and discuss such issues and limit paperwork.


         The parties agree that:

         1. At least       days before the final status conference, each party will provide all other
            parties with a list containing a one paragraph explanation of each proposed motion In
            limine. Each one paragraph explanation must identify the substance of a single proposed
            motion in limine and the grounds for the proposed motion.

         2. The parties thereafter will meet and confer, either in person or via teleconference or
            videoconference, concerning all proposed motions in limine, in that meet and confer, the
            parties will determine:

                 a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                    stipulate, they may file a stipulation and proposed order with the Court.

                 b. Whether any of the proposed motions can be briefed and submitted by means of a
                    short joint statement of issues. For each motion which can be addressed by a short
                    joint statement of issues, a short joint statement of issues must be filed with the Court
                     10 days prior to the final status conference. Each side’s portion of the short joint
                    statement of Issues may not exceed three pages. The parties will meet and confer to
                    agree on a dale and manner for exchanging the parties' respective portions of the
                    short joint statement of issues and the process for filing the short joint statement of
                    Issues.

        3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
           a short joint statement of issues will be briefed and filed in accordance with the California
           Rules of Court and the Los Angeles Superior Court Rules.



        LACIVOrS (new)
        LASC Approvod 04/11          STIPULATION AND ORDER - MOTIONS IN LIMINE
        FgrOpUonal Use                                                                                           Pape 1 ol 2



                                                                                               Exhibit B, Page 181
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 173 of 177 Page ID #:187




           SMoni mif-                                                 usdeAOCn




           The following parties stipulate:
           Dale:

                        (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
           Date:

                        (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
           Dale:

                        (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
           Date:

                        (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
           Dale:

                        (TYPE OR PRINT NAME)                 (ATTORNEY FOR                        J
           Date:

                        (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       )
           Date:

      ‘4
                        (TYPE OR PRINT NAME)                 (ATTORNEY FOR                       J


           THE COURT SO ORDERS.

            Date:                                                                                       i ;

                                                                      JUDICIAL OFFICER




       LACIV 075 (new)
       LASC Approved 04/11       STIPULATION AND ORDER - MOTIONS IN LIMINE                Pago 2 of 2



                                                                                 Exhibit B, Page 182
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 174 of 177 Page ID #:188




                                                                 IIiih . *■'1


                             Superior Court of California, County of Los Angeles


    •• - .*=«



   sni
   ^RiOTiTiR@iV10njSERVE?miS^?VDRnNKiRMATiONiR®^^

                                           mas
   Mg(Ci
  l^;gy-»r^crafe^/:«,^.:B5:g^.JM^c«:.4lg^---lgv m::m.m-

  What is ADR?
 ADR helps people find soiutions to their legai disputes without going to trial. The main types of ADR are negotiation,
 mediation, arbitration and settlement conferences. When ADR is done by phone or computer, it may be called Online
 Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.

 Advantaees of ADR
       •        Saves Time: ADR is faster than going to trial.
       •        Saves Money: Parties can save on court costs, attorney's fees and witness fees.
       •        Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
       •        Reduces stress/protects privacy; ADR is done outside the courtroom. In private offices, by phone or online.


 Disadvantages of ADR
       •        Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
       •        No Public Trial: ADR does not provide a public trial ora decision by a judge or Jury.

 Main Types of ADR:

       1.       Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
                settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

       2. Mediation: In mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
          strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
          acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                       "Mediatlbmmay be ap^opriat'e wheh the parties              -
                           • want to work out a solution but need help from a neutral person.
                           • have communication problems or strong emotions that interfere with resolution.
                        Mediation may not be appropriate when the parties
                           • want a public trial and want a judge or jury to decide the outcome.
                           • lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                             LA5C1
 IASCQV271NEW 03/19
 For Mandalorv Use
 California Rules of Court, rule 3.221




                                                                                                        Exhibit B, Page 183
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 175 of 177 Page ID #:189




                                                                                                                                           :-; ^-jategs-. -=
        (\^latlont^cjMMsesll^oluntai^aW|partle^mav;selw?a^^r^iat^


      mm
      Ism
      IiaiSjgSfca.ia,igagi
                                                     a             aij



                                                                                i^^^^^Rcnjt833l^47^91’45§jnf^^!^^^
                                     a                   M   ffi         iR3

                                                                                                                                                                     3?^
                                             a
            m-ggiyaaa^vian>www;mutmn;niv7Hi.in;n»;5fLi>stTfQr<ilmDortantTlntQrmatlbn>and(F/^siagfnrS^ntnf^ftrT!i<5?K**nwri                                              •'1

                             NO     ‘RThlc'cpn/lrplkinnnauail:                 K                               MT   a

                                                                                                                                                                     :^i^-
            ^Ss                                        v^o^/pr^
                               -b                fav^of^trlallmpl
                                                                                                                               a               ■;i-

                                                 Sl^^^t%riedlatl a                                   a                                         .'•i ■




                                                                                       .orismaiiiciainriMorguniawTuiioeiameraevtctionHcasesioeToreiinea
      : ’                             • r:                                                                                                              ■”   >




                                                 :^!lacourtlgrgya}vlsioiy/sm1llglaimr/paf/6minebls5ut^^

     *31'                    Medlatorsiand
                             U44             ^Wm^sm                                                                 a   a     a
                                                                          i^:JifC%2^’)'>*'h." .3c|^»vv^f’9n^
                                                                                                                            S^w.                                 m

       3.         Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
                  person who decides the outcome. In "binding" arbitration, the arbitrator's decision Is final; there is no right to
                  trial. In "nonbinding" arbitration, any party can request a trial after the arbitrator's decision. For more
                  information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm

       4.         Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
                  date. The parties and their attorneys meet with a Judge or settlement officer who does not make a decision but
                  assists the parties in evaluating the strengths and weaknesses of the case and in negotiating a settlement.
                  For information about the Court's MSC programs for civil cases, visit: www.lacourt.org/dlvision/civll/settlement




            V •




 Los Angeles Superior Court ADR website: www.lacourt.org/division/civil/settlement
 For general informaition and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




                                                                                                                                                                 LASC2
 LASCaV 271 NEW 03/19
 For Mandatory Use
 California Rules of Court, rule 3.221




                                                                                                                                   Exhibit B, Page 184
Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 176 of 177 Page ID #:190

                                                                                                    Reserved lor Clerk's File Siamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:                                                                                         FILED
 Stanley Mosk Courthouse                                                                           Simertar Court of Cafiforria
  111 North Hill Street, Los Angeles. CA 90012                                                       County of U>s Argelas
                                                                                                         05/03/2019
                       NOTICE OF CASE ASSIGNMENT                                          ShtfriR Cartar.Eittufri«Ofiear/ QeiiofCciiii
                                                                                           By:         Ricardo Perez        Deputy
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   19STCV15506

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE              DEPT      ROOM                    ASSIGNED JUDGE                         DEPT             ROOM
    ^    Mel Red Recana                    45




    Given to the Plaintiff/Cross-Complainant/Attomey of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 05/03/2019                                                         By Ricardo Perez                                        , Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06                                                                                      Exhibit B, Page 185
 Case 2:19-cv-04233-R-MRW Document 1-2 Filed 05/15/19 Page 177 of 177 Page ID #:191


                                   Instructions         for   nANPLtNC       unlimited civil cases


The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

 PRIORITY OVER OTHER RULES
.The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:
COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross­
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.
STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.
FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.
SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.
This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
eompliance with the actual Chapter Rules is imperative.
 Class Actions
 Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.
*Provisionallv Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for detemiination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)         NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
LASC Approved 05/06                                                      Exhibit B, Page 186
